USCA4 Appeal: 22-1927         Doc: 119            Filed: 04/29/2024   Pg: 1 of 147




                                                   PUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                    No. 22-1721


        MAXWELL KADEL; JASON FLECK; CONNOR THONEN-FLECK;
        JULIA MCKEOWN; MICHAEL D. BUNTING, JR.; C.B., by his next friends and
        parents; SAM SILVAINE; DANA CARAWAY,

                                Plaintiffs - Appellees,

                        v.

        DALE FOLWELL, in his official capacity as State Treasurer of North Carolina;
        EXECUTIVE ADMINISTRATOR OF THE NORTH CAROLINA STATE HEALTH
        PLAN FOR TEACHERS AND STATE EMPLOYEES,

                                Defendants – Appellants,

                and

        NORTH CAROLINA STATE HEALTH PLAN FOR TEACHERS AND STATE
        EMPLOYEES; STATE OF NORTH CAROLINA DEPARTMENT OF PUBLIC
        SAFETY,

                                Defendants.
        ---------------------------------------
        COMMONWEALTH OF KENTUCKY; COMMONWEALTH OF VIRGINIA;
        STATE OF ALABAMA; STATE OF ALASKA; STATE OF ARKANSAS; STATE
        OF FLORIDA; STATE OF GEORGIA; STATE OF INDIANA; STATE OF IOWA;
        STATE OF KANSAS; STATE OF LOUISIANA; STATE OF MISSISSIPPI;
        STATE OF MISSOURI; STATE OF MONTANA; STATE OF NEBRASKA;
        STATE OF NORTH DAKOTA; STATE OF OHIO; STATE OF OKLAHOMA;
        STATE OF SOUTH CAROLINA; STATE OF TEXAS; STATE OF UTAH,

                                Amicus Supporting Appellants.

        NEW YORK; CALIFORNIA; COLORADO; DELAWARE; HAWAII; ILLINOIS;
        MAINE; MARYLAND; MASSACHUSETTS; MINNESOTA; NEVADA; NEW
        JERSEY; NEW MEXICO; OREGON; RHODE ISLAND; VERMONT;
USCA4 Appeal: 22-1927         Doc: 119            Filed: 04/29/2024   Pg: 2 of 147




        WASHINGTON; DISTRICT OF COLUMBIA; CONSTITUTIONAL LAW
        PROFESSORS; AMERICAN MEDICAL ASSOCIATION; AMERICAN
        COLLEGE OF OBSTETRICIANS AND GYNECOLOGISTS; AMERICAN
        PSYCHIATRIC ASSOCIATION; AMERICAN ACADEMY OF PEDIATRICS;
        ENDOCRINE SOCIETY; NORTH AMERICAN SOCIETY FOR PEDIATRIC
        AND ADOLESCENT GYNECOLOGY; NATIONAL ASSOCIATION OF NURSE
        PRACTITIONERS IN WOMEN’S HEALTH; SOCIETY OF OB/GYN
        HOSPITALISTS,

                                Amici Supporting Appellees.


        Appeal from the United States District Court for the Middle District of North Carolina, at
        Greensboro. Loretta C. Biggs, District Judge. (1:19-cv-00272-LCB-LPA)


                                                    No. 22-1927


        SHAUNTAE ANDERSON, individually and on behalf of all others similarly situated,

                                Plaintiffs - Appellees,

                        v.

        WILLIAM CROUCH, in his official capacity as Cabinet Secretary of the West Virginia
        Department of Health and Human Resources; CYNTHIA BEANE, in her official
        capacity as Commissioner for the West Virginia Bureau for Medical Services; WEST
        VIRGINIA DEPARTMENT OF HEALTH AND HUMAN RESOURCES, Bureau for
        Medical Services,

                                Defendants – Appellants.
        ---------------------------------------
        STATE OF WEST VIRGINIA; COMMONWEALTH OF KENTUCKY;
        COMMONWEALTH OF VIRGINIA; STATE OF ALABAMA; STATE OF
        ALASKA; STATE OF ARKANSAS; STATE OF FLORIDA; STATE OF
        GEORGIA; STATE OF INDIANA; STATE OF IOWA; STATE OF KANSAS;
        STATE OF LOUISIANA; STATE OF MISSISSIPPI; STATE OF MISSOURI;
        STATE OF MONTANA; STATE OF NEBRASKA; STATE OF NORTH
        DAKOTA; STATE OF OHIO; STATE OF OKLAHOMA; STATE OF SOUTH
        CAROLINA; STATE OF TEXAS; STATE OF UTAH,

                                Amicus Supporting Appellants,


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USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 3 of 147




        COLORADO; DELAWARE; DISTRICT OF COLUMBIA; FAIRNESS WEST
        VIRGINIA; MOUNTAIN STATE JUSTICE, INC.; NATIONAL HEALTH LAW
        PROGRAM; CENTER FOR MEDICARE ADVOCACY; CONSTITUTIONAL
        LAW PROFESSORS; AMERICAN MEDICAL ASSOCIATION; ENDOCRINE
        SOCIETY; NATIONAL ASSOCIATION OF NURSE PRACTITIONERS IN
        WOMEN'S HEALTH; AMERICAN PSYCHIATRIC ASSOCIATION; SOCIETY
        OF OB/GYN HOSPITALISTS; ILLINOIS; MAINE; MARYLAND;
        MASSACHUSETTS; MINNESOTA; NEVADA; NEW JERSEY; NEW MEXICO;
        NEW YORK; OREGON; RHODE ISLAND; VERMONT; WASHINGTON,

                             Amici Supporting Appellees.


        Appeal from the United States District Court for the Southern District of West Virginia, at
        Huntington. Robert C. Chambers, District Judge. (3:20-cv-00740)


        Argued: September 21, 2023                                         Decided: April 29, 2024


        Before DIAZ, Chief Judge, WILKINSON, NIEMEYER, KING, GREGORY, AGEE,
        WYNN, THACKER, HARRIS, RICHARDSON, QUATTLEBAUM, RUSHING,
        HEYTENS, and BENJAMIN, Circuit Judges.


        Affirmed by published opinion. Judge Gregory wrote the opinion, in which Chief Judge Diaz,
        Judge King, Judge Wynn, Judge Thacker, Judge Harris, Judge Heytens, and Judge Benjamin
        joined. Judge Richardson wrote a dissenting opinion, in which Judge Wilkinson, Judge Niemeyer,
        Judge Quattlebaum joined, and in which Judge Agee and Judge Rushing joined except for
        part II.A.3. Judge Wilkinson wrote a dissenting opinion. Judge Quattlebaum wrote a
        dissenting opinion, in which Judge Agee, Judge Richardson, and Judge Rushing joined.


        No. 22-1721. ARGUED: John Guyton Knepper, LAW OFFICE OF JOHN G. KNEPPER,
        LLC, Cheyenne, Wyoming, for Appellants. Tara Lynn Borelli, LAMBDA LEGAL DEFENSE
        & EDUCATION FUND, INC., Decatur, Georgia, for Appellees. ON BRIEF: Kevin G. Williams,
        Mark A. Jones, BELL, DAVIS & PITT, P.A., Winston-Salem, North Carolina, for Appellants.
        Amy E. Richardson, Lauren E. Snyder, HWG LLP, Washington, D.C.; Michael W. Weaver,
        Chicago, Illinois, Dmitriy G. Tishyevich, Warren Haskel, MCDERMOTT WILL &
        EMERY, New York, New York; Carl S. Charles, Decatur, Georgia, Omar Gonzalez-
        Pagan, LAMBDA LEGAL DEFENSE AND EDUCATION FUND, INC., New York, New
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        EDUCATION FUND, INC., New York, New York, for Appellees. Howard S. Suskin,
        Chicago, Illinois, Matthew D. Cipolla, New York, New York, Illyana A. Green,

                                                      3
USCA4 Appeal: 22-1927     Doc: 119        Filed: 04/29/2024    Pg: 4 of 147




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        Solicitor General, Daniel S. Magy, Assistant Solicitor General, Andrea W. Trento,
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        Commonwealth of Massachusetts. Keith Ellison, Attorney General, OFFICE OF THE
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                                                  4
USCA4 Appeal: 22-1927     Doc: 119         Filed: 04/29/2024     Pg: 5 of 147




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        No. 22-1927. ARGUED: Michael Ray Williams, OFFICE OF THE ATTORNEY
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USCA4 Appeal: 22-1927     Doc: 119         Filed: 04/29/2024    Pg: 6 of 147




        LAMBDA LEGAL DEFENSE AND EDUCATION FUND, INC., Chicago, Illinois;
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                                                   6
USCA4 Appeal: 22-1927    Doc: 119       Filed: 04/29/2024   Pg: 7 of 147




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        Gentner Drummond, Attorney General, OFFICE OF THE ATTORNEY GENERAL OF
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        Attorney General, OFFICE OF THE ATTORNEY GENERAL OF SOUTH CAROLINA,
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        Attorney General, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond,
        Virginia, for Amicus Commonwealth of Virginia.



                                                7
USCA4 Appeal: 22-1927       Doc: 119         Filed: 04/29/2024     Pg: 8 of 147




        GREGORY, Circuit Judge:

               These two cases present the same question: Do healthcare plans that cover medically

        necessary treatments for certain diagnoses but bar coverage of those same medically necessary

        treatments for a diagnosis unique to transgender patients violate either the Equal Protection

        Clause or other provisions of federal law? We hold that they do, and therefore affirm the

        judgments of the district courts.

                                                    ***

               North Carolina provides healthcare coverage to state employees and their dependents

        through its state-operated insurance plan, the North Carolina State Health Plan for Teachers

        and State Employees (“the Plan”). Though all healthcare covered by the Plan is medically

        necessary, the Plan does not cover all medically necessary healthcare. At issue here is the

        Plan’s coverage exclusion of “[t]reatment or studies leading to or in connection with sex

        changes or modifications and related care.” Kadel, J.A. 181.

               West Virginia’s Medicaid Program (“the Program”) covers some gender-affirming

        care, but not gender-affirming surgery, or, as the Program calls it, “[t]ranssexual surgery.”

        Anderson, J.A. 934–35. The Program does, however, cover the same surgical procedures

        when conducted to treat non-gender dysphoria diagnoses. For example, the Program covers

        mastectomies to treat cancer, but not to treat gender dysphoria; breast-reduction surgery to

        treat excess breast tissue in cisgender men, but not to treat gender dysphoria in transgender

        men; and chest-reconstruction surgery for cisgender women post-mastectomy, but not for

        gender dysphoria in transgender women. Anderson, J.A. 304, 2385–96, 2403–08, 2412–15.



                                                     8
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 9 of 147




               Appellees in both cases are transgender individuals who were denied coverage for

        healthcare prescribed for their gender-dysphoria diagnoses. In North Carolina, Appellees

        are Plan members and dependents of Plan members. In West Virginia, Appellees are

        Medicaid beneficiaries. Both sets of Appellees say that the coverage exclusions violate

        their right to equal protection under the Fourteenth Amendment. So they sued the State

        Health Plan and Medicaid Program, respectively, as well as the state administrators in

        charge of those entities, to restore their rights, arguing that the coverage exclusions

        discriminate against them based on their sex and gender identity. The West Virginia

        Appellees also alleged violations of the Medicaid Act and Affordable Care Act.

               The district courts in both cases agreed with Appellees. They granted summary

        judgment in Appellees’ favor and enjoined Appellants from enforcing the coverage

        exclusions. Both sets of Appellants appealed those decisions.           The North Carolina

        Appellants also appealed certain evidentiary rulings underlying the district court’s

        judgment, and the West Virginia Appellants appealed the district court’s denial of their

        motion for summary judgment, as well as the district court’s certification of Appellees’

        proposed class pursuant to Federal Rule of Civil Procedure 23. The North Carolina and

        West Virginia Appellants’ central argument is that the coverage exclusions do not

        discriminate against a suspect or quasi-suspect class and are rationally related to legitimate

        government interests. Because we hold that the coverage exclusions facially discriminate

        on the basis of sex and gender identity, and are not substantially related to an important

        government interest, we affirm the district courts. We further hold that the West Virginia

        exclusion violates the Medicaid Act and the Affordable Care Act.

                                                      9
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 10 of 147




                                                      I.

                                       A. North Carolina’s Health Plan

               The North Carolina State Health Plan is part of the compensation package provided to

        state employees and the largest purchaser of healthcare and pharmaceuticals in North

        Carolina. J.A. 154.1 It funds healthcare for more than 740,000 teachers, legislators, state and

        local government employees, retirees, and their dependents. J.A. 160, 167. The Plan is

        administered by two third parties: BlueCross BlueShield North Carolina and CVS/Caremark.

        J.A. 156, 183. As third-party administrators, BlueCross and CVS process reimbursement

        claims from medical providers on behalf of Plan members. J.A. 184. The administrators do

        not, however, decide what benefits to cover. The State Health Plan alone does that. Id.

               Each year, the State Health Plan publishes Plan Benefit Booklets that list the

        covered healthcare, as well as the coverage exclusions for healthcare it will not reimburse.

        J.A. 186. No procedural or diagnostic codes are assigned to the treatments listed in the

        booklet. 2 But to receive reimbursement, a healthcare provider must submit a claim with


               1
                 Citations to the Joint Appendix and party briefs in this section and the next, I.A.
        and B. (“North Carolina’s Health Plan” and “Kadel Procedural History”), refer to the Joint
        Appendix and briefs in the North Carolina case, Kadel. Citations in sections I.C. and D.
        (“West Virginia’s Medicaid Program” and “Anderson Procedural History”) refer to the
        Joint Appendix and briefs in the West Virginia case, Anderson. Each citation in II.A.
        (“Equal Protection”) specifies which Joint Appendix or brief it refers to. Citations in II.B.
        (“Evidentiary and Injunctive Challenges”) refer to the Kadel Joint Appendix and briefs.
        Citations in II.C, D., and E. (“Class Certification,” “Medicaid Act,” and “Affordable Care
        Act”) refer to the Anderson Joint Appendix and briefs.
               2
                 The healthcare industry uses these alphanumeric codes to identify every possible
        diagnosis and medical service a patient might receive. See J.A. 185–87. Diagnostic codes
        classify diseases as provided by the ICD (“International Classification of Diseases”). J.A.
        (Continued)
                                                      10
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 11 of 147




        both of these codes, J.A. 185, so BlueCross, in consultation with Plan staff, assigns codes

        to each of the benefits covered by the Plan, J.A. 186. When BlueCross receives a claim,

        its “automated claims systems review[] the claim to determine whether it is for a benefit

        covered by the Plan.” Id. If the medical treatment is a covered treatment, BlueCross

        authorizes reimbursement. Id. If the treatment is not covered, BlueCross does not

        authorize reimbursement. J.A. 188. 3

               At issue is a coverage exclusion for “[t]reatment or studies leading to or in connection

        with sex changes or modifications and related care.” J.A. 181. Except for the 2017 calendar

        year, this exclusion has been in effect and administered by BlueCross each year since the

        1990s. 4 Based on the exclusion, four procedures are not covered by the State Health Plan



        185. Procedural codes, or CPT codes (“Current Procedural Terminology”), identify
        services and procedures. Id.
               3
                There are two exceptions to this. First, although the Plan theoretically excludes
        behavioral health services for treating gender dysphoria—either because they are treatments
        “leading to or in connection with sex changes or modifications” or are “related” to such
        treatments—BlueCross does not exclude these services. J.A. 191. That is because its
        automated system does not “distinguish between an individual diagnosed with gender
        dysphoria or another psychiatric diagnosis.” Id. Second, BlueCross has never implemented
        the benefit booklet’s exclusion of “surgery for psychological or emotion [sic] reasons”
        because it has no diagnostic or procedural codes for that (broad) category of surgery. Id.
               4
                 The one-year change was in response to a 2016 final rule by the U.S. Department
        of Health and Human Services prohibiting “categorical coverage exclusion[s] or
        limitation[s] for all health services related to gender transition.” Nondiscrimination in
        Health Programs and Activities, 81 Fed. Reg. 31375, 31471–72 (May 18, 2016). To
        comply with the rule, the State Health Plan Board of Trustees voted to remove “the blanket
        exclusions that relate to treatment or studies leading to or in connection with sex changes
        or modifications and related care[,] and psychological assessment and psychotherapy
        treatment in conjunction with proposed gender transformation[,] resulting in the provision
        of medically necessary services for the treatment of gender dysphoria.” S.J.A. 4685, 4689
        (Continued)
                                                      11
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024      Pg: 12 of 147




        “regardless of the diagnostic code”: “Intersex Surgery, Male to Female,” “Intersex Surgery,

        Female to Male,” “Vaginoplasty for Intersex State,” and “Clitoroplasty for Intersex State.”

        J.A. 188–89. Roughly two dozen other procedures are not covered when the diagnostic code

        is for “Transsexualism” or “Personal history of sex reassignment.” J.A. 189–90.

               North Carolina Appellees are members of the State Health Care Plan or their

        dependents. With the exception of next-friend Appellees, all Appellees are among the

        approximately 1.4 million people in the United States who identify as transgender. See

        generally J.A. 324–28, 342–46, 376–79, 389–93, 403–06; see also Brief of Amici Curiae

        the American Medical Association, et al., (Br. of Medical Amici) at 6. This means that

        their gender identity—that is, their deeply felt, inherent sense of their gender—is not

        aligned with their sex assigned at birth. This is in contrast to cisgender people’s gender

        identity, which does align with their sex assigned at birth. Id. at 9. Each Appellee (with

        the exception of next friends) has also been diagnosed with gender dysphoria, J.A. 324–

        448, a condition characterized by clinically significant distress and anxiety resulting from

        the incongruence between an individual’s gender identity and birth-assigned sex, see Am.

        Psychiatric Ass’n, Diagnostic and Statistical Manual of Mental Disorders 451 (5th ed.

        2013) (DSM-5). 5     “If untreated, gender dysphoria can cause debilitating distress,



        (State Health Plan Board of Trustees Meeting Minutes, Dec. 2, 2016). The Board removed
        the exclusion only for 2017, S.J.A. 4690, and it went back into effect in 2018.
               5
                Federal Rule of Evidence 201(b) permits the Court to take judicial notice of a fact
        “not subject to reasonable dispute” either because it is (1) generally known or (2) capable
        of accurate and ready determination by resort to sources whose “accuracy cannot
        reasonably be questioned.” Both parties have cited to the DSM-5 for the definition of
        (Continued)
                                                    12
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024      Pg: 13 of 147




        depression, impairment of function, self-mutilation to alter one’s genitals or secondary sex

        characteristics, other self-injurious behaviors, and suicide.” Br. of Medical Amici at 14

        (citing DSM-5 at 455, 458). Although every patient with gender dysphoria requires care

        specific to their individual medical needs, id. at 17, the medical community uses generally

        accepted protocols from the Standards of Care for the Health of Transgender and Gender

        Diverse People (Version 8), https://perma.cc/8DMN-DN33 (last visited Nov. 29, 2023),

        developed by the World Professional Association for Transgender Health. Br. of Medical




        gender dysphoria. See Opening Br. at 6–7; Resp. Br. at 12. The DSM-5 offers standardized
        criteria for the classification of mental disorders. It was published by the American
        Psychiatric Association after a twelve-year revision process in coordination with the
        National Institute of Mental Health (NIMH) and World Health Organization and a two-
        month public- and professional-review period. See Introduction, DSM-5. We therefore
        take judicial notice of the DSM-5. See Jacobs v. N.C. Admin. Office of the Courts, 780
        F.3d 562, 565 n.2 (4th Cir. 2015) (taking judicial notice of the DSM–4 because the expert
        witnesses in that case applied the diagnostic criteria of the DSM–4); see also Williams v.
        Kincaid, 45 F.4th 759, 767–69 (4th Cir. 2022) (relying on the DSM-5 in determining that
        gender dysphoria is not a “gender identity disorder” under the ADA, which “reflected a
        significant shift in medical understanding”); United States v. Charboneau, 914 F.3d 906,
        908 n.2 (4th Cir. 2019) (citing the DSM-5 for “paraphilic disorder” diagnosis criteria).

               The North Carolina Appellants dispute the DSM-5’s reliability as a scientific
        authority given their expert testimony that the NIMH stopped funding projects that use the
        DSM-5 and that the DSM-5 is generally controversial. See J.A. 742, 764. But the director
        of NIMH issued a press release clarifying that “NIMH has not changed its position on
        DSM-5,” and that the DSM-5 still “represents the best information currently available for
        clinical diagnosis of mental disorders.” Sharon Jayson, NIH official clarifies criticism of
        diagnostic manual, USA Today, https://perma.cc/VU2L-MWZ8 (last visited Nov. 29,
        2023). The NIMH’s research focus, he said, will be on a new system called Research
        Domain Criteria (RDoc), which will aim to find causes of disorders rather than focusing
        on symptoms. Id. Findings from RDoc may then be incorporated into future DSM
        revisions, he said. Id.
                                                    13
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 14 of 147




        Amici at 15–16. These are known as the WPATH Standards. 6 To treat gender dysphoria,

        the WPATH Standards recommend “assessment, counseling, and, as appropriate, social

        transition, hormone therapy, and surgical interventions to bring the body into alignment

        with one’s gender identity.” Id. at 16. Appellees sought many of these treatments but were

        denied coverage based on the Plan’s exclusion.




               6
                 The North Carolina Appellants dispute the scientific validity of these standards
        and the district court’s reliance on amici (which, in turn, heavily rely on the Standards) for
        incorporation of facts outside the record. See J.A. 788, 863 (defense expert declarations
        that WPATH’s recommendations are not scientifically based).

                But nothing about Appellants’ experts’ criticisms undermines the consensus around
        WPATH’s recommendations that gender dysphoria treatments may include surgery and
        hormone therapy. Appellants’ experts question the methodology, but not the consensus it has
        garnered. Compare, e.g., J.A. 863 (Defense expert Dr. McHugh criticizing WPATH for using
        “consensus-seeking methodologies, including voting”), with S.J.A. 4298 (Plaintiff expert Dr.
        Schechter explaining that voting in medical societies is a means for experts to voice their
        scientific opinions rather than one figurehead making a top-down decision). As Dr. George
        Brown put it, “WPATH Standards of Care . . . have been recognized as the authoritative
        treatment protocols by the major medical and mental health associations in the United
        States.” J.A. 3567. “The Veterans Health Administration []—the largest integrated health
        care system in the United States—treats transgender veterans largely based on the guidelines
        set forth in the current version of the WPATH [Standards].” Id. In fact, BlueCross’s default
        policy (the policy BlueCross uses when contracting with organizations that do not make their
        own coverage decisions) requires patients seeking medically necessary treatments for gender
        dysphoria to, among other things, provide a letter from the patient’s established healthcare
        provider indicating whether the provider follows the WPATH Standards and/or is part of a
        gender identity dysphoria treatment team. S.J.A. 4706–14. Given the record and the fact
        that “amici often make useful contributions to litigation,” Stuart v. Huff, 706 F.3d 345, 355
        (4th Cir. 2013), we reject Appellants’ contentions. See Grimm v. Gloucester County Sch.
        Bd., 972 F.3d 586, 594–96 (4th Cir. 2020) (citing to substantially same amici for the
        proposition that WPATH promulgates “modern accepted treatment protocols for gender
        dysphoria”); Peters v. Aetna, Inc., 2 F.4th 199, 234 (4th Cir. 2021) (concluding that “the brief
        of amici, the American Medical Association,” bolstered the Court’s interpretation of
        “Network Provider” under a health plan).
                                                      14
USCA4 Appeal: 22-1927        Doc: 119         Filed: 04/29/2024    Pg: 15 of 147




                                        B. Kadel Procedural History

               The North Carolina Appellees sued the Executive Administrator of the State Health

        Plan and State Treasurer Dale Folwell for their roles in the administration of the Plan.

        Appellees also sued the Plan itself. 7 J.A. 47, 51, 53. They alleged violations of the Equal

        Protection Clause and Affordable Care Act. The Plan moved to dismiss, asserting that it

        was entitled to sovereign immunity under the Eleventh Amendment. The district court

        denied that motion, holding that the Plan waived its immunity by accepting federal

        financial assistance. We affirmed on appeal. See Kadel v. N.C. State Health Plan, 12 F.4th

        422, 426 (4th Cir. 2021).

               The parties then cross-moved for summary judgment. Appellees also moved to

        exclude Appellants’ expert testimony. As relevant to this appeal, the district court granted

        Appellees’ motion for summary judgment on their Equal Protection Claim and granted

        partial relief to Appellees on their motions to exclude evidence. J.A. 3701–13, 3674–99. 8

        The district court reserved judgment on the Affordable Care Act claims. J.A. 3726–27. 9

               On the Equal Protection claim, the district court concluded that the Plan’s coverage

        exclusion facially discriminates based on sex and transgender status and, therefore, must




               7
                 Appellees also sued three public universities in North Carolina and the North
        Carolina Department of Public Safety. J.A. 52–53. For reasons not relevant here, none of
        these defendants is a party to the current appeal.
               8
                   The district court’s opinion can be found at 620 F. Supp. 339 (M.D.N.C. 2022).
               9
                The Court reserved judgment pending resolution of Administrative Procedure Act
        challenges to a revised rule from the Department of Health and Human Services and
        expected changes to that rule by the Biden administration.
                                                     15
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 16 of 147




        withstand intermediate scrutiny. It found no real dispute that the Plan’s exclusion is not

        substantially related to important government interests. Appellants raised two justifications:

        cost and efficacy. The district court readily dismissed the first reason because fiscal

        justifications cannot withstand intermediate scrutiny. J.A. 3710 (citing Mem’l Hosp. v.

        Maricopa County, 415 U.S. 250, 263 (1974)). And, although the court agreed that “[t]he

        state has an obvious interest in protecting its employees and their families from ineffective

        medical treatments,” it said the record did not support the notion that the treatments were

        actually ineffective. J.A. 3710–11. The court enjoined Appellants from enforcing the

        coverage exclusion and ordered them to reinstate coverage for “medically necessary services

        for the treatment of gender dysphoria.” J.A. 3734.

               The district court also granted in part and denied in part Appellees’ motions to

        exclude Appellants’ expert testimony. As a general matter, the district court excluded all

        of Appellants’ expert evidence that appeared to be based on unreliable methodology. J.A.

        3685–86. The district court also rejected theories about the “Transgender Treatment

        Industry” as “speculation designed to distract or inflame the jury.” J.A. 3694. It also

        excluded testimony from Appellants’ experts opining on areas of medicine and science in

        which they had no specific experience or expertise. J.A. 3690–92.

               At the same time, the district court held that testimony about issues directly within

        the experts’ professional purviews was admissible. For instance, the court found that

        Dr. Patrick Lappert, a surgeon, was qualified to opine on the risks associated with surgery

        used to treat gender dysphoria. J.A. 3692–93. It also found that Dr. Stephen Levine, a

        physician and professor of psychiatry, was qualified as a mental health provider and

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USCA4 Appeal: 22-1927       Doc: 119           Filed: 04/29/2024       Pg: 17 of 147




        researcher to testify to “the treatment of gender dysphoria and the efficacy and findings of

        research studies evaluating gender dysphoria treatments.” J.A. 3697.

               Of Appellants’ five proposed experts, four were allowed to testify. Proposed

        testimony from the fifth expert, Dr. Peter Robie, was excluded because half of it was not

        expert testimony and the other half was irrelevant, the district court said. J.A. 3678–79.

                                    C. West Virginia’s Medicaid Program

               Medicaid is a federal-state program that provides health insurance for low-income

        people. J.A. 2562–63; 42 U.S.C. § 1396-1. Though states are not required to participate in

        Medicaid, “once a state elects to join the program, it must administer a state plan that meets

        federal requirements.” Frew ex rel. Frew v. Hawkins, 540 U.S. 431, 433 (2004). To ensure

        state compliance, each state must submit a written state plan for approval by the Secretary of

        Health and Human Services. 42 U.S.C. §§ 1396a, 1396c. The plan must describe the nature

        and scope of the state’s program and affirm the state’s commitment to adhere to the requirements

        of the Medicaid Act and its associated regulations. 42 C.F.R. § 430.10. It “consists of a

        standardized template, issued and updated by CMS [the Centers for Medicaid and Medicare

        Services], that includes both basic requirements” common to every state and “individualized

        content that reflects the characteristics of the State’s program.” 42 C.F.R. § 430.12(a).

               For “categorically needy” populations, 10 states must cover certain basic categories

        of services and may cover other optional categories of services. 42 C.F.R. § 440.210


               10
                 Medicaid distinguishes between “categorically needy” and “medically needy”
        populations. States must cover the categorically needy and may cover the medically needy.
        See Medicaid Eligibility, https://perma.cc/C4LC-64MY (last visited Nov. 29, 2023). The
        (Continued)
                                                       17
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024     Pg: 18 of 147




        (listing mandatory services). Some mandatory categories of services are inpatient hospital

        services; outpatient hospital services; laboratory and X-ray services; nursing facility

        services; early and periodic screening, diagnostic, and treatment services for people under

        21; family-planning services for people of child-bearing age; and physicians’ services. 42

        U.S.C. § 1396d(a)(1)–(5). Optional service categories for adults include physical therapy

        and prescription drugs. 42 U.S.C. §§ 1396a(a)(10)(A), 1396d(a)(11), (12).

               The West Virginia Department of Health and Human Resources, Bureau of Medical

        Services, administers the state’s Medicaid Program and receives funding from the U.S.

        Department of Health and Human Services. J.A. 2564. The Department’s Cabinet

        Secretary and the Bureau’s Commissioner, both of whom are named defendants, are

        responsible for ensuring that the Program complies with federal law. J.A. 2564–65. The

        Bureau Commissioner is also responsible for administering the Program. J.A. 2565.

              Like the North Carolina State Health Plan, West Virginia’s Medicaid Program does

        not cover every medically necessary procedure, but every procedure it covers is medically

        necessary. J.A. 458. To determine what is medically necessary, the state contracts with a

        company called Kepro. J.A. 2567. Kepro, in turn, relies on InterQual, which establishes

        nationally accredited criteria that insurers use to make coverage decisions. J.A. 2567.


        categorically needy are those who are eligible for certain federal welfare programs, those
        who are not eligible for those programs but whose income falls below a certain level, and
        other distinct groups (for example, qualifying pregnant women). See 42 U.S.C.
        § 1396a(10)(A). The medically needy are people with significant health needs whose
        incomes are too high to otherwise qualify for Medicaid but who will spend enough money
        on medical care that their income after medical costs falls below a certain threshold. See
        Medicaid Eligibility, https://perma.cc/C4LC-64MY. The distinction between the two
        groups is not relevant to this case.
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USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024       Pg: 19 of 147




        InterQual criteria are derived from the “systematic continuous review and critical appraisal

        of the most current evidence based literature” and include input from an independent panel

        of experts. J.A. 573. To develop its guidance on treatments for gender dysphoria, InterQual

        relies on guidelines from the World Professional Association of Transgender Health

        (WPATH) and the Endocrine Society. J.A. 2567.

               The state’s Medicaid Program covers some gender-affirming care, including

        counseling, office visits, hormones, and lab work. J.A. 1136–37; Opening Br. at 3; Resp.

        Br. at 8. 11 It does not, however, cover gender-affirming surgery. Specifically, Medicaid’s

        Policy Manual lists twenty-one services it does not cover, including “transsexual surgery.”

        J.A. 934–35. Such surgery is excluded “regardless of medical necessity,” J.A. 459—a

        relevant caveat because, under InterQual’s criteria, surgery to treat gender dysphoria is

        medically necessary for certain individuals. J.A. 2143–58; see also J.A. 459 (Deposition

        of BMS Commissioner Cynthia Beane) (testifying that the Program does not cover

        gender-affirming surgery “regardless of whether or not there’s a physician or a review team

        saying it’s medically necessary”). The coverage exclusion was adopted around 2004 and

        has been maintained since without review. J.A. 473–74, 2564. Appellants admit they do

        not know why it was adopted, nor are they aware of what information, if any, the Program

        relied on in adopting the exclusion. See J.A. 1127, 2212.




               11
                  The district court did not make a finding about whether Medicaid covers these
        types of gender-affirming care, but both parties agree that it does and the Joint Appendix
        supports the same conclusion.
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USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 20 of 147




               Medicaid contracts with three managed care organizations to provide coverage. J.A.

        2564. Its contract with each says the organization is “not permitted to provide” certain

        services, including “[s]ex transformation procedures and hormone therapy associated with

        sex transformation procedures.” J.A. 1040–41. As a result, each organization’s own

        member handbook explicitly states that those services are not covered. J.A. 947, 953, 958.

        While the Medicaid Program does not follow InterQual’s coverage criteria for what

        Medicaid refers to as “transsexual surgery,” it does follow the criteria for the same surgeries

        when they are not performed to treat gender dysphoria. Specifically, the Program partially

        or fully covers the following procedures for non-gender dysphoria diagnoses: mastectomy

        (removal of breast tissue), breast-reduction surgery, post-mastectomy chest-reconstruction

        surgery, hysterectomy (removal of uterus), oophorectomy (removal of ovaries),

        vaginoplasty (creation or repair of vagina), orchiectomy (removal of testicles), penectomy

        (removal of penis), and phalloplasty (creation or reconstruction of penis). J.A. 304. 12




               12
                   InterQual deems mastectomy/reduction mammoplasty medically necessary in
        certain cases of macromastia/gigantomastia (a medical condition where the breasts of
        patients assigned female at birth become excessively large) and gynecomastia (enlarged
        breasts in patients assigned male at birth). J.A. 2397–2406. It deems hysterectomy or
        salpingo-oophorectomy (removal of fallopian tubes and ovaries) or salpingectomy
        (removal of fallopian tubes) medically necessary in certain cases of endometriosis
        (uterine-like tissue growing outside the uterus), endometrial cancer, presence of the BRCA
        gene, cervical adenocarcinoma in situ (a premalignant precursor to cervical cancer),
        postmenopausal endometrial hyperplasia (thickening of the uterine lining that can lead to
        uterine cancer), Lynch syndrome (a genetic condition that increases the risks of certain
        types of cancers, including endometrial cancer), suspected ovarian or tubal cancer,
        abnormal uterine bleeding or postmenopausal bleeding, adenomyosis (endometrial tissue
        growing into the muscular walls of the uterus), fibroids, chronic abdominal or pelvic pain,
        and cervical dysplasia (abnormal cell growth in the cervix). Id. 2351–2415.
                                                      20
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024    Pg: 21 of 147




                                      D. Anderson Procedural History

               Plaintiff Shauntae Anderson is a transgender Medicaid patient who has been diagnosed

        with gender dysphoria. J.A. 289–90, 294–96. She is seeking gender-affirming surgery,

        specifically breast augmentation and vaginoplasty. J.A. 296. Before she was on Medicaid,

        she began medically transitioning through self-treatment: taking birth control pills for

        estrogen. J.A. 294. Once she was on Medicaid, her doctors recommended hormone

        replacement therapy. J.A. 295. She began the therapy in 2019. Id. Still, she struggles

        with her body. Id. at 295–96. She also worries about her safety in public, where strangers

        have mocked her for being transgender. J.A. 296. She is concerned that future interactions

        will escalate to violence. J.A. 296–97.

               Doctors have not yet recommended her for surgery; to the extent they have

        discussed it with her, they have simply said that Medicaid does not cover the surgeries, so

        “there is nothing that they can do about it.” Id.

               Anderson sued in the Southern District of West Virginia on behalf of herself and

        others similarly situated. 13 She argued that the coverage exclusion discriminates against

        transgender people in violation of the Fourteenth Amendment, the Medicaid Act, and the

        Affordable Care Act, and sought class certification. Both parties moved for summary

        judgment. Appellants also argued that Appellees lacked standing and opposed class

        certification. The district court found in favor of Appellees on all claims, J.A. 2562–91,


               13
                  Christopher Fain also sued as a named plaintiff. Between oral argument and
        publication of this opinion, his income made him ineligible to participate in West
        Virginia’s Medicaid Program. His individual claims in this case are therefore now moot,
        but Anderson and the class members still have standing.
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USCA4 Appeal: 22-1927         Doc: 119         Filed: 04/29/2024     Pg: 22 of 147




        and certified a class of “all transgender people who are or will be enrolled in West Virginia

        Medicaid and who are seeking or will seek gender-confirming care barred by the

        Exclusion,” J.A. 2552. 14 The court enjoined Appellants from enforcing or applying the

        exclusion. J.A. 2592.


                                                       II.

               The central dispute in this case is about the fate of the coverage exclusions. 15

        Appellants in both cases ask us to reverse the district courts’ summary judgment rulings

        that the exclusions violate the Fourteenth Amendment. We review that decision de novo.

        See Bostic v. Schaefer, 760 F.3d 352, 370 (4th Cir. 2014). And we will affirm a summary

        judgment ruling only if we find “no genuine dispute as to any material fact” after

        considering the evidence in the light most favorable to the nonmovant. Ret. Comm. of DAK

        Ams. LLC v. Brewer, 867 F.3d 471, 479 (4th Cir. 2017) (quoting Fed. R. Civ. P. 56(a));

        Libertarian Party of Va. v. Judd, 718 F.3d 308, 312–13 (4th Cir. 2013).




               14
                    The district court’s opinion can be found at 618 F. Supp. 3d 313 (S.D.W. Va. 2022).
               15
                  We can quickly dispose of the Anderson Appellants’ argument that Anderson
        lacks standing. Appellants say she cannot demonstrate an actual, concrete injury because
        she did not submit claims to Medicaid for gender-affirming surgery, and therefore has not
        shown that her claims would be denied. Opening Br. at 49. Submitting a claim for a
        procedure that the policy manual explicitly excludes from coverage would be futile and is
        therefore not required to show standing. See Townes v. Jarvis, 577 F.3d 543, n.1 (4th Cir.
        2009). Appellants’ argument that Anderson’s injury is speculative because she is not yet
        in a position to undergo surgery is similarly unconvincing. Though Anderson has not yet
        sought formal approval for surgery from a physician, Supp. J.A. 1–2, which would be
        required if the exclusion were lifted, doing so would be futile. See, e.g., Pinchback v.
        Armistead Homes Corp., 907 F.2d 1447, 1451 (4th Cir. 1990) (plaintiff not required to
        apply for a job that company’s racially discriminatory policy would bar him from getting).
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USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 23 of 147




                                            A. Equal Protection

               The Equal Protection Clause of the Fourteenth Amendment forbids a state from

        denying “to any person within its jurisdiction the equal protection of the laws.” U.S. Const.

        amend. XIV, § 1, cl. 4. It prohibits states from placing people into different classes and

        treating them unequally for reasons “wholly unrelated” to permissible government

        objectives. Reed v. Reed, 404 U.S. 71, 75–76 (1971). If the state does seek to treat different

        groups of people differently, it must do so “upon some ground of difference having a fair

        and substantial relation to the object of the [policy].” Id. at 76 (quoting Royster Guano Co.

        v. Virginia, 253 U.S. 412, 415 (1920)).

               Appellants argue that the district courts’ equal-protection analyses were flawed

        because, they say, the exclusions distinguish on the basis of diagnosis. The exclusions

        therefore only have to withstand rational-basis review.        We disagree.     In this case,

        discriminating on the basis of diagnosis is discriminating on the basis of gender identity

        and sex. The coverage exclusions are therefore subject to intermediate scrutiny. They

        cannot meet that heightened standard.

                                                      1.

               We start by determining the proper level of scrutiny with which to review the

        coverage exclusions. When a state law regulates on the basis of something other than a

        protected characteristic, we apply rational-basis review and will uphold the law if it

        rationally relates to a legitimate government objective. City of Cleburne v. Cleburne Living

        Ctr., 473 U.S. 432, 440 (1985). When the state draws distinctions based on a protected

        classification, however, a more searching review is required. Classifications along racial

                                                     23
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 24 of 147




        lines, for example, are inherently suspect and subject to strict scrutiny. Id. Classifications

        based on sex are also suspect but are subject to intermediate, or “quasi-suspect,” scrutiny.

        Grimm v. Gloucester County Sch. Bd., 972 F.3d 586, 607–08 (4th Cir. 2020).

               The distinction between rational basis and intermediate scrutiny is significant. We

        have described rational-basis review as a “deferential” standard under which “the plaintiff

        bears the burden to negate every conceivable basis which might support” the differential

        treatment. Giarratano v. Johnson, 521 F.3d 298, 303 (4th Cir. 2008) (citation and

        quotations omitted). By contrast, an intermediate-scrutiny analysis requires the proponent

        of the policy to produce an “exceedingly persuasive justification” for treating individuals

        differently based on quasi-suspect characteristics. Miss. Univ. for Women v. Hogan, 458

        U.S. 718, 724 (1982) (citation and quotations omitted). The district courts considered the

        coverage exclusions under intermediate scrutiny because they viewed the exclusions as

        facially discriminating on the basis of sex and gender identity. Because Appellants dispute

        that conclusion, we consider the question anew.

               The central disagreement between the parties is whether the exclusion discriminates

        on the basis of diagnosis and procedure (Appellants’ view) or on the basis of sex and

        transgender identity (Appellees’ view). As a reminder, the exclusions respectively bar

        coverage of “[t]reatment or studies leading to or in connection with sex changes or

        modifications and related care,” Kadel, J.A. 181 (North Carolina), and “transsexual

        surgery,” Anderson, J.A. 2566 (West Virginia). Appellants argue that this language is

        facially neutral because it simply excludes treatments for gender dysphoria; it does not bar

        transgender patients from receiving the same treatments as cisgender patients. In fact,

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USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 25 of 147




        Appellants argue, treatments for gender dysphoria—all treatments in North Carolina and

        surgical treatments in West Virginia—are excluded from coverage for everyone, regardless

        of their gender identity. Appellees argue that the language of the exclusions is facially

        discriminatory because it makes coverage for certain procedures hinge on the sex of the

        patient and bars coverage of treatments for a condition that is bound up in transgender

        identity (gender dysphoria).

               The parties spend much of their briefs arguing over the meanings of “surgery,”

        “procedure,” and “treatment.” Is a procedure defined by the diagnosis it treats or simply by

        what happens in the operating room? Is removing a patient’s breasts to treat cancer the

        same procedure as removing a patient’s breasts to treat gender dysphoria? Is testosterone

        therapy to address “hypogonadotropic hypogonadism” (“a lack of sex hormones, . . .

        prevent[ing] normal sexual maturity in children and normal function of the testicles or

        ovaries in adults” 16) the same treatment as testosterone therapy to address gender dysphoria?

        There is no caselaw to ground this discussion nor obvious first principles to work from.

               Instead, we answer the following questions, starting from the premise that gender

        identity is a protected characteristic, see Grimm, 972 F.3d at 610: (1) Is gender dysphoria

        a proxy for transgender identity?, (2) Can proxy discrimination be facial discrimination?,



               16
                   Hypogonadotropic Hypogonadism, MedlinePlus, https://perma.cc/A4V2-6WLU
        (last visited Dec. 17, 2023); see also familial hypogonadotropic hypogonadism, Stedman’s
        Medical Dictionary, 428990 (Westlaw 2014) (defining the term as characterized by failure
        of sexual development, owing to inadequate secretion of pituitary gonadotropins).
        “MedlinePlus is a service of the National Library of Medicine (NLM), the world’s largest
        medical library, which is part of the National Institutes of Health (NIH).” About
        MedlinePlus, MedlinePlus, https://perma.cc/S75C-J939 (last visited Dec. 17, 2023).
                                                     25
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 26 of 147




        and (3) In this case, is discrimination on the basis of gender dysphoria discrimination on

        the basis of gender identity? We also address whether the coverage exclusions discriminate

        on the basis of sex. We answer each of these questions in the affirmative.

                                                     a.

               We begin by reiterating our holding in Grimm v. Gloucester County School Board

        that gender identity is a protected characteristic under the Equal Protection Clause. The

        school board in that case passed a policy limiting the use of boys’ and girls’ restrooms to

        students with “the corresponding biological genders.” 972 F.3d at 599. Because of that

        policy, Gavin Grimm, a transgender boy, was barred from using the boys’ restroom.

        Grimm sued on Equal Protection grounds, as well as Title IX grounds, claiming that the

        policy discriminated on the basis of sex and gender identity. Id. at 593. In addressing

        Grimm’s gender-identity argument, this Court had to decide whether gender identity is a

        protected characteristic subject to heightened scrutiny. The Court applied the Supreme

        Court’s four factors for determining whether a group of people constitutes a suspect or

        quasi-suspect class. Id. at 611. It found that transgender people have historically been

        subjected to discrimination, transgender status “bears [no] relation to ability to perform or

        contribute to society,” transgender people are a discrete group with immutable

        characteristics, and transgender people are a minority lacking political power. Id. at 611–

        13 (quotations and citation omitted). Because transgender people constitute a quasi-

        suspect class, the Grimm Court held, discrimination on the basis of gender identity is

        subject to heightened scrutiny. Id. at 613. If the coverage exclusions here discriminate



                                                     26
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024     Pg: 27 of 147




        against transgender people, they must withstand that scrutiny to stay in place. We next

        address whether the exclusions discriminate against transgender individuals.

                                                    b.

               The coverage exclusions do not explicitly mention transgender people. Instead, they

        mention the types of treatments that are not covered: “[t]reatment or studies leading to or

        in connection with sex changes or modifications and related care,” Kadel, J.A. 181 (North

        Carolina), and “transsexual surgery,” Anderson, J.A. 2566 (West Virginia). In other words,

        treatments for gender dysphoria. Appellees argue that targeting gender dysphoria is

        targeting the people with gender dysphoria, all of whom are, by definition, transgender.

        Appellants argue that gender dysphoria is not a proxy for transgender identity. They make

        two arguments: (1) not all transgender people have gender dysphoria, and (2) the policies

        apply to everyone, not just transgender people. We address these arguments in turn.

                                                    i.

               Not all transgender people are diagnosed with gender dysphoria. 17 And not all

        people with gender dysphoria seek gender-affirming surgery, as the West Virginia

        Appellants note. Anderson, Opening Br. at 7–8. But “a law is not immune to an equal

        protection challenge if it discriminates only against some members of a protected class but

        not others.” Hecox v. Little, 79 F.4th 1009, 1025 (9th Cir. 2023). In Rice v. Cayetano, for

        instance, the Supreme Court struck down a Hawaiian constitutional provision that allowed



               17
                  As North Carolina Appellees’ counsel noted at oral argument, transgender people
        without gender dysphoria may not suffer from gender dysphoria because they were treated
        for it. Oral Arg. at 1:15:57–1:16:24.
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USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 28 of 147




        people to vote in certain elections only if they were descendants of aboriginal people who

        inhabited Hawaii in or before 1778, the year the British made landfall in Hawaii. 528 U.S.

        495, 498–500 (2000). Hawaii was settled by Polynesians who voyaged from Tahiti. Id. at

        500. The island was isolated from migration, so the aboriginal people living in Hawaii in

        1778 were all Polynesian. See id. at 514. Their descendants were therefore at least part

        Polynesian.   The state argued that the law was not racially discriminatory against

        non-Polynesians because not all Polynesians were allowed to vote; those who had come

        after 1778 could not. Id. at 516. The Court rejected that argument: “Simply because a

        class defined by ancestry does not include all members of the race does not suffice to make

        the classification race neutral.” Id. at 516–17 (emphasis added). 18

               Indeed, the Court has consistently taken the view that discrimination within a certain

        class does not mean there is no discrimination between classes. See Mathews v. Lucas, 427

        U.S. 495, 504 n.11 (1976) (“That the statutory classifications challenged here discriminate

        among illegitimate children does not mean, of course, that they are not also properly

        described as discriminating between legitimate and illegitimate children.”) (emphasis

        added); Weber v. Aetna Cas. & Sur. Co., 406 U.S. 164, 167–68 (1972) (striking down

        workers’ compensation law that allowed recovery for, among others, children born to

        married parents, as well as children born to unmarried parents and acknowledged by their

        biological fathers, but did not allow recovery for children born to unmarried parents and

        unacknowledged by their biological fathers); Frontiero v. Richardson, 411 U.S. 677, 678–


               18
                 Rice was decided under the Fifteenth Amendment because it barred a certain
        group from voting. But its analysis is just as relevant to the Equal Protection context.
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USCA4 Appeal: 22-1927        Doc: 119           Filed: 04/29/2024       Pg: 29 of 147




        79, 690–91 (1973) (invalidating rule that servicemen could claim their wives as dependents,

        and servicewomen providing at least half of their husbands’ financial support could claim

        their husbands as dependents, but servicewomen providing less than half of their husbands’

        financial support could not claim their husbands as dependents); Nyquist v. Mauclet, 432

        U.S. 1, 3–4, 12 (1977) (striking down state law that offered tuition assistance to citizens and

        to non-citizens who had applied to become citizens or submitted statement affirming intent

        to apply for citizenship or were refugees, but did not offer tuition assistance to other non-

        citizens); Graham v. Richardson, 403 U.S. 365, 366–67, 376 (1971) (invalidating law that

        provided state welfare benefits to U.S. citizens and non-citizens who had been in the state

        for at least 15 years, but not to non-citizens who had been in the state for less than 15 years). 19

               Geduldig v. Aiello, on which Appellants heavily rely, does not alter the meaning of these

        cases. 417 U.S. 484 (1974). Nor could it—both Mathews and Nyquist were decided after

        Geduldig. The Court in Geduldig dealt with a California disability insurance system that

        compensated workers for “disability stemming from a substantial number of mental or physical

        illness(es) and mental or physical injur(ies).” Id. at 488. Certain disabilities were not covered:



               19
                  At least one other circuit has applied these holdings to recognize that a law need not
        affect every transgender person to discriminate against transgender people as a class. In
        Hecox v. Little, the Ninth Circuit preliminarily enjoined an Idaho law that barred student
        athletes assigned male at birth from competing on girls’ and women’s sports teams. 79 F.4th
        1009. Defendant-appellants argued that the Act did not discriminate on the basis of
        transgender identity because it did “not prohibit biologically female athletes who identify as
        male from competing on male sports teams consistent with their gender identity.” Id. at 1025.
        In other words, although the Act prohibited transgender girls and women from participating
        on girls’ and women’s sports teams, it did not prohibit transgender boys and men from
        participating on boys’ and men’s sports teams. The Court found this argument unconvincing
        for the same reason we find Appellants’ argument unconvincing here. Id. at 1025–26.
                                                        29
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 30 of 147




        disability lasting less than eight days, unless the employee was hospitalized; disability that

        resulted from someone’s court commitment as a “dipsomaniac” (someone who struggles with

        alcohol addiction), “drug addict,” or “sexual psychopath”; and disability resulting from

        “normal” pregnancy. Id. at 486, 488, 490. Plaintiffs sued, arguing that the plan’s pregnancy

        exclusion discriminated against women. The Court rejected this argument in a footnote:

               The California insurance program does not exclude anyone from benefit
               eligibility because of gender but merely removes one physical condition—
               pregnancy—from the list of compensable disabilities. While it is true that
               only women can become pregnant[,] it does not follow that every legislative
               classification concerning pregnancy is a sex-based classification . . . . Normal
               pregnancy is an objectively identifiable physical condition with unique
               characteristics. Absent a showing that distinctions involving pregnancy are
               mere pretexts designed to effect an invidious discrimination against the
               members of one sex or the other, lawmakers are constitutionally free to
               include or exclude pregnancy from the coverage of legislation such as this on
               any reasonable basis, just as with respect to any other physical condition.

               The lack of identity between the excluded disability and gender as such under
               this insurance program becomes clear upon the most cursory analysis. The
               program divides potential recipients into two groups—pregnant women and
               nonpregnant persons. While the first group is exclusively female, the second
               includes members of both sexes. The fiscal and actuarial benefits of the
               program thus accrue to members of both sexes.

        Geduldig, 417 U.S. at n.20.

               The West Virginia Appellants say that, like in Geduldig, Medicaid’s policy “does

        not create a sex-based classification, because it divides members into two groups—those

        who seek gender-confirming surgery, and all other persons. While the first group may be

        exclusively comprised of transgender individuals, the second group includes all other




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USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 31 of 147




        persons, whether cisgender, transgender, or other identity, who do not seek

        gender-confirming surgery.” Anderson, Opening Br. at 28. 20

               Appellants’ argument—that Geduldig compels us to find in their favor because not

        all transgender individuals seek treatment for gender dysphoria—might be correct if we read

        Geduldig as broadly as possible. But Geduldig must be read in light of Mathews, Weber,

        Frontiero, Nyquist, Graham, and Rice, all of which say that a state cannot immunize itself

        from violating the Equal Protection Clause by discriminating against only a subset of a

        protected group. Appellants’ reading of Geduldig cannot be squared with these cases. Read

        in conjunction with these cases, Geduldig is best understood as standing for the simple

        proposition that pregnancy is an insufficiently close proxy for sex. The same cannot be said

        for the inextricable categories of gender dysphoria and transgender status.

               Three facts support this conclusion. First, the Supreme Court has only relied on

        Geduldig to reject proxy-based arguments in cases where pregnancy was at issue. See Gen.

        Elec. Co. v. Gilbert, 429 U.S. 125, 136 (1976) (holding that a similar benefits exclusion for

        pregnancy-related disability did not violate Title VII and reiterating that “exclusion of

        pregnancy from a disability-benefits plan providing general coverage is not a gender-based

        discrimination at all”), superseded by statute, Pregnancy Discrimination Act of 1978, Pub.



               20
                  As explained below, II.A.1.b.ii.B., II.A.1.d., the policy does cover certain kinds
        of gender-affirming surgery for cisgender people, so it is inaccurate to say that the people
        seeking gender-affirming surgery are exclusively transgender. We assume for purposes of
        analysis that Appellants intend to compare gender-affirming surgery sought by transgender
        people with surgery unrelated to gender and sought by people of all gender identities—for
        instance, a mastectomy sought by a transgender man for gender-affirming purposes versus
        mastectomies sought by cisgender women and transgender men to treat cancer.
                                                     31
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 32 of 147




        L. No. 95-555, 92 Stat. 2077, as recognized in Newport News Shipbuilding & Dry Dock Co.

        v. EEOC, 462 U.S. 669, 685 (1983); Nashville Gas Co. v. Satty, 434 U.S. 136, 142 (1977)

        (holding, in part, that a policy denying sick-leave pay to pregnant employees was permissible

        under Title VII, so long as the policy was not a pretext for invidious discrimination); Bray v.

        Alexandria Women’s Health Clinic, 506 U.S. 263, 271 (1993) (“‘While it is true,’ we said

        [in Geduldig], ‘that only women can become pregnant, it does not follow that every

        legislative classification concerning pregnancy is a sex-based classification.’”). Thus, while

        Geduldig held that pregnancy is not a proxy for sex, it did not hold that a characteristic of a

        subset of a protected group cannot be a proxy for that group.

               Second, gender dysphoria is so intimately related to transgender status as to be

        virtually indistinguishable from it. The excluded treatments aim at addressing incongruity

        between sex assigned at birth and gender identity, the very heart of transgender status. In

        contrast to pregnancy—which is a condition that can be described entirely separately from a

        person’s sex—gender dysphoria is simply the medical term relied on to refer to the clinical

        distress that can result from transgender status.

               Finally, the exclusions cannot function without relying on direct—not just proxy-

        based—discrimination.       Determining whether someone requires pregnancy-related

        treatment—the issue in Geduldig—does not turn on or require inquiry into a protected

        characteristic. True, when a doctor determines a person is pregnant, they will generally, as

        a consequence, also have reached a conclusion about the person’s sex assigned at birth. But

        that is true only because, as Geduldig recognized, pregnancy is often a reliable indicator of

        a person’s sex. In contrast, determining whether a treatment like reduction mammoplasty

                                                      32
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 33 of 147




        constitutes “transsexual surgery” or whether a testosterone supplement is prescribed in

        connection with a “sex change[] or modification[]” is impossible—literally cannot be done—

        without inquiring into a patient’s sex assigned at birth and comparing it to their gender

        identity. Indeed, those procedures are routinely covered by the Plan and Program in

        situations where the only material difference is the patient’s sex.

               For those reasons, Appellants’ arguments that Geduldig requires us to find in their

        favor is unpersuasive.

                                                      ii.

                                                      A.

               Appellants next argue that gender dysphoria is not being used as a proxy for transgender

        identity here because treatment for that diagnosis is not covered for anyone, transgender or

        cisgender. This argument elides common sense and is inconsistent with Supreme Court

        precedent about how to approach equal-protection analyses. “The proper focus of constitutional

        inquiry is the group for whom the law is a restriction, not the group for whom the law is

        irrelevant.” City of Los Angeles v. Patel, 576 U.S. 409, 418 (2015) (quotations omitted).

               The argument is also tautological, akin to saying that the law “applies equally to all

        to whom it applies.” See Joseph Tussman & Jacobus tenBroek, The Equal Protection of

        the Laws, 37 Calif. L. Rev. 341, 345 (1949); see also Giovanna Shay, Similarly Situated,

        18 Geo. Mason L. Rev. 581, 587 (2011). The Supreme Court explicitly rejected this line

        of reasoning in McLaughlin v. Florida, where it struck down a ban on interracial couples

        living together. 379 U.S. 184 (1964). In doing so, it overturned a prior case, Pace v.

        Alabama. Id. at 188–91. In Pace, it held that people convicted of violating two separate

                                                      33
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 34 of 147




        laws—one prohibiting sex outside of marriage and the other prohibiting sex outside of

        marriage specifically for interracial couples—were not similarly situated because the same-

        race couple had committed a different offense than the interracial couple. 106 U.S. 583,

        585 (1883). Rejecting Pace’s cramped approach, the McLaughlin Court wrote:

               The [Pace v. Alabama] opinion acknowledged that the purpose of the Equal
               Protection Clause “was to prevent hostile and discriminating state legislation
               against any person or class of persons” and that equality of protection under
               the laws implies that any person, “whatever his race . . . shall not be
               subjected, for the same offense, to any greater or different punishment.” But
               taking quite literally its own words, “for the same offense,” the Court pointed
               out that Alabama had designated as a separate offense the commission by a
               white person and a Negro of the identical acts forbidden by the general
               provisions. There was, therefore, no impermissible discrimination because the
               difference in punishment was “directed against the offence designated” and
               because in the case of each offense all who committed it, white and Negro,
               were treated alike . . . . Because each of the Alabama laws applied equally to
               those to whom it was applicable, the different treatment accorded interracial
               and intraracial couples was irrelevant.

        Id. at 188–90 (emphasis added) (quoting Pace, 106 U.S. at 584–85).

               This “narrow view” of the Equal Protection Clause—that a law does not

        discriminate if it applies equally to all—made no sense, the Court said. Id.; see also Loving

        v. Virginia, 388 U.S. 1, 10 (1967) (noting rejection of Pace). Indeed, the analysis collapses

        in on itself. Take other examples. A tax on wearing kippot would apply to non-Jews and

        Jews alike, but would affect only Jews. See Bray, 506 U.S. at 270. A ban on same-sex

        marriage would apply to straight, gay, lesbian, and bisexual people equally, but would

        affect only gay, lesbian, and bisexual people—straight people would not choose to marry

        someone of the same sex. Finally, a literacy test only required of people whose ancestors

        were not allowed to vote before 1866 would apply to everyone, but would affect only Black


                                                     34
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 35 of 147




        people. See Guinn v. United States, 238 U.S. 347, 364–65 (1915). Put differently, all these

        barriers or bans, although they do not use the words “Jews,” “gays, lesbians, or bisexuals,”

        or “Black people,” targeted these groups by proxy, which is just as impermissible under

        the Equal Protection Clause. See Christian Legal Soc’y v. Martinez, 561 U.S. 661, 689

        (2010) (“Our decisions have declined to distinguish between status and conduct in th[e]

        context [of discrimination].”); see also Lawrence v. Texas, 539 U.S. 558, 575 (2003)

        (“When homosexual conduct is made criminal by the law of the State, that declaration in

        and of itself is an invitation to subject homosexual persons to discrimination.”); id. at 583

        (O’Connor, J., concurring in judgment) (“While it is true that the law applies only to

        conduct, the conduct targeted by this law is conduct that is closely correlated with being

        homosexual. Under such circumstances, [the] law is targeted at more than conduct. It is

        instead directed toward gay persons as a class.”); Bray, 506 U.S. at 270 (“Some activities

        may be such an irrational object of disfavor that, if they are targeted, and if they also happen

        to be engaged in exclusively or predominantly by a particular class of people, an intent to

        disfavor that class can readily be presumed.”).

                                                      B.

               Just as both Appellants claim that they do not provide certain types of

        gender-dysphoria treatment to anyone, the West Virginia Appellants claim that they do not

        provide gender-affirming treatment to anyone. Anderson, Opening Br. at 21–24. This

        argument fails for two reasons: (1) for many procedures, it is not true, and (2) for those

        procedures of which it is true, the coverage ban only affects transgender people.



                                                      35
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 36 of 147




               First, the record shows that cisgender people do receive coverage for certain

        gender-affirming surgeries, specifically vaginoplasty (for congenital absence of a vagina),

        breast reconstruction (post-mastectomy), and breast reduction (for gynecomastia).

        Anderson, J.A. 304, 332, 2385–87, 2418–27.

               Second, the gender-affirming surgeries that are not covered for anyone are surgeries

        that only transgender people would get; they are either not physically possible for other

        groups or would not be gender-affirming for them. Specifically, any surgeries involving

        removing genitals or internal parts of the body are not covered when performed for gender-

        affirming purposes. So neither a cisgender woman nor cisgender man would be entitled to

        a hysterectomy, oophorectomy, vaginectomy, orchiectomy, or penectomy for gender-

        affirming purposes. Appellants argue that this fact shows that the Program does not

        discriminate against transgender people.

               This is just another version of Appellants’ “applies equally to all to whom it applies”

        argument. Anderson, Opening Br. at 6, 21; Reply Br. at 6–7; Kadel, Opening Br. at 23;

        Reply Br. at 16. Just as cisgender people would not seek any treatment for gender dysphoria,

        they would not seek certain surgeries for gender-affirming purposes. For instance, a

        cisgender woman would never seek a hysterectomy, oophorectomy, or vaginectomy for

        gender-affirming reasons because, for her, those surgeries are not gender-affirming. Nor

        would a cisgender man ever seek an orchiectomy or penectomy for gender-affirming reasons

        because, for him, those surgeries are not gender-affirming. Again, while the exclusion may

        apply to everyone, for many treatments, it is only relevant to transgender individuals.



                                                     36
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 37 of 147




               In sum, targeting a subset of a protected group does not preclude a finding of proxy

        discrimination. Nor does the fact that a law applies equally to all, when it only affects a

        protected group. We hold that gender dysphoria, a diagnosis inextricable from transgender

        status, is a proxy for transgender identity. And coverage exclusions that bar treatments for

        gender dysphoria bar treatments on the basis of transgender identity by proxy.

                                                       c.

               We next address whether proxy discrimination can be a form of facial

        discrimination. At oral argument, the North Carolina Appellants argued that we only ask

        whether a trait is being used as a proxy once we have found that a law does not facially

        discriminate. Oral Arg. at 1:31:30–1:31:40, 1:32:48–1:36:48. In other words, they say,

        we would have to look beyond the face of the exclusions to find that gender dysphoria was

        being used as a proxy for gender identity. Id. at 1:35:50–1:36:08. Because Appellees only

        advance a facial-discrimination theory, and not an invidious-intent theory, proxy

        discrimination does not enter our analysis, Appellants say.

               This argument about how to approach proxy discrimination has significant practical

        implications. If a plaintiff needs discovery about extratextual factors—say, a legislator’s

        intent—to argue that a statute is using a proxy to discriminate, that plaintiff will rarely make

        it past a motion to dismiss. 21 Government officials who pass discriminatory policies


               21
                 Appellees made it past the motion-to-dismiss stage here because the district courts
        recognized that discrimination on the basis of gender dysphoria is discrimination on the
        basis of gender identity. Kadel, J.A. 3706 (“Discrimination against individuals suffering
        from gender dysphoria is also discrimination based on sex and transgender status.);
        Anderson, J.A. 2573 (“[I]nherent in a gender dysphoria diagnosis is a person’s identity as
        (Continued)
                                                      37
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 38 of 147




        (generally) do not say the quiet part out loud. So, under Appellants’ view, a plaintiff

        bringing an Equal Protection claim would be left with only two avenues to get to summary

        judgment: the statute itself must explicitly name the protected group in its text or a

        government official must let slip the real purpose of the policy. Both virtually never happen.

               This approach also cannot be squared with Supreme Court precedent. The Court

        has consistently found the text of statutes and constitutions, coupled with basic facts,

        enough to find facial discrimination, even when the text does not explicitly name a

        protected group.    In Guinn v. United States, for example, the Court invalidated an

        Oklahoma law that required all voters to pass a literacy test, except those whose ancestors

        were eligible to vote in or before 1866 (i.e., before the Fifteenth Amendment was passed).

        238 U.S. at 364–65. “It is true [the law] contains no express words of an exclusion . . . on

        account of race, color, or previous condition of servitude,” the Court said. Id. at 364.

        “[B]ut the [1866] standard itself inherently brings that result into existence since it is based

        purely upon a period of time before the enactment of the 15th Amendment, and makes that

        period the controlling and dominant test of the right of suffrage.” Id. at 364–65. The Court

        reaffirmed that proxy discrimination can be facial discrimination in Bray (a tax on kippot

        is a tax on Jews), Christian Legal Society (exclusion based on same-sex conduct is

        exclusion based on sexual orientation), and Lawrence (criminalization of same-sex conduct

        is discrimination based on sexual orientation). 506 U.S. at 270; 561 U.S. at 689; 539 U.S.

        at 575. And while Rice v. Cayetano, explained above, canvassed the legislative history of


        transgender. In other words, a person cannot suffer from gender dysphoria without
        identifying as transgender.”).
                                                      38
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 39 of 147




        the constitutional provision, 528 U.S. at 509–10, 515–16, the Court’s ruling did not hinge

        on this evidence of invidious discrimination. It was enough to know the history of the

        island—including the importance of 1778—to conclude that the provision used ancestry as

        a proxy for race. 22 Similarly, it is enough to know that gender dysphoria, and therefore

        treatment for gender dysphoria, is unique to transgender individuals in order to conclude

        that the exclusions use gender dysphoria as a proxy for transgender identity. 23




               22
                  The principal dissent says that, because we hold that proxy discrimination can be
        established solely through the text of a law, coupled with basic facts, we also hold that
        evidence of invidious discrimination isn’t necessary. Dissent Op. at n.3. Not so. Evidence
        of discriminatory intent is always necessary. But just as text alone can be enough to show
        that intent (e.g., women cannot receive heart transplants), text coupled with basic facts can
        also be enough (people with XX chromosomes cannot receive heart transplants).
               23
                  At least one other circuit has addressed proxy discrimination as a form of facial
        discrimination in other contexts. In Hecox v. Little, the Ninth Circuit preliminarily
        enjoined an Idaho law that barred student athletes assigned male at birth from competing
        on women’s sports teams, see supra at n.199. The Court noted that the Act’s definition of
        “biological sex” was written with “seemingly neutral criteria that are so closely associated
        with the disfavored group that discrimination on the basis of such criteria is, constructively,
        facial discrimination against the disfavored group [transgender athletes].” 79 F.4th at 1024
        (quoting Pac. Shores Props., LLC v. City of Newport Beach, 730 F.3d 1142, 1160 n.23 (9th
        Cir. 2013)). The Ninth Circuit reached the same conclusion in Davis v. Guam, 932 F.3d
        822, 839 (9th Cir. 2019). Guam law restricted voting rights to “those persons who became
        U.S. Citizens by virtue of the authority and enactment of the 1950 Organic Act of Guam
        and descendants of those persons”—a seemingly innocuous definition on its own. Id. The
        Organic Act granted citizenship to three categories of people, all of whom had to have been
        born in Guam before April 11, 1899—(not) coincidentally, the date that Spain ceded Guam
        to U.S. control. Id. The Ninth Circuit held that the law facially discriminated by using
        qualification under the Organic Act as a proxy for race. Id.; see also id. at 837–38 (noting
        that discriminating against individuals with gray hair would be facial discrimination on the
        basis of age because “the fit between age and gray hair is sufficiently close”) (citation and
        quotations omitted). The Seventh Circuit, in another context, has noted that policies
        excluding service dogs and wheelchairs would “no doubt” discriminate on the basis of
        disability. See McWright v. Alexander, 982 F.2d 222, 228 (7th Cir. 1992).
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USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 40 of 147




               The principal dissent sees the discrimination analysis differently. To begin, we

        agree with the principal dissent that, as a default rule, we do not presume discriminatory

        intent from a facially neutral statute. Because of that, plaintiffs claiming that a facially

        neutral statute violates the Equal Protection Clause must conduct a more searching

        evidentiary inquiry. See Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S.

        252, 266–68 (1977). We agree, however, that when a statute is very clearly using a proxy

        to target a protected characteristic, we need not conduct a full-blown Arlington Heights

        inquiry. See Dissent Op. at 75 (“Sometimes a law uses a classification that is so obviously

        a proxy for a suspect class that ‘an intent to disfavor that class can be readily presumed.’”

        (quoting Bray, 506 U.S. at 270)). From there, we diverge.

               The first difference between our approaches is where in the analysis we ask about

        proxy discrimination. 24 As stated above, usually, if we have determined that something is

        facially neutral, we cannot find discriminatory intent without first conducting a more

        searching evidentiary inquiry. In the principal dissent’s view, there is an exception to that

        rule. Even if something is facially neutral, we can find discriminatory intent without an

        evidentiary inquiry if there is incredibly clear proxy discrimination. But, the principal

        dissent says, the proxy inquiry is never part of the facial classification inquiry. Id. at n.4.

        That is where we disagree.



               24
                 The question about proxy discrimination—whether procedures are being used as
        such an obvious proxy for a protected characteristic that the policies cannot be facially
        neutral—is only relevant to whether the text of the policies discriminate on the basis of
        gender identity. As we explain below, the text of the policies discriminates on the basis of
        sex, even without using a procedure as a proxy.
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USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 41 of 147




               In the principal dissent’s view:

               That we must ask whether a law uses a classification that is merely a substitute
               for a protected trait means that the law does not explicitly—i.e., facially—
               classify based on that protected trait. Cf. Hunt v. Cromartie, 526 U.S. 541, 546
               (1999) (“When . . . classifications are explicit, no inquiry into legislative
               purpose is necessary.”). Indeed, the Supreme Court has expressly rejected this
               argument, noting that courts only inquire into “covert” classifications—i.e.,
               ostensibly neutral classifications that “could not be plausibly explained on a
               neutral ground”—after concluding that a statute is “gender-neutral on its face.”
               Feeney, 442 U.S. at 274–75. Instead, the proxy inquiry is better understood as
               a species of intentional discrimination: Is the government targeting something
               because of its close connection to another thing?

        Id.

               We agree that the covert-classifications inquiry only happens after concluding that a

        statute is facially neutral. But it doesn’t follow that the proxy inquiry only happens after

        concluding that a statute is facially neutral. That’s because not every proxy is covert. Indeed,

        some are glaringly—facially—obvious. And when that’s the case, when there is incredibly

        clear proxy discrimination, the law is not facially neutral. In Califano v. Westcott, for

        example, the Court held that a welfare law that differentiated between unemployed fathers

        and unemployed mothers facially discriminated on the basis of sex. 443 U.S. 76, 83–89

        (1979); see also Sessions v. Morales-Santana, 582 U.S. 47, 58 (2017) (holding that law that

        gave children born abroad to unwed U.S. citizen mother and non-citizen father an easier path

        to U.S. citizenship than children born abroad to unwed non-citizen mother and U.S. citizen

        father facially discriminated on the basis of gender); Reed v. Reed, 404 U.S. 71, 74–76 (1971)

        (holding facially discriminatory a state law that gave preference to fathers to act as

        administrators of their deceased child’s estate). The Court has similarly treated laws

        differentiating between wives and husbands as facial discrimination on the basis of sex. See,

                                                      41
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 42 of 147




        e.g., Orr v. Orr, 440 U.S. 268, 278 (1979) (law providing alimony for wives but not husbands

        facially discriminatory). The principal dissent acknowledges that the laws in these cases did

        not use the words “men” or “women.” Dissent Op. at n.1. Still, it says, the laws were

        nevertheless facial classifications because “discriminating between mothers and fathers is

        just another way of discriminating ‘on the basis of the sex of the qualifying parent.’” Id.

        (quoting Morales-Santana, 582 U.S. at 58).

               That is exactly our point. A law is not facially neutral simply because, in place of

        explicit references to protected identities, the law uses different words that mean the same

        thing. This case is a good example. Had the West Virginia and North Carolina policies

        barred “surgical procedures or treatments related to a patient’s transgender status,” the

        policies would no doubt discriminate on the basis of gender identity. Rewording the

        policies to use a proxy, by barring “[t]reatment or studies leading to or in connection with

        sex changes or modifications and related care” and “transsexual surgery,” does not make

        the classification covert. The policies remain just as obviously discriminatory as before.

        Our definition of facial discrimination is thus broader than the principal dissent’s.

               This brings us to the second difference between our approaches: what makes a

        proxy obvious. The principal dissent says a proxy is obvious when plaintiffs can show

        “both discriminatory effects and that no rational, nondiscriminatory explanation exists for

        the law’s classification.” Dissent Op. at 77.

               There are two problems with these criteria. First, they assume that the presence of

        a nondiscriminatory reason means the absence of a discriminatory reason. But “[r]arely

        can it be said that a legislature or administrative body operating under a broad mandate

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USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 43 of 147




        made a decision motivated solely by a single concern.” Vill. of Arlington Heights, 429

        U.S. at 265. The question therefore is not whether there is a non-discriminatory reason for

        a policy, but instead whether there is a discriminatory reason for it. When there is “proof

        that a discriminatory purpose has been a motivating factor in the decision, [] judicial

        deference is no longer justified.” Id. at 265–66 (emphasis added).

               Especially where government budgets are involved, there will frequently be a

        “rational” basis for discrimination. A law that pays state employees with XX chromosomes

        75 percent of what state employees with XY chromosomes are paid has a rational,

        nondiscriminatory reason: it saves the state large sums of money. But under the principal

        dissent’s framework, not only would that law be facially neutral; it would also be supported

        by a “rational, nondiscriminatory reason.” A court therefore could not find that the law

        discriminated on the basis of gender until it conducted a full-blown Arlington Heights

        evidentiary inquiry. This would require us to ignore the obvious.

               Second, the principal dissent’s “no rational, nondiscriminatory explanation” criteria

        would muddle the traditional equal-protection analysis. The second step of that analysis

        asks whether a discriminatory law can be justified by the state’s nondiscriminatory interest

        in the law. The principal dissent’s analysis would require asking the state-interest question

        twice: first to determine whether a facially neutral law is nevertheless discriminatory 25 and

        second to determine whether a discriminatory law can nevertheless be justified.



               25
                 Of course, and as the principal dissent notes, even if the state had a rational,
        nondiscriminatory interest in the law, plaintiffs might be able to show discrimination
        through the Arlington Heights factors.
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USCA4 Appeal: 22-1927       Doc: 119            Filed: 04/29/2024   Pg: 44 of 147




                                                       d.

               In addition to discriminating on the basis of gender identity, the exclusions

        discriminate on the basis of sex. Certain gender-affirming surgeries that could be provided

        to people assigned male at birth and people assigned female at birth are provided to only

        one group under the policy. Those surgeries include vaginoplasty (for congenital absence

        of a vagina), breast reconstruction (post-mastectomy), and breast reduction (for

        gynecomastia). Anderson, J.A. 304, 332, 2385–87, 2418–27. Those assigned female at

        birth can receive vaginoplasty and breast reconstruction for gender-affirming purposes, but

        those assigned male at birth cannot. And those assigned male at birth can receive a

        mastectomy for gender-affirming purposes, 26 but those assigned female at birth cannot. In

        other words, when the purpose of the surgery is to align a patient’s gender presentation

        with their sex assigned at birth, the surgery is covered. When the purpose is to align a

        patient’s gender presentation with a gender identity that does not match their sex assigned

        at birth, the surgery is not covered.

               This is textbook sex discrimination, for two reasons. For one, we can determine whether

        some patients will be eliminated from candidacy for these surgeries solely from knowing their

        sex assigned at birth. And two, conditioning access to these surgeries based on a patient’s sex


               26
                 Appellants note that cisgender men with excess breast tissue (gynecomastia) can
        only have a covered mastectomy if they also experience breast pain or tenderness.
        Anderson, Reply Br. at 21–22 (citing J.A. 2405). But it is not clear why this is relevant. It
        seems this is an argument that the two are not similarly situated because one surgery
        (mastectomy for cisgender men with symptomatic gynecomastia) is medically necessary,
        while the other (mastectomy for transgender men with gender dysphoria) is not. As
        explained below, though, there is no threshold similarly situated inquiry in the equal-
        protection analysis.
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USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024       Pg: 45 of 147




        assigned at birth stems from gender stereotypes about how men or women should present. See

        Bostock v. Clayton County, 590 U.S. ----, ----, 140 S. Ct. 1731, 1742–49 (2020).

               First, as the North Carolina district court noted, the policy cannot be applied “without

        referencing sex.” Kadel, J.A. 3704 (quoting Grimm, 972 F.3d at 608). Try figuring out

        whether the State Health Plan or Medicaid Program will cover a certain patient’s

        vaginoplasty. By virtue of the fact that they are seeking a vaginoplasty, we know that they

        were born without a vagina. But we do not know what sex they were assigned at birth.

        Without that information, we cannot say whether the Plan or Program will cover the surgery.

               The Supreme Court used this type of thought experiment in Bostock v. Clayton County.

        There, it imagined a job applicant asked to disclose the applicant’s sexual orientation. 140 S.

        Ct. at 1746. “There is no way for an applicant to decide whether to check the homosexual or

        transgender box without considering sex,” it wrote. Id. “To see why, imagine an applicant

        doesn’t know what the words homosexual or transgender mean. Then try writing out

        instructions for who should check the box without using the words man, woman, or sex (or

        some synonym). It can’t be done.” Id. The same is true here. A third-party administrator

        cannot make the coverage decision without knowing whether the vaginoplasty is to treat

        gender dysphoria—in other words, whether the patient was assigned male at birth.

               Second, a policy that conditions access to gender-affirming surgery on whether the

        surgery will better align the patient’s gender presentation with their sex assigned at birth is a

        policy based on gender stereotypes. For instance, while mastectomies are available for both

        people assigned male at birth and those assigned female at birth, when they are conducted for

        gender-affirming purposes, they are only available to those assigned male at birth. This

                                                       45
USCA4 Appeal: 22-1927        Doc: 119           Filed: 04/29/2024       Pg: 46 of 147




        difference in coverage is rooted in a gender stereotype: the assumption that people who have

        been assigned female at birth are supposed to have breasts, and that people assigned male at

        birth are not. No doubt, the majority of those assigned female at birth have breasts, and the

        majority of those assigned male at birth do not. But we cannot mistake what is for what must

        be. And because gender stereotypes can be so ingrained, we must be particularly careful in

        order to keep them out of our Equal Protection jurisprudence. “[T]he test for determining the

        validity of a gender-based classification is straightforward, [but] it must be applied free of fixed

        notions concerning the roles and abilities of males and female.” Miss. Univ. for Women, 458

        U.S. at 724–25. Policies based on gender stereotypes impermissibly discriminate on the basis

        of sex. See Price Waterhouse v. Hopkins, 490 U.S. 228, 255–58 (1989), superseded by statute

        on other grounds, 42 U.S.C. §§ 2000e-2(m), 2000e-5(g)(2)(B), as recognized in Comcast Corp.

        v. Nat’l Ass’n of Afr. Am.-Owned Media, 589 U.S. ----, ----, 14 S. Ct. 1009, 1017 (2020); Grimm,

        972 F.3d at 608–09 (noting that sex stereotyping is sex discrimination under the Equal

        Protection Clause); Peltier v. Charter Day Sch., Inc., 37 F.4th 104, 124–26 (4th Cir. 2022) (en

        banc) (“[W]e will reject sex-based classifications that appear to rest on nothing more than

        conventional notions about . . . males and females.”) (citation and quotations omitted). Because

        the exclusions here condition access to certain surgeries on whether those surgeries will better

        align the patient’s sex assigned at birth with their gender, they discriminate on the basis of sex.

                                                        e.

               Having addressed Appellants’ two primary arguments—that the exclusions

        discriminate on the basis of diagnosis and not gender identity or sex, and that Geduldig

        mandates this finding—we move on to Appellants’ other equal-protection arguments.

                                                        46
USCA4 Appeal: 22-1927        Doc: 119           Filed: 04/29/2024       Pg: 47 of 147




               Both Appellants argue that the district courts incorrectly determined that the two groups

        at issue are similarly situated. Anderson, Opening Br. at 20–21; Kadel, Opening Br. at 32.

        Appellants define the groups as those seeking surgery for non-gender dysphoria diagnoses and

        those seeking surgery for gender-dysphoria diagnoses. Appellants call this similarly situated

        analysis a “foundational requirement.” Kadel, Opening Br. at 32. If the court finds that two

        groups are not similarly situated, the equal-protection analysis goes no further, they say.

               Appellants misunderstand the similarly situated directive. Far from a threshold step, the

        similarly situated inquiry is “one and the same as the equal protection merits inquiry.” Shay,

        supra, at 598. As the Court in City of Cleburne v. Cleburne Living Center said, “The Equal

        Protection Clause,” not the first step of an Equal Protection Clause analysis, “is essentially a

        direction that all persons similarly situated should be treated alike.” 473 U.S. at 439. The

        “similarly situated” language preceded the modern tiers of scrutiny, and the Court has continued

        to use the phrase. Shay, supra, at 598. But it has never used it as a threshold hurdle. Id.; see,

        e.g., Brown v. Bd. of Educ., 347 U.S. 483, n.10 (1954) (mentioning the phrase in a footnote near

        the end of the opinion); Loving v. Virginia, 388 U.S. 1 (1967) (never mentioned); United States

        v. Virginia, 518 U.S. 515 (1996) (never mentioned); Grutter v. Bolinger, 539 U.S. 306, 375

        (2003) (mentioned in concurrence and not as a threshold inquiry). It has instead used the

        similarly situated inquiry to decide whether the governmental interest for discrimination is

        justified. See, e.g., Tuan Anh Nguyen v. INS, 533 U.S. 53, 62–68 (2001) (asking whether the

        fact that biological mother and father are not similarly situated with regard to proof of biological

        parenthood justifies state’s different citizenship rules for children born abroad and to unmarried

        parents, depending on whether the citizen parent is the mother or father).

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USCA4 Appeal: 22-1927       Doc: 119           Filed: 04/29/2024      Pg: 48 of 147




               This makes sense. The similarly situated inquiry does not just ask whether two

        groups are similarly situated; it asks whether they are similarly situated with respect to the

        statute’s objective. See, e.g., Reed, 404 U.S. at 77 (“The objective of [the statute] clearly

        is to establish degrees of entitlement of various classes of persons in accordance with their

        varying degrees and kinds of relationship to the intestate. Regardless of their sex, persons

        within any one of the enumerated classes of that section are similarly situated with respect

        to that objective.”) (emphasis added); Stanton v. Stanton, 421 U.S. 7, 14 (1975) (“A

        classification . . . must rest upon some ground of difference having a fair and substantial

        relation to the object of legislation, so that all persons similarly circumstanced shall be

        treated alike.” (emphasis added) (quotations and citation omitted)). But the modern equal-

        protection analysis does not reach a statute’s objectives until after determining whether it

        discriminates on the basis of a protected characteristic. Adding a threshold similarly

        situated inquiry confuses the proper sequence of the analysis.

               Next, the North Carolina Appellants argue that there is a genuine dispute about whether

        the healthcare sought by Appellees is medically necessary. Kadel, Opening Br. at 32–33. They

        frame this as a similarly situated argument: those seeking gender-dysphoria treatment may not

        be similarly situated to those not seeking it. Putting aside that there is no similarly situated

        threshold inquiry, this argument ignores the coverage exclusion’s language. The North

        Carolina exclusion prohibits treatment “leading to or in connection with sex changes or

        modifications and related care,” irrespective of medical necessity. To the extent Appellants are

        arguing that treatments for gender dysphoria are never medically necessary, that argument is

        better understood as a back-end justification for the facial discrimination rather than an ex ante

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USCA4 Appeal: 22-1927       Doc: 119           Filed: 04/29/2024      Pg: 49 of 147




        argument that it is not subject to heightened scrutiny.27 Because the exclusions discriminate

        on the basis of transgender identity and sex, they are subject to intermediate scrutiny.

                                                       2.

               Having determined that the challenged coverage exclusions receive intermediate

        scrutiny, we now turn to whether the coverage exclusions can withstand that scrutiny. To

        survive intermediate-scrutiny review, the government must provide an “exceedingly persuasive

        justification” for the classification. Miss. Univ. for Women, 458 U.S. at 724. At a minimum,

        the government must show that “the classification serves important governmental objectives

        and that the discriminatory means employed are substantially related to the achievement of

        those objectives.” Id. (citation and quotations omitted). A law that discriminates against a

        quasi-suspect class “must be genuine, not hypothesized or invented post hoc in response to

        litigation.” Virginia, 518 U.S. at 533. “And it must not rely on overbroad generalizations about

        the different talents, capacities, or preferences of males and females.” Id.

               “Under intermediate scrutiny, the government bears the burden of establishing a

        reasonable fit between the challenged statute and a substantial governmental objective.”

        United States v. Chapman, 666 F.3d 220, 226 (4th Cir. 2012). The party defending the statute

        must “present[] sufficient probative evidence in support of its stated rationale for enacting a



               27
                   Appellants’ remaining arguments—that the coverage exclusion does not
        constitute facial discrimination simply because it contains the word “sex” and that the
        district court improperly relied on Title VII precedents—also fail. The phrase “sex change”
        is not merely descriptive; it forecloses medical coverage based on a patient’s choice to
        diverge from sex stereotypes, which, as explained above, constitutes sex discrimination.
        Moreover, the district court properly rooted its analysis in Grimm, an Equal Protection
        Clause case.
                                                       49
USCA4 Appeal: 22-1927       Doc: 119           Filed: 04/29/2024      Pg: 50 of 147




        gender preference, i.e., . . . the evidence [must be] sufficient to show that the preference rests

        on evidence-informed analysis rather than on stereotypical generalizations.” H.B. Rowe Co.

        v. Tippett, 615 F.3d 233, 242 (4th Cir. 2010) (citation and quotations omitted). The

        classification must be based on “reasoned analysis rather than [on] the mechanical application

        of traditional, often inaccurate, assumptions.” Miss. Univ. for Women, 458 U.S. at 726.

               The North Carolina Appellants say that they excluded gender-dysphoria treatments

        because the treatments cost too much and were not effective. The first justification is a non-

        starter. “[A] state may not protect the public fisc by drawing an invidious distinction between

        classes of its citizens.” Mem’l Hosp., 415 U.S. at 263.

               Protecting public health from ineffective medicine is an important government

        interest, as the North Carolina district court noted. Kadel, J.A. 3710–11. But the district

        court properly rejected the contention that the coverage exclusion is substantially related

        to that end. Some of the expert testimony that Appellants rely on to argue that gender-

        dysphoria treatments are ineffective does not actually support their argument. Kadel, J.A.

        3712. And the anecdotal evidence that does call into question medical efficacy challenges

        only some of Appellees’ evidence. In any event, those criticisms do not support the notion

        that gender-dysphoria treatments are ineffective so much as still developing. That alone

        does not create a genuine dispute that is material to the heightened-scrutiny analysis.

        Without evidence to show that gender-dysphoria treatments are ineffective, the North

        Carolina Appellants cannot show that the coverage exclusion is narrowly tailored to serve

        the state’s substantial interest in not covering medically ineffective treatment.



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USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 51 of 147




               The West Virginia Appellants also argue that saving costs and not covering medically

        ineffective treatments justify the exclusion. Anderson, Opening Br. at 33–35. Their

        arguments are even weaker than the North Carolina Appellants’ arguments.                 CMS

        Commissioner Cynthia Beane testified that she did not know why the exclusion was adopted;

        in fact, she was not even sure when it was adopted. Anderson, J.A. 436–37. What’s more,

        West Virginia Department of Health and Human Resources Secretary Bill Crouch said he

        did not know if Medicaid had conducted any research or analysis about the cost of providing

        access to gender-affirming care. Anderson, J.A. 393. That testimony shows that Appellants’

        proffered rationales were created for the purposes of litigation. They therefore cannot justify

        the policy under a heightened-scrutiny analysis. See Virginia, 518 U.S. at 533.

                                 B. Evidentiary and Injunctive Challenges

               We now address the Kadel Appellants’ remaining complaints about the district

        court’s order. First, they argue that the district court impermissibly relied on facts in an

        amicus brief filed by medical organizations. Second, they challenge the district court’s

        exclusion of certain expert testimony. And third, they say the district court’s injunction

        order was too vague for them to comply with absent risking a contempt sanction.

                                                      1.

               Appellants challenge the district court’s reliance on an amicus brief filed by eight

        medical organizations. 28 J.A. 3539–59. Appellants’ central contention is that the district


                These are the same organizations who have filed an amicus brief with this Court
               28

        on appeal: the American Medical Association, the American Academy of Pediatrics,
        American College of Obstetricians and Gynecologists, the American Psychiatric
        (Continued)
                                                      51
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024       Pg: 52 of 147




        court used the amicus brief to establish evidence contrary to Appellants’ expert testimony

        that “no reliable medical studies show that plaintiffs’ desired treatments . . . improve the

        health and wellbeing of patients with gender dysphoria over time.” Opening Br. at 47

        (citing J.A. 3698, n.3, Declaration of defense expert Stephen B. Levine).

               This argument is unpersuasive. The district court relied on the amicus brief to

        anchor its discussion in well-accepted facts about what it means to be transgender, how

        transgender people may be affected by gender dysphoria, and what treatments exist to

        mitigate the symptoms of gender dysphoria. See J.A. 3669–71 (e.g., “[w]hile being

        transgender is not itself a psychiatric condition, many transgender individuals experience

        severe anxiety and distress as a result of having physiology or an assigned sex that does

        not match their deeply felt, inherent sense of their gender” and “[t]he current Standards of

        Care (WPATH-7) recommended treatments include[] assessment, counseling, and, as

        appropriate, social transition, hormone therapy, and surgical interventions” (citations and

        quotations omitted)). None of this information contradicts any party’s proffered testimony.

        To the contrary, the district court clearly laid out the dispute between the parties in the final

        paragraphs of the section. Compare J.A. 3671 (“Plaintiffs’ experts testify that . . . these

        are ‘safe and effective treatment[s] for gender dysphoria’ that are governed by ‘well-

        established community standards.’”), with id. (“Defendants’ experts . . . testify that medical

        and surgical treatments have significant medical risks and consequences, and the research




        Association, the Endocrine Society, the North American Society for Pediatric and
        Adolescent Gynecology, National Association of Nurse Practitioners in Women’s Health,
        and the Society of OB/GYN Hospitalists.
                                                       52
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 53 of 147




        supporting such treatments is of ‘low quality.’”). The district court did not improperly rely

        on amicus briefing.

                                                      2.

               The North Carolina Appellants also claim that the district court misapplied Federal

        Rule of Evidence 702 when it rejected portions of their expert witnesses’ proffered

        evidence. We review the district court’s rulings on this matter for abuse of discretion.

        McKiver v. Murphy-Brown, LLC, 980 F.3d 937, 958 (4th Cir. 2020). Rule 702 sets forth

        the requirements a witness must satisfy to qualify as an expert. When determining the

        reliability of experiential expert testimony for purposes of Rule 702, a court must require

        the witness to “explain how [the witness’s] experience leads to the conclusion reached,

        why that experience is a sufficient basis for the opinion, and how that experience is reliably

        applied to the facts.” Fed. R. Evid. 702 advisory committee’s note to 2000 amendments.

               “A witness who is qualified as an expert by knowledge, skill, experience, training,

        or education may testify in the form of an opinion” if (1) the expert’s specialized

        knowledge will help the jury understand the evidence or determine a fact in issue; (2) the

        testimony is based on sufficient facts or data; (3) the testimony comes from reliable

        principles and methods; and (4) the expert reliably applied those principles and methods to

        the facts of the case. Fed. R. Evid. 702. A witness’s qualifications are “liberally judged

        by Rule 702,” and “a person may qualify to render expert testimony in any one of the five

        ways listed” by the Rule. Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir. 1993); see Cooper v.

        Lab’y Corp. of Am. Holdings, Inc., 150 F.3d 376, 380 (4th Cir. 1998).



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USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 54 of 147




               Appellants see three problems in the district court’s analysis: the district court

        (1)“artificially constrained the ‘technical area’ of the substantive issues at hand,” Opening

        Br. at 52–53; (2) diminished Dr. Hruz’s credentials “with untrue statements” and

        erroneously excluded “his testimony about the treatment of gender dysphoria,” id. at 55;

        and (3) misunderstood the relevance of Dr. Robie’s testimony that “there is no such thing

        as a gender-neutral diagnosis or gender-neutral medicine,” id. at 56. None of these

        arguments points to an abuse of discretion.

               First, the district court constrained Appellants’ experts to the specific technical areas

        in which they had expertise because that is what Fourth Circuit precedent requires. In

        undertaking its gatekeeping role to ensure that evidence is reliable under Rule 702, a district

        court “must decide whether the expert has ‘sufficient specialized knowledge to assist the

        jurors in deciding the particular issues in the case.’” Belk, Inc. v. Meyer Corp., U.S., 679

        F.3d 146, 162 (4th Cir. 2012) (quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137, 156

        (1999) (emphasis added)). The district court did not abuse its discretion by rejecting expert

        testimony about the treatment of gender dysphoria from witnesses who, although medical

        professionals, did not demonstrate an expertise in treating gender dysphoria. See, e.g.,

        Zellers v. NexTech Ne., LLC, 533 F. App’x 192, 199 (4th Cir. 2013) (finding that a

        Ph.D.-holding neuropsychologist and neurotoxicologist was not a medical doctor and was

        thus “not qualified to diagnose the cause of [plaintiff’s] alleged symptoms”); see also

        Shreve v. Sears, Roebuck & Co., 166 F. Supp. 2d 378, 391 (D. Md. 2001) (stating “[t]he

        fact that a proposed witness is an expert in one area, does not ipso facto qualify him to

        testify as an expert in all related areas” and collecting cases supporting that proposition).

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USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 55 of 147




               Second, Dr. Hruz’s testimony that he has overseen two medical fellows who

        performed research on gender dysphoria does nothing to contradict the district court’s

        conclusion that Dr. Hruz himself has not conducted research on gender dysphoria. J.A.

        3681–82. The district court’s point was that “[m]erely reading literature” about gender

        dysphoria does not qualify Dr. Hruz as an expert on the subject. J.A. 3682. And,

        notwithstanding its finding, the district court still allowed Dr. Hruz “to testify to the risks

        associated with puberty blocking medication and hormone therapy,” based on his “long

        career treating patients and conducting academic research on the effects of hormone

        treatments.” Id. The district court’s decision to exclude a portion of Dr. Hruz’s testimony

        did not “rest[] upon a clearly erroneous factual finding.” Bryte ex rel. Bryte v. Am.

        Household, Inc., 429 F.3d 469, 475 (4th Cir. 2005).

               Third, Appellants’ argument that the district court misunderstood the relevance of

        Dr. Robie’s opinion that “physicians must know the chromosomal sex of patients” to

        provide competent medical care, J.A. 3500, fails to address the district court’s other,

        independent basis for rejecting it. The district court held that, in addition to the testimony

        being irrelevant, “Robie’s failure to submit an expert report or provide any basis for his

        opinion other than a vague reference to his years of practice precludes this Court from

        finding that his expert opinion is based on a reliable methodology under Rule 702.” J.A.

        3679; see Sardis v. Overhead Door Corp., 10 F.4th 268, 281 (4th Cir. 2021) (requiring

        district courts “to ensur[e] that an expert’s testimony both rests on a reliable foundation

        and is relevant to the task at hand”). Because Appellants did not present competent support

        for the reliability of Dr. Robie’s testimony at the district court or on appeal, we are

                                                      55
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024      Pg: 56 of 147




        unpersuaded by their argument. See Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199

        (4th Cir. 2001) (“The proponent of [expert] testimony must establish its admissibility by a

        preponderance of proof.”).

               Finding no abuse of discretion in the district court’s evidentiary rulings, we reject

        Appellants’ claims on this issue.

                                                     3.

               Finally, the North Carolina Appellants argue that the injunctive order’s language

        enjoining them from “enforcing the Plan’s exclusion,” J.A. 3734, was too vague for them

        to comply with, without risking a contempt sanction. Opening Br. at 39.

               Federal Rule of Civil Procedure 65(d)(1) requires courts granting an injunction to

        “(A) state the reasons why it issued; (B) state its terms specifically; and (C) describe in

        reasonable detail . . . the act or acts restrained or required.” The rule “was designed to

        prevent uncertainty and confusion on the part of those faced with injunctive orders, and to

        avoid the possible founding of a contempt citation on a decree too vague to be understood.”

        Schmidt v. Lessard, 414 U.S. 473, 476 (1974). Considering these goals, “the specificity

        provisions of Rule 65(d) are no mere technical requirements,” and “basic fairness requires

        that those enjoined receive explicit notice of precisely what conduct is outlawed.” Id. To

        comply with Rule 65(d), the district court’s order must be clear enough to inform

        Appellants of what they may and may not do. See also CPC Int’l, Inc. v. Skippy Inc., 214

        F.3d 456, 459 (4th Cir. 2000).

               The injunction order contains two components.         First, it permanently enjoins

        Appellants “from enforcing the Plan’s exclusion.” J.A. 3734. Appellants’ position that

                                                    56
USCA4 Appeal: 22-1927        Doc: 119          Filed: 04/29/2024       Pg: 57 of 147




        this language does not indicate the specific coverage exclusion they are enjoined from

        enforcing is baseless. The injunction order represents the culmination of a detailed,

        73-page opinion discussing why the coverage exclusion prohibiting treatments leading to

        or in connection with sex changes violates the Equal Protection Clause. Plainly speaking,

        the district court’s injunction refers to the only coverage exclusion at issue in the case. See,

        e.g., Ciena Corp. v. Jarrard, 203 F.3d 312, 315–16, 322 (4th Cir. 2000) (relying on the

        plain meaning of the language in an injunction in affirming its requirements).

               Second, the injunction order requires Appellants “to reinstate coverage for

        ‘medically necessary services for the treatment of gender dysphoria.’”                J.A. 3734.

        Appellants again inject vagueness into this command by stripping it of its context. In its

        decision, the district court specified that it was “reimposing the 2017 rule” that covered

        “medically necessary services for the treatment of gender dysphoria.” J.A. 3729. We find

        nothing vague about this. Appellants understood the meaning of “medically necessary

        services for the treatment of gender dysphoria” well enough in 2017 to implement it

        without incident that year. They can do it again now.

               We reject Appellants’ claims that the district court’s injunction falls below the

        standards required by the Federal Rules of Civil Procedure.

                                             C. Class Certification

               We now move on to the Anderson Appellants’ other arguments, beginning with their

        challenge to the district court’s class certification. The district court certified a class of “all

        transgender people who are or will be enrolled in West Virginia Medicaid and who are

        seeking or will seek gender-confirming care barred by the Exclusion.”                 J.A. 2552.

                                                        57
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 58 of 147




        Appellants say this class definition does not satisfy Rule 23(b)’s numerosity requirement,

        but what they are actually arguing is that the definition does not meet a threshold

        ascertainability requirement. See Opening Br. at 50–54. Specifically, Appellants claim

        that of the definition’s three criteria—1) transgender, 2) is or will be enrolled in Medicaid,

        and 3) is seeking or will seek gender-affirming care—only the Medicaid-enrollment

        criterion is objective and therefore ascertainable. Opening Br. at 51–52.

               This Circuit, and many others, have recognized an implicit requirement in 23(b)(1)

        and 23(b)(3) cases that members of a proposed class be “readily identifiable.” EQT Prod.

        Co. v. Adair, 764 F.3d 347, 358 (4th Cir. 2014); see also Marcus v. BMW of N. Am., LLC,

        687 F.3d 583, 593–94 (3d Cir. 2012); John v. Nat’l Sec. Fire & Cas. Co., 501 F.3d 443,

        445 (5th Cir. 2007); In re Initial Pub. Offerings Sec. Litig., 471 F.3d 24, 44–45 (2d Cir.

        2006). This makes sense when issues of notice and damages are at play, i.e., for 23(b)(1)

        and (23)(b)(3) classes. But courts of appeals have consistently declined to impose an

        ascertainability requirement in 23(b)(2) cases requesting that a party be enjoined from

        certain actions. See Yaffe v. Powers, 454 F.2d 1362, 1366 (1st Cir. 1972), abrogated on

        other grounds by Gardner v. Westinghouse Broad. Co., 437 U.S. 478 (1978); Shelton v.

        Bledsoe, 775 F.3d 554, 559–63 (3d Cir. 2015) (vacating order denying class certification

        in 23(b)(2) case); Cole v. City of Memphis, 839 F.3d 530, 542 (6th Cir. 2016) (affirming

        district court’s certification of 23(b)(2) class in a challenge to city’s street-sweep policy);

        Shook v. El Paso County, 386 F.3d 963, 972–73 (10th Cir. 2004) (stating that

        “identifiability” is not a concern with 23(b)(2) classes).



                                                      58
USCA4 Appeal: 22-1927       Doc: 119           Filed: 04/29/2024       Pg: 59 of 147




               These holdings are supported by the Advisory Committee Notes to Rule 23(b)(2),

        which state that “illustrative” examples of a Rule 23(b)(2) class “are various actions in the

        civil-rights field where a party is charged with discriminating unlawfully against a class,

        usually one whose members are incapable of specific enumeration.” Fed. R. Civ. P. 23

        advisory committee’s note (1966) (emphasis added). There is no threshold ascertainability

        requirement in this Rule 23(b)(2) case, which seeks only declaratory and injunctive relief from

        a discriminatory policy. The district court did not abuse its discretion in certifying the class.

                                                D. Medicaid Act

               The Anderson Appellants next challenge the district court’s finding that the

        exclusion violates the availability and comparability requirements of the Medicaid Act.

                                                        1.

               The Act’s availability provision requires states to cover both mandatory and

        optional services in sufficient “amount, duration, and scope to reasonably achieve its

        purpose.” 42 C.F.R. § 440.230(b). States can “place appropriate limits on a service based

        on such criteria as medical necessity or on utilization control procedures.” 42 C.F.R.

        § 440.230(d). 29 But they cannot “arbitrarily deny or reduce the amount, duration, or scope

        of a required service . . . to an otherwise eligible beneficiary solely because of the

        diagnosis, type of illness, or condition.” 42 C.F.R. § 440.230(c).




               29
                   Neither the statute nor regulations define medical necessity or utilization control
        procedures. As explained above, West Virginia relies on a third party, Kepro (which, in turn,
        relies on InterQual criteria), to decide which services are medically necessary. J.A. 571.
                                                       59
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 60 of 147




               The Supreme Court has said that “serious statutory questions might be presented if

        a state Medicaid plan excluded necessary medical treatment from its coverage.” See Beal

        v. Doe, 432 U.S. 438, 444 (1977). Other circuits have held that medically necessary

        procedures that fall within mandatory categories of coverage must be covered. See

        Bontrager v. Ind. Fam. Soc. Servs. Admin., 697 F.3d 604, 608 (7th Cir. 2012); Ellis ex rel.

        Ellis v. Patterson, 859 F.2d 52, 54 (8th Cir. 1988); Meusberger v. Palmer, 900 F.2d 1280,

        1282 (8th Cir. 1990); Dexter v. Kirschner, 984 F.2d 979, 983 (9th Cir. 1992); Moore ex

        rel. Moore v. Reese, 637 F.3d 1220, 1232–33 (11th Cir. 2011). 30

               At least one court has noted that medical necessity alone cannot compel coverage

        because the regulations say that the state Medicaid agency “may place appropriate limits

        on a service based on such criteria as medical necessity or on utilization control

        procedures.” 42 C.F.R. § 440.230(d) (emphasis added). Cruz v. Zucker, 195 F. Supp. 3d

        554, 570–71 (S.D.N.Y. 2016), order reversed on other grounds on motion for

        reconsideration, 218 F. Supp. 3d 246 (S.D.N.Y. 2016). Presumably, “[p]roper utilization

        control procedures, as distinct from medical necessity, may limit the provision of services.”

        Id. at 571 (citing Pharm. Rsrch. & Mfrs. of Am. v. Walsh, 538 U.S. 644 (2003) (plurality

        opinion) (upholding prior authorization procedures)). Another court has suggested that, in




               30
                   The corollary of this is that states do not have to cover treatments that are not
        medically necessary—even if those treatments fall within the “mandatory” categories of
        coverage—so long as the coverage decision is not based solely on the patient’s “diagnosis,
        type of illness, or condition.” See Moore ex rel. Moore, 637 F.3d at 1232–33.
                                                     60
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 61 of 147




        particular cases, but not as a general rule, a state could deny coverage for a service deemed

        medically necessary. See Hern v. Beye, 57 F.3d 906, 911 (10th Cir. 1995). 31

               Under any of those readings, though, West Virginia’s categorical exclusion violates

        the availability requirement. It does so in two ways. First, it is inconsistent with the

        objectives of the Act: to provide medical assistance to people too poor to afford it. See Md.

        Dep’t of Health & Mental Hygiene v. Ctrs. for Medicare & Medicaid Servs., 542 F.3d 424,

        429 (4th Cir. 2008). Though state plans have discretion to determine what to cover and the

        scope of that coverage, all state plans must “include reasonable standards . . . for determining

        eligibility for and the extent of medical assistance under the plan which . . . are consistent

        with the objectives” of the Act. 42 U.S.C. § 1396a(a)(17). “But a state law that categorically

        denies coverage for a specific, medically necessary procedure . . . is not a ‘reasonable

        standard [] . . . consistent with the objectives of [the Act].’” Hern, 57 F.3d at 911.

               Second, the exclusion violates the availability requirement by “arbitrarily den[ying] or

        reduc[ing] the amount, duration, or scope of a required service . . . to an otherwise eligible

        beneficiary solely because of the diagnosis, type of illness, or condition.”         42 C.F.R.


               31
                  As examples, the Hern Court cited Miller ex rel. Miller v. Whitburn, 10 F.3d 1315,
        1321 (7th Cir. 1993) (“stating that a participating state may deny coverage for experimental
        treatments so long as its definition of ‘experimental’ and its application of the restriction
        are reasonable”); Charleston Mem’l Hosp. v. Conrad, 693 F.2d 324, 330 (4th Cir. 1982)
        (“holding that a state’s annual limits on Medicaid coverage to twelve inpatient hospital
        days—which met the needs of 88 percent of Medicaid recipients—and eighteen outpatient
        hospital visits—which met the needs of 99 percent of Medicaid recipients—was consistent
        with Title XIX and applicable regulations”); and Curtis v. Taylor, 625 F.2d 645, 651–53
        (5th Cir. 1980) (“upholding a state’s limit on Medicaid coverage to three physicians’ visits
        per month where only 3.9 percent of the state’s Medicaid population had required more
        than three physicians’ visits in any one month in the year before the regulation was
        adopted”). 57 F.3d at 911.
                                                      61
USCA4 Appeal: 22-1927        Doc: 119           Filed: 04/29/2024       Pg: 62 of 147




        § 440.230(c). Determinations about proper medical treatment will always be based on the

        patient’s diagnosis. But they cannot be arbitrarily denied to a patient for whom the treatment is

        medically necessary based on that diagnosis alone. West Virginia’s exclusion, which bars

        coverage of all surgeries to treat gender dysphoria, regardless of medical necessity, does just that.

               The exclusion violates the availability requirement of the Medicaid Act.

                                                         2.

               Under Medicaid’s comparability requirement, states must ensure that services

        available to any categorically needy individual are “equal in amount, duration, and scope

        for all beneficiaries within the group.” 42 C.F.R. § 440.240(b)(1). The same applies to

        individuals in a covered medically needy group. 42 C.F.R. § 440.240(b)(2).

               West Virginia Appellants argue that the Medicaid policy does not offer services

        different in amount, duration, or scope to individuals within each group because surgical

        treatment for gender dysphoria is not covered for any Medicaid participant. Opening Br.

        at 45–46. This is the same argument they made in the Equal Protection context.

               In support, they cite to a Second Circuit case in which the court held that New York

        City did not violate the Medicaid Act when it covered certain in-home personal care services

        but did not cover safety monitoring for individuals who suffered from mental disabilities.

        Rodriguez v. City of New York, 197 F.3d 611, 613–14 (2d Cir. 1999). The court rejected

        plaintiff’s argument, noting that “Section 1396(a)(10)(B) does not require a state to fund a

        benefit that it currently provides to no one. Its only proper application is in situations where

        the same benefit is funded for some recipients but not others.” Id. at 616. This is no doubt

        true. But as the Second Circuit itself pointed out in 2016, that does not mean that the court

                                                         62
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 63 of 147




        defers to a state’s definition of what the relevant service is. Davis v. Shah, 821 F.3d 231,

        257 (2d Cir. 2016). It did not question that states may, “within reason, define the scope and

        purpose of the services it provides.” Id. But “allowing a state to deny medical benefits to

        some categorically needy individuals that it provides to others with the exact same medical

        needs simply by defining such services—however arbitrarily—as aimed at treating only

        some medical conditions would risk swallowing the comparability provision whole.” Id.

               The Court continued:

               If, for example, New York defined the purpose of an arm cast as supporting
               regrowth of broken bones in the right arm only, or defined the purpose of a
               prosthetic leg as enhancing mobility in disabled individuals born without
               limbs, surely it would violate the comparability requirement to deny
               equivalent services to categorically needy individuals who break their left
               arms, or who lose limbs through amputation, but who have the same
               indisputable medical needs for a cast or prosthetic. Such a scenario would
               seem an archetypal instance of denying some categorically needy individuals
               the same “scope” of medical assistance available to others under a state plan.

        Id. at 257–58.

               The same is true here.      West Virginia cannot get around the comparability

        requirement by defining the relevant services as services aimed at treating only some

        medical conditions (i.e., non-gender dysphoria conditions) any more than it can get around

        the Equal Protection Clause by doing so. See also White v. Beal, 555 F.2d 1146, 1151 (3d

        Cir. 1977) (“We find nothing in the federal statute that permits discrimination based upon

        etiology rather than need.”). The policy violates Medicaid’s comparability requirement.

                                                     3.

               Appellants argue that the district court erred by “not afford[ing] any deference to

        the fact that CMS has approved Medicaid’s State plan and thereby has made an implicit

                                                     63
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 64 of 147




        judgment that the plan complies with federal law.” Opening Br. at 38. This misstates the

        record. While CMS approved the plan, it did not approve the exclusion—the exclusion

        was not included in the plan that was submitted to CMS. See West Virginia State Medicaid

        Plan, https://perma.cc/BJ86-GNLX (last visited Dec. 18, 2023); West Virginia State

        Medicaid Plan, Attachment 3 (last updated March 2022), https://perma.cc/Y7FF-74LN

        (last visited Nov. 29, 2023). The scope-of-coverage template that CMS provides to the

        states to complete and return asks whether the state plans cover certain services for the

        categorically needy, including eyeglasses, inpatient psychiatric services, hospice care, and

        others. The template does not ask whether the states cover access to “transsexual surgery”

        or gender-affirming surgery for transgender individuals, nor did West Virginia volunteer

        this information. Id. CMS therefore made no judgment about whether West Virginia’s

        plan complies with the Medicaid Act, and there is nothing for this Court to defer to.

                                           E. Affordable Care Act

               The Affordable Care Act’s anti-discrimination mandate provides that, “[e]xcept as

        otherwise provided . . . an individual shall not, on the ground prohibited under Title VI of

        the Civil Rights Act . . . [and] Title IX . . . be excluded from participation in, be denied the

        benefits of, or be subjected to discrimination under, any health program or activity, any

        part of which is receiving Federal financial assistance.” 42 U.S.C. § 18116(a). “[F]or

        guidance” in evaluating a Title IX claim, this Circuit relies on caselaw interpreting Title

        VII. Jennings v. Univ. of N.C., 482 F.3d 686, 695 (4th Cir. 2007); see Grimm, 972 F.3d at

        616. The district court therefore applied Bostock v. Clayton County, which held that “an



                                                      64
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024        Pg: 65 of 147




        employer who intentionally treats a person worse because of sex . . . discriminates against

        that person in violation of Title VII.” 140 S. Ct. at 1740.

               Appellants argue that Bostock is the wrong standard because it was “limited to Title

        VII claims involving employers who fired employees because they were gay or

        transgender.” Opening Br. at 36. But there is nothing in Bostock to suggest the holding

        was that narrow.      Appellants also argue that “[h]istorically in terms of Title IX

        jurisprudence, the term ‘sex’ referred to the binary sex of male and female, and ‘gender

        identity’ was understood as a distinct concept.” Opening Br. at 36. But Bostock was based

        on that assumption. 140 S. Ct. at 1739 (“[B]ecause nothing in our approach to these cases

        turns on the outcome of the parties’ [historical] debate . . . we proceed on the assumption

        that ‘sex’ . . . referr[ed] only to biological distinctions between male and female.”). So

        even if the definition of sex under Title IX encompasses only binary sex, West Virginia’s

        policy still violates the ACA.


                                                     III.

               The North Carolina State Health Plan and the West Virginia Medicaid Program

        discriminate on the basis of gender identity and sex in violation of the Equal Protection

        Clause. The West Virginia Medicaid Program violates the Medicaid Act’s availability and

        comparability provisions and violates the Affordable Care Act’s anti-discrimination

        provision. The North Carolina district court did not abuse its discretion by using an amicus

        brief to provide context about transgender healthcare, striking certain portions of expert

        testimony, and enjoining the state from “enforcing the Plan’s exclusion.” Nor did the West


                                                     65
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024    Pg: 66 of 147




        Virginia district court abuse its discretion in certifying the Appellee class. The decisions

        of the district courts in both cases are therefore


                                                                                     AFFIRMED.




                                                      66
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 67 of 147




        RICHARDSON, Circuit Judge, with whom Judges WILKINSON, NIEMEYER, and
        QUATTLEBAUM join, and with whom Judges AGEE and RUSHING join except for Part
        II.A.3, dissenting:

               In Grimm v. Gloucester County School Board, we heralded the victory of “the

        burgeoning values of our bright youth” over “the prejudices of the past.” 972 F.3d 586,

        620 (4th Cir. 2020). Our en banc Court treats these cases as new fronts upon which this

        conflict must be waged. But not every battle is part of a larger war. In the majority’s haste

        to champion plaintiffs’ cause, today’s result oversteps the bounds of the law. The majority

        asserts that the challenged exclusions use medical diagnosis as a proxy for transgender

        persons, despite the complete lack of evidence for this claim. It then blatantly sidesteps

        controlling Supreme Court precedent by conjuring up an imagined conflict with another,

        unrelated line of cases. Finally, it misrepresents how the challenged exclusions actually

        work in order to malign them as sex-based and grounded in stereotypes. The result is a

        holding that speaks the language of Equal Protection yet departs wholly from its established

        principles.

               I respectfully dissent. The Equal Protection Clause does not license judges to strike

        down any policy we disagree with. It instead grants the states leeway to tailor policies to

        local circumstances, while providing a carefully calibrated remedy for truly illicit

        discrimination. No such discrimination appears in these cases. North Carolina and West

        Virginia do not target members of either sex or transgender individuals by excluding

        coverage for certain services from their policies. They instead condition coverage on

        whether a patient has a qualifying diagnosis. Anyone—regardless of their sex, gender

        identity, or combination thereof—can obtain coverage for these services if they have a

                                                     67
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 68 of 147




        qualifying diagnosis. And no one—regardless of their sex, gender identity, or combination

        thereof—can obtain coverage if they lack one. There is therefore nothing about these

        policies that discriminates on the basis of sex or transgender status.

        I.     Background

               North Carolina and West Virginia (together, the “states”) operate respective health-

        insurance and Medicaid plans that reimburse individuals for a variety of healthcare needs.

        Yet neither plan covers every attainable medical service. Today’s cases concern the choice

        of both states to exclude coverage for certain sex-change services. The North Carolina

        State Health Plan for Teachers and State Employees excludes coverage for “[t]reatment or

        studies leading to or in connection with sex changes or modifications and related care.”

        Kadel, J.A. 3836. The West Virginia State Medicaid Program similarly excludes coverage

        for “transsexual” or “[s]ex change” surgeries.       Anderson, J.A. 935, 941–43.       Both

        exclusions operate to deny coverage for certain treatments of gender dysphoria, a mental

        disorder defined as “the distress that may accompany the incongruence between one’s

        experienced or expressed gender and one’s assigned gender.” Am. Psychiatric Ass’n,

        Diagnostic and Statistical Manual of Mental Disorders 451 (5th ed. 2013). And both

        exclusions were challenged in court on various statutory and constitutional grounds.

               Plaintiffs in Kadel are members of the North Carolina plan who identify as

        transgender and have been diagnosed with gender dysphoria. Each of them sought certain

        treatments for gender dysphoria but was denied coverage because of the exclusion. This

        prompted them to sue North Carolina, alleging, among other things, an Equal Protection



                                                     68
USCA4 Appeal: 22-1927         Doc: 119        Filed: 04/29/2024     Pg: 69 of 147




        Clause violation. The district court granted plaintiffs summary judgment on the Equal

        Protection claim and permanently enjoined North Carolina from enforcing the exclusion.

               Plaintiffs in Anderson are transgender participants in West Virginia’s Medicaid

        program who also have been diagnosed with gender dysphoria. They too desire certain

        treatments for gender dysphoria but would be denied coverage for them. So they sued

        West Virginia, alleging that the program violates the Equal Protection Clause, § 1557 of

        the Affordable Care Act, and certain provisions of the Medicaid Act. The district court

        granted summary judgment to plaintiffs on all three grounds, denied summary judgment to

        West Virginia, entered a declaratory judgment, and enjoined West Virginia from enforcing

        its exclusion.

        II.    Discussion

               These appeals involve two issues.        First, plaintiffs argue that the challenged

        exclusions violate the Equal Protection Clause and, in Anderson, § 1557 of the Affordable

        Care Act. Second, plaintiffs in Anderson argue that the exclusions violate the Medicaid

        Act. I consider each issue in turn.

               A.        Discrimination Claims

                         1.    Equal Protection Doctrine

               The Equal Protection Clause of the Fourteenth Amendment commands that “no

        State shall . . . deny to any person within its jurisdiction the equal protection of the laws.”

        U.S. Const. amend. XIV, § 1. At its core, the Clause prevents states from “treating

        differently persons who are in all relevant respects alike.” Nordlinger v. Hahn, 505 U.S.

        1, 10 (1992); City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985). Yet the

                                                      69
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 70 of 147




        scope of this prohibition should not be exaggerated. Laws often deal in classifications to

        solve particular problems or to achieve targeted outcomes. “The Equal Protection Clause

        does not forbid classifications” categorically.     Nordlinger, 505 U.S. at 10.       Rather,

        classifications ordinarily are valid so long as they have a rational basis. City of Cleburne,

        473 U.S. at 440; Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 271 (1979) (“When the

        basic classification is rationally based, uneven effects upon particular groups within a class

        are ordinarily of no constitutional concern.”). “[T]he Constitution presumes that even

        improvident decisions will eventually be rectified by the democratic processes.” City of

        Cleburne, 473 U.S. at 440.

               Yet this presumption gives way when a law treats people differently because of their

        membership in a protected class.        Sex is one such protected class.       When a law

        discriminates based on sex, we fear that it is rooted in “outmoded notions of the relative

        capabilities of men and women,” id. at 441, or “traditional, often inaccurate, assumptions

        about the proper roles of men and women,” Miss. Univ. for Women v. Hogan, 458 U.S.

        718, 726 (1982). At the same time, however, we know that “[p]hysical differences between

        men and women . . . are enduring.” United States v. Virginia, 518 U.S. 515, 533 (1996).

        Recognizing biological reality is “not a stereotype.” Nguyen v. INS, 533 U.S. 53, 68 (2001).

        To split the difference, we subject sex discrimination to intermediate scrutiny, which

        requires a law to be substantially related to a sufficiently important government interest.

        Virginia, 518 U.S. at 533.

               The easiest way for a plaintiff to prove sex discrimination is to show that a law

        facially classifies based on sex. A facial classification triggering heightened scrutiny is

                                                     70
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 71 of 147




        one that explicitly “distributes burdens or benefits on the basis of” membership in a

        protected class. Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701,

        720 (2007); see also Shaw v. Reno, 509 U.S. 630, 642 (1993) (describing a suspect facial

        classification as one that “explicitly distinguish[es] between individuals on [protected]

        grounds”); Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 213 (1995) (same). In other

        words, a law facially classifies when, by its own terms, it identifies sex as a ground for

        discriminatory treatment. Consider an obvious example. Suppose a health-insurance

        policy said: “Women may not receive reimbursement for heart transplants.” This policy

        would be a facial classification based on sex:         Whether a person would be denied

        reimbursement would turn (at least in part) on whether they were a man or a woman.

               But not every law that references or relates to sex necessarily classifies on that basis.

        For instance, imagine a Medicaid policy that said: “Neither men nor women may receive

        reimbursement for heart transplants.” This policy might be unartfully worded, but it would

        not be a sex-based classification. Both sexes would be treated the same, as neither could

        receive reimbursement for heart transplants. See Vacco v. Quill, 521 U.S. 793, 800 (1997)

        (“Generally speaking, laws that apply evenhandedly to all ‘unquestionably comply’ with

        the Equal Protection Clause.” (quoting N.Y.C. Transit Auth. v. Beazer, 440 U.S. 568, 587

        (1979))). So the fact that a policy uses terms like “sex,” “men,” or “women” does not

        automatically mean that it facially classifies on these grounds. See, e.g., Atkins v. Rumsfeld,

        464 F.3d 456, 468 (4th Cir. 2006) (holding that a law providing retirement benefits to

        divorced military spouses and defining spouse as “the husband or wife . . . of a member”

        was not a facial classification). Determining whether a law facially classifies based on sex

                                                      71
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024      Pg: 72 of 147




        thus involves more than a mere word search for particular terms. Rather, we must examine

        whether the policy uses those terms to draw distinctions between the sexes.

               I break no new ground by saying this. Over and over, the Supreme Court has said

        that sex-based facial classifications explicitly identify sex as the basis for favorable or

        unfavorable treatment. See Reed v. Reed, 404 U.S. 71, 73 (1971) (providing that “males

        must be preferred to females” when appointing the administrator of a decedent’s estate);

        Frontiero v. Richardson, 411 U.S. 677, 691 (1973) (requiring female, but not male, service

        members to prove that their spouses are financially dependent in order to receive benefits);

        Stanton v. Stanton, 421 U.S. 7, 13–14 (1975) (setting a lower age of majority for women);

        Weinberger v. Weisenfeld, 420 U.S. 636, 637–38 (1975) (denying widowers certain Social

        Security benefits); Craig v. Boren, 429 U.S. 190, 192 (1976) (allowing women under the

        age of twenty-one, but not men under that age, to buy beer); Orr v. Orr, 440 U.S. 268, 271

        (1979) (requiring only men to pay alimony); Michael M. v. Superior Ct., 450 U.S. 464, 466

        (1981) (plurality opinion) (holding only men liable for statutory rape); Hogan, 458 U.S. at

        720 (denying admission to men); J.E.B. v. Alabama ex rel. T.B., 511 U.S. 127, 129 (1994)

        (excluding potential jurors based on sex); Virginia, 518 U.S. at 519–20 (denying admission

        to women); Sessions v. Morales-Santana, 582 U.S. 47, 51 (2017) (establishing different

        immigration rules for fathers versus mothers). 1 These cases demonstrate that our task is


               1
                 Admittedly, the laws in some of these cases didn’t use the words “men” or
        “women” but rather used sex-identifying language such as “father,” “mother,” “husband,”
        or “wife.” Yet these were still facial classifications. A law that discriminates between
        mothers and fathers, for example, identifies a trait—being a parent—and expressly
        distinguishes between people who have that trait based on whether they are male or female.
        (Continued)
                                                    72
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 73 of 147




        not simply to note the words used in a law, but to determine what function those words

        serve in that law’s operation. 2

               One way for a plaintiff to prove an Equal Protection violation is to show that a law

        facially classifies based on sex. But there are other ways. Even a facially neutral

        classification may warrant heightened scrutiny if it uses a proxy to camouflage intentional

        discrimination based on a protected trait. Of course, to trigger the Equal Protection Clause

        in the first place, the challenged law must first make some classification of persons. See

        Palmer v. Thompson, 403 U.S. 217, 219–20 (1971) (finding that a city policy closing public

        pools, even if motivated by a desire to avoid integration, did not deny anyone “the equal

        protection of the laws” where the city closed the pools “to all its citizens”). But once a

        classification has been made, the law offends Equal Protection principles if “a gender-

        based discriminatory purpose has, at least in some measure, shaped the [challenged]

        legislation.” Feeney, 442 U.S. at 276, 279 (explaining that a legislature acts with a

        discriminatory purpose when it “select[s] or reaffirm[s] a particular course of action at least




        It therefore facially classifies based on sex, even though it also classifies based on a second
        characteristic (parenthood).        Morales-Santana, 582 U.S. at 58 (explaining that
        discriminating between mothers and fathers is just another way of discriminating “on the
        basis of the sex of the qualifying parent” (quoting Califano v. Westcott, 443 U.S. 76, 84
        (1979))).
               2
                 To be clear, once a facial classification based on a protected trait has been shown,
        the government cannot evade heightened scrutiny by claiming that the law applies equally
        to everyone. For instance, even though the anti-miscegenation law in Loving v. Virginia
        technically applied to all citizens, it still facially classified based on race by prohibiting
        marriages for persons of one race that it permitted for persons of the other race. 388 U.S.
        1, 8–9 (1967); see also McLaughlin v. Florida, 379 U.S. 184, 184–86, 191–92 (1964)
        (striking down a law that prohibited cohabitation between interracial couples).
                                                      73
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 74 of 147




        in part ‘because of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable

        group”). In making this determination, an analysis of the law’s disparate “impact provides

        an ‘important starting point,’ but purposeful discrimination is ‘the condition that offends

        the Constitution.’” Id. at 274 (first quoting Vill. of Arlington Heights v. Metro. Hous. Dev.

        Corp., 429 U.S. 252, 266 (1977); and then quoting Swann v. Charlotte-Mecklenburg Bd.

        of Educ., 402 U.S. 1, 16 (1971)).

               Discriminatory purpose or intent is usually proved through a fact-intensive inquiry,

        requiring investigation into things like the law’s impact, its historical background, and its

        legislative history. See Arlington Heights, 429 U.S. at 264–68. Thus, in Rice v. Cayetano,

        the Supreme Court struck down a provision of the Hawaii Constitution that limited the

        right to vote for certain public officials to persons descended from the aboriginal peoples

        inhabiting the Hawaiian Islands in 1778. 528 U.S. 495, 499 (2000). Hawaii argued that

        the provision was race-neutral because it turned on a person’s ancestry, not their race. Id.

        at 514. But the Court disagreed and found that the state was really using ancestry as a

        proxy for race. Id. The inhabitants of Hawaii in 1778, the Court explained, shared common

        physical and cultural characteristics. Id. at 514–15. And an examination of the legislative

        history, including prior versions of the provision and statements from its enactors, revealed

        that the provision was intended to “preserve that commonality of people to the present

        day.” Id. at 515–16 (“The very object of the statutory definition in question . . . is to treat

        the early Hawaiians as a distinct people, commanding their own recognition and respect.”).




                                                      74
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 75 of 147




        The Court therefore held that the provision discriminated on the basis of race because of

        “its express racial purpose and by its actual effects.” Id. at 517. 3

               Yet a full-blown evidentiary inquiry is not always necessary to prove discriminatory

        intent. Sometimes a law uses a classification that is so obviously a proxy for a suspect

        class that “an intent to disfavor that class can be readily presumed.” Bray v. Alexandria

        Women’s Health Clinic, 506 U.S. 263, 270 (1993). 4 But that presumption doesn’t come


               3
                  The majority cites Rice for the proposition that proxy discrimination can be
        established by only looking at the text of the challenged law “coupled with basic facts,”
        and thus that “evidence of invidious discrimination” isn’t necessary. Majority Op. at 38–
        39. But Rice explicitly looked at both the statute’s effects and its discriminatory purpose
        to hold that it discriminated based on race. 528 U.S. at 517 (“[T]he State’s argument is
        undermined by its express racial purpose and its actual effects.”). And it identified that
        purpose not by simply looking at the statute’s text and “basic facts” but also by examining
        one type of evidence that Arlington Heights specifically recognized: legislative history.
        Rice, 528 U.S. at 515–17; Arlington Heights, 429 U.S. at 268. It was only with that
        legislative history that the Court was able to determine that “Hawaiian” was used as a proxy
        for race. Rice, 528 U.S. at 515–17. So Rice confirms that an evidentiary inquiry into a
        law’s purpose is typically required.
               4
                 The majority thinks that the proxy inquiry is a subset of the facial classification
        inquiry. Majority Op. at 37–39. We disagree. That we must ask whether a law uses a
        classification that is merely a substitute for a protected trait means that the law does not
        explicitly—i.e., facially—classify based on that protected trait. Cf. Hunt v. Cromartie, 526
        U.S. 541, 546 (1999) (“When . . . classifications are explicit, no inquiry into legislative
        purpose is necessary.”). Indeed, the Supreme Court has expressly rejected this argument,
        noting that courts only inquire into “covert” classifications—i.e., ostensibly neutral
        classifications that “could not be plausibly explained on a neutral ground”—after
        concluding that a statute is “gender-neutral on its face.” Feeney, 442 U.S. at 274–75.
        Instead, the proxy inquiry is better understood as a species of intentional discrimination:
        Is the government targeting something because of its close connection to another thing?
        See Rice, 528 U.S. at 517. And (as we will explain) we can conclusively presume such
        intent, without conducting a full-blown evidentiary inquiry, in the rare set of cases where
        the classification is so irrational that nothing could explain it but an intent to discriminate.
        See Bray, 506 U.S. at 270 (explaining that when a statute blatantly uses a proxy for a
        protected class, “an intent to disfavor that class can readily be presumed”); Arlington
        Heights, 429 U.S. at 266.
                                                      75
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 76 of 147




        easy. We can only presume discriminatory intent when the law’s explicit target is “an

        irrational object of disfavor” and the law “happen[s] to [affect] exclusively or

        predominantly . . . a particular class of people.” Id.; see also Arlington Heights, 429 U.S.

        at 266 (“Sometimes a clear pattern, unexplainable on grounds other than race, emerges

        . . . even when the governing legislation appears neutral on its face. The evidentiary

        inquiry is then relatively easy. But such cases are rare.” (emphasis added) (internal

        citations omitted)). In other words, we must find that the law overwhelmingly affects a

        suspect class and that there’s no logical reason for the distinction the law makes other than

        targeting that suspect class. See Feeney, 442 U.S. at 275 (“If the impact of [the] statute

        could not be plausibly explained on a neutral ground, impact itself would signal that the

        real classification made by the law was in fact not neutral.”).

               Consider the cases in which the Supreme Court has deployed this presumption. In

        Yick Wo v. Hopkins, the Court found that a city’s facially neutral permitting requirement,

        which was applied almost exclusively to the detriment of Chinese workers, violated the

        Equal Protection Clause. 118 U.S. 356, 374 (1886). “No reason for [the unequal treatment]

        is shown,” the Court found, “and the conclusion cannot be resisted that no reason for it

        exists except hostility to the race and nationality to which the petitioners belong, and which,

        in the eye of the law, is not justified.” Id. 5 Similarly, in Guinn v. United States, the Court



               5
                 Yick Wo technically involved the discriminatory enforcement of a facially neutral
        law, not the reasons behind that law’s enactment. Yick Wo, 118 U.S. at 373–74. But the
        principles are the same: Whether in enacting or enforcing a law that draws classifications
        between people, official action taken for a discriminatory purpose triggers Equal Protection
        scrutiny. Arlington Heights, 429 U.S. at 266.
                                                      76
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024       Pg: 77 of 147




        invalidated an Oklahoma law that required voters to take a literacy test unless their

        ancestors were eligible to vote in or before 1866 (conveniently, right before the enactment

        of the Fifteenth Amendment). 238 U.S. 347, 364–65 (1915). 6 The Court found that this

        law discriminated on the basis of race, despite its facial neutrality, because the Court could

        not identify “any basis of reason for the standard thus fixed other than” to contravene the

        Fifteenth Amendment. Id. at 365. And in Gomillion v. Lightfoot, the Court refused to

        dismiss a Fifteenth Amendment suit challenging a twenty-eight-sided electoral district that

        allegedly excluded all black voters, since the government could not identify “any

        countervailing municipal function” for the bizarre shape. 364 U.S. 339, 342 (1960). If

        these allegations were true, the Court reasoned, then “the conclusion would be irresistible,

        tantamount for all practical purposes to a mathematical demonstration,” that the district

        was designed to discriminate against black voters. Id. at 341; see also Shaw, 509 U.S. at

        649 (“[A] plaintiff challenging a reapportionment statute under the Equal Protection Clause

        may state a claim by alleging that the legislation, though race-neutral on its face, rationally

        cannot be understood as anything other than an effort to separate voters into different

        districts on the basis of race, and that the separation lacks sufficient justification.”).

               These cases reveal that what is critical to obtaining a presumption of discriminatory

        intent is showing both discriminatory effects and that no rational, nondiscriminatory

        explanation exists for the law’s classification. Indeed, the Supreme Court has been clear



               6
                We, like the Supreme Court, use Fifteenth Amendment cases to inform our
        Fourteenth Amendment cases, see, e.g., Arlington Heights, 429 U.S. at 266, as they
        expound general principles of antidiscrimination law.
                                                       77
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024      Pg: 78 of 147




        that the mere fact that a law primarily—or even exclusively—affects a protected class

        cannot alone establish an Equal Protection claim. Washington v. Davis, 426 U.S. 229, 242

        (1976) (“Disproportionate impact is not irrelevant, but it is not the sole touchstone of an

        invidious racial discrimination forbidden by the Constitution.”). So if we can identify

        rational, nondiscriminatory reasons for why the law targets who or what it does, then we

        cannot presume an intent to discriminate. 7

               This is illustrated by failed attempts to establish the presumption. In Myers v.

        Anderson (decided on the same day as Guinn), the Supreme Court held that a Maryland

        provision conferring the right to vote on all taxpayers assessed for at least $500 did not

        itself violate the Fifteenth Amendment. 238 U.S. 368, 379 (1915). 8 “[A]s there is a reason

        other than discrimination on account of race or color discernible upon which the standard

        may rest,” the Court explained, “there is no room for the conclusion that it must be

        assumed, because of the impossibility of finding any other reason for its enactment, to rest

        alone upon a purpose to violate the 15th Amendment.” Id. Likewise, in Personnel

        Administrator of Massachusetts v. Feeney, the Court refused to hold that a hiring

        preference for veterans was mere pretext for sex discrimination, even though it

        overwhelmingly favored men. 442 U.S. at 274–75. The Court found that the preference

        could not “plausibly be explained only as a gender-based classification,” since it was


               7
                Of course, such an intent still can be proven though the fuller evidentiary inquiry
        of Arlington Heights.
               8
                 The Court nonetheless invalidated the provision because, although it was itself
        constitutional, it was inseverable from a different, unconstitutional provision. Myers, 238
        U.S. at 380–83.
                                                      78
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024      Pg: 79 of 147




        gender-neutral by definition, it placed a significant number of non-veteran males at a

        disadvantage, and it served “legitimate and worthy purposes.” Id. Finally, in Bray v.

        Alexandria Women’s Health Clinic, the Court rejected the argument that opposition to

        abortion is necessarily sex discrimination. 506 U.S at 270. “[O]pposition to voluntary

        abortion cannot possibly be considered such an irrational surrogate for opposition to (or

        paternalism towards) women,” the Court concluded, because “[w]hatever one thinks of

        abortion, it cannot be denied that there are common and respectable reasons for opposing

        it, other than hatred of, or condescension towards (or indeed any view at all concerning),

        women as a class.” Id. 9

               This brings us to Geduldig v. Aiello, 417 U.S. 484 (1974). Geduldig involved an

        Equal Protection challenge to California’s disability-insurance system, which excluded

        coverage for “any injury or illness caused by or arising in connection with pregnancy.” Id.

        at 489. The dissenting Justices argued that the exclusion discriminated on the basis of sex

        by “singling out for less favorable treatment a gender-linked disability peculiar to women.”

        Id. at 501 (Brennan, J., dissenting). But the Court disagreed. California had not, the Court

        found, denied insurance eligibility to any group of persons; it had simply chosen to

        underinsure a particular risk (i.e., pregnancy). Id. at 494 (majority opinion). Its reasons

        for doing so—maintaining a self-supporting, cost-effective, and affordable insurance

        program—were legitimate, given the substantial cost of insuring pregnancy, and provided


               9
                At the same time, the Court gave an example of a law that would support the
        presumption: “A tax on wearing yarmulkes is a tax on Jews.” Bray, 506 U.S. at 270. This
        is because yarmulkes are “such an irrational object of disfavor” that only an intent to
        discriminate against Jews could explain such a tax. See id.
                                                    79
USCA4 Appeal: 22-1927         Doc: 119      Filed: 04/29/2024      Pg: 80 of 147




        “an objective and wholly noninvidious basis” for the exclusion. Id. at 496. And what risk

        coverage California did afford, it afforded equally to both men and women. Id. at 496–97.

        As the Court explained:

               The California insurance program does not exclude anyone from benefit
               eligibility because of gender but merely removes one physical condition—
               pregnancy—from the list of compensable disabilities. While it is true that
               only women can become pregnant it does not follow that every legislative
               classification concerning pregnancy is a sex-based classification . . . .
               Normal pregnancy is an objectively identifiable physical condition with
               unique characteristics. Absent a showing that distinctions involving
               pregnancy are mere pretexts designed to effect an invidious discrimination
               against the members of one sex or the other, lawmakers are constitutionally
               free to include or exclude pregnancy from the coverage of legislation such as
               this on any reasonable basis, just as with respect to any other physical
               condition.

               The lack of identity between the excluded disability and gender as such under
               this insurance program becomes clear upon the most cursory analysis. The
               program divides potential recipients into two groups—pregnant women and
               nonpregnant persons. While the first group is exclusively female, the second
               includes members of both sexes. The fiscal and actuarial benefits of the
               program thus accrue to members of both sexes.

        Id. at 496 n.20. The Court therefore held that the plan did not violate the Equal Protection

        Clause. Id. at 497.

               Geduldig was no outlier. For one, the Court has repeatedly reaffirmed its holding.

        See Bray, 506 U.S. at 271; Gen. Elec. Co. v. Gilbert, 429 U.S. 125, 136 (1976); 10 Nashville

        Gas Co. v. Satty, 434 U.S. 136, 142 (1977); Dobbs v. Jackson Women’s Health Org., 597

        U.S. 215, 236 (2023). Moreover, Geduldig’s principles accord with the broader Equal



               10
                 Gilbert was superseded by statute. See Pregnancy Discrimination Act of 1978,
        Pub. L. No. 95-555, 92 Stat. 2076; see also Newport News Shipbuilding & Dry Dock Co.
        v. EEOC, 462 U.S. 669, 685 (1983).
                                                    80
USCA4 Appeal: 22-1927        Doc: 119        Filed: 04/29/2024      Pg: 81 of 147




        Protection doctrine. That a state plan doesn’t cover a medical condition that only members

        of one sex experience does not itself mean that it facially classifies based on sex. Geduldig,

        417 U.S. at 496 n.20. Nor is this fact alone sufficient to establish a presumption of

        discriminatory intent, given a state’s legitimate interests in maintaining a self-supporting,

        cost-effective, and affordable healthcare program. Id. Some additional evidence of

        discriminatory intent beyond underinclusive risk coverage is required to trigger heightened

        scrutiny. See also Dobbs, 597 U.S. at 236 (“The regulation of a medical procedure that

        only one sex can undergo does not trigger heightened constitutional scrutiny unless the

        regulation is a ‘mere pretext designed to effect an invidious discrimination against

        members of one sex or the other.’” (alteration omitted) (quoting Geduldig, 417 U.S. at 496

        n.20)).

                        2.     The challenged exclusions do not violate the Equal Protection
                               Clause.

                  I now turn to the cases before us. To prevail on their Equal Protection claims,

        plaintiffs must show that the challenged exclusions discriminate against them because of

        their sex or transgender status. 11 But they fail to make this showing. The challenged

        exclusions do not facially classify based on either. Instead, they turn on medical diagnosis

        and apply evenhandedly to everyone.          And their use of medical diagnosis as the



                   I need not decide in this section whether discrimination based on transgender
                  11

        status merits intermediate scrutiny, either because transgender individuals make up a quasi-
        suspect class, see Majority Op. at 26–27, or because discrimination based on transgender
        status is necessarily sex discrimination, see infra Section II.A.3. For even if discrimination
        against transgender persons does trigger intermediate scrutiny, neither plan discriminates
        on this basis.

                                                     81
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 82 of 147




        discriminating factor is not so irrational that we can presume that they discriminate by

        proxy. Put simply, whether an individual receives coverage for medical services does not

        turn on their sex or transgender status. As a result, neither exclusion violates the Equal

        Protection Clause. 12

               I begin with the facial-classification inquiry. At first blush, one might think that the

        exclusions at issue here are sex- or transgender-based classifications. After all, they

        collectively deny coverage for certain “sex change” or “transsexual” treatments. 13 And in

        the past, transgender people were sometimes called “transsexuals.” See, e.g., Transsexual,

        Merriam-Webster’s Collegiate Dictionary (10th ed. 1993) (“[A] person with a

        psychological urge to belong to the opposite sex that may be carried to the point of

        undergoing surgery to modify the sex organs to mimic the opposite sex.”). So surely, as

        plaintiffs argue, policies that use the words “sex change” and “transsexual” facially

        discriminate based on sex or transgender status, right?




               12
                   Plaintiffs in Anderson offer no evidence of discriminatory intent, since, as the
        district court explained, “there is no known reason as to why this Exclusion was ever
        adopted in the first place.” See Anderson, J.A. 2569 n.1. And because the district court in
        Kadel determined that North Carolina facially classifies based on sex, it did not address
        plaintiffs’ evidence of discriminatory intent. So neither appeal presents us with evidence
        of intent-based discrimination.
               13
                 To be clear, the challenged exclusions are not perfectly identical: North Carolina
        excludes all sex change “treatments or studies,” while West Virginia only excludes sex
        change “surgeries.” Kadel, J.A. 3836; Anderson, J.A. 935, 941–43. But this difference
        does not matter for our purposes. Regardless of the extent of the exclusions, both states
        exclude from coverage certain treatments for gender dysphoria. Accordingly, I will elide
        this nuance for the remainder of my analysis.
                                                      82
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 83 of 147




               Not so. The exclusions do not use “sex change” or “transsexual” as nouns to identify

        certain persons who cannot receive coverage. The exclusions use the terms as adjectives.

        And these adjectives are not used to describe “people,” but “treatment” or “surgery.” On

        their face, therefore, the exclusions do not deny someone coverage for medical services

        based on the person’s sex or transgender status. Rather, they deny everyone coverage for

        certain services based on the medical diagnosis for which the person is seeking those

        services.

               An example shows the difference. Suppose an individual sought a hysterectomy

        because they had uterine cancer. Both programs would cover the surgery. And they would

        do so whether the person was male or female, transgender or not. Indeed, Christopher

        Fain—one of the plaintiffs below—received coverage for a hysterectomy based on a

        diagnosis unrelated to Fain’s transgender status. 14 But if that same person did not have

        uterine cancer and instead sought the hysterectomy on the basis of a non-covered diagnosis,

        like gender dysphoria, then they would not get coverage.

               Thus, a person is not covered for certain medical services if they are seeking that

        service as treatment for gender dysphoria. But if they are seeking the same service for a

        different, qualifying diagnosis, then North Carolina and West Virginia would cover it—

        regardless of that person’s sex or transgender status. In other words, there is a list of

        acceptable diagnoses that would entitle a person to coverage for each service. Every



               14
                 For privacy reasons, Fain has not disclosed the reason for the hysterectomy. But,
        in a deposition, Fain testified that Medicaid paid for it, and that it was “not related to . . .
        being transgender.” Anderson, J.A. 1327.
                                                      83
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024       Pg: 84 of 147




        person—regardless of their sex, gender identity, or combination thereof—will be covered

        if they seek that service for one of those diagnoses. And no person—regardless of their

        sex, gender identity, or combination thereof—will be covered if they seek that service for

        a diagnosis that’s not on the list, such as gender dysphoria. Neither policy, therefore,

        facially classifies based on sex or transgender status.

               Plaintiffs insist otherwise.    They argue that gender dysphoria is a diagnosis

        exclusively tied to transgender identity. Accordingly, by excluding gender dysphoria, the

        plans really classify based on transgender identity itself.

               But this argument is foreclosed by Geduldig. As in Geduldig, the challenged

        exclusions do not deny coverage to anyone because of their sex or transgender status. See

        417 U.S. at 494–95. Instead, they merely decline coverage for a particular risk: gender

        dysphoria. See id. And Geduldig held that a health plan that declines to cover a risk that

        only members of a protected class face does not facially classify people based on their

        membership in that class. Id. at 496 n.20; see also Dobbs, 597 U.S. at 236. So the fact that

        only transgender individuals experience gender dysphoria does not mean the exclusions

        discriminate based on transgender status, any more than the fact that “only women can

        become pregnant” made the exclusion in Geduldig facially discriminatory. 417 U.S. at 496

        n.20. Rather, the dispositive question is whether the plans provide equal risk coverage for

        all persons. Id. at 496–97. And that is the case here—there is “no risk from which [non-

        transgender persons] are protected and [transgender persons] are not. Likewise, there is no

        risk from which [transgender persons] are protected and [non-transgender persons] are

        not.” Id.

                                                      84
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 85 of 147




               Still, plaintiffs contend that these plans really do provide unequal risk coverage,

        because the plans allegedly deny coverage to transgender individuals for treatments that

        they provide to others. For example, in North Carolina, men can obtain testosterone if

        “their bodies do not produce enough,” but transgender men cannot obtain it to treat gender

        dysphoria. Kadel, Response Br. at 34. In West Virginia, meanwhile, women can receive

        coverage for a vaginoplasty to treat the congenital absence of a vagina, but transgender

        women cannot receive a vaginoplasty to treat gender dysphoria. West Virginia similarly

        covers chest surgery for men who experience gynecomastia, but not for transgender men

        who experience gender dysphoria. See Gynecomastia, Dorland’s Illustrated Medical

        Dictionary (28th ed. 1993) (defining gynecomastia as “excessive growth of the male

        mammary glands”). And both states cover surgery to reconstruct a feminine chest contour

        following cancer treatment, but not if needed to treat gender dysphoria.

               Yet these examples actually demonstrate that the plans do not provide unequal risk

        coverage based on sex or transgender status. They instead show that, for every medical

        service, the states have established a list of diagnoses that qualify someone for that service.

        Which diagnoses qualify is determined by the kinds of risks the state is willing to cover.

        Here, the states have chosen to cover alterations of a person’s breasts or genitalia only if

        the person experiences physical injury, disease, or (in West Virginia) congenital absence

        of genitalia. 15 Anyone who has a diagnosis of this kind can receive coverage for such


               15
                  Each example plaintiffs identify to support their claims involves treatment for
        physical injury, disease, or congenital absence of genitalia. First, North Carolina covers
        testosterone treatment for diagnoses like “primary hypogonadism” (testicular failure) and
        (Continued)
                                                      85
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 86 of 147




        medical services, regardless of their sex or transgender status. That the plans do not also

        cover additional risks, like conditions that only manifest psychological or emotional

        symptoms (including gender dysphoria), does not change the fact that what coverage they

        do provide is provided equally to all. See Geduldig, 417 U.S. at 496–97.

               Next, plaintiffs contend that the policies unlawfully discriminate because they are

        based on sex stereotypes. As the Kadel district court explained, the plans supposedly

        “limit[] members to coverage for treatments that align their physiology with their

        biological sex and prohibit[] coverage for treatments that ‘change or modify’ physiology

        to conflict with their assigned sex.” Kadel, J.A. 3704. The challenged exclusions therefore

        punish transgender persons for gender nonconformity, according to plaintiffs.

               Before addressing this argument, it’s important to explain what a stereotype is. A

        sex stereotype is a generalization about the relative capabilities of, or socially acceptable

        behavior for, members of each sex. See Glenn v. Bumbry, 663 F.3d 1312, 1316 (11th Cir.

        2011) (defining a stereotype as “failing to act and appear according to expectations defined


        “hypogonadotropic hypogonadism” (failure of the testes to create testosterone), but not for
        diminished or lower-than-desired testosterone levels generally. Second, West Virginia
        covers vaginoplasty for the congenital absence of a vagina. Third, West Virginia provides
        chest surgery to men with excessive chest tissue (i.e., gynecomastia), but only “if the
        patient has actual physical pain.” Anderson, J.A. 2527. By contrast, “psychological
        symptoms”—without physical ones—“are not sufficient to meet the coverage criteria for
        surgical treatment of gynecomastia.” Anderson, J.A. 1819. And fourth, both plans cover
        chest reconstruction surgery as part of the treatment for those who have undergone cancer
        treatment, but not for unrelated cosmetic purposes. Thus, far from showing that the states
        provide unequal risk coverage, plaintiffs’ examples show a consistent trend: The states
        provide equal coverage to everyone for certain treatments to redress physical injury,
        disease, or congenital absence of genitalia, but they do not cover such treatments for
        anyone experiencing a condition with only psychological or emotional symptoms, like
        gender dysphoria.
                                                     86
USCA4 Appeal: 22-1927       Doc: 119           Filed: 04/29/2024      Pg: 87 of 147




        by gender”); Hogan, 458 U.S. at 724–25 (explaining that the Equal Protection Clause

        “must be applied free of fixed notions concerning the roles and abilities of males and

        females”); accord Price Waterhouse v. Hopkins, 490 U.S. 228, 250–51 (1989) (plurality

        opinion). Examples abound: Women are unfit for military service. Virginia, 518 U.S. at

        549–50. Men should not become nurses. Hogan, 458 U.S. at 729. Women are not

        “macho.” Price Waterhouse, 490 U.S. at 235. And so on. Whatever their form, the

        Supreme Court has made clear that the government may not discriminate between men and

        women based on stereotypes. See Virginia, 518 U.S. at 541; Hogan, 458 U.S. at 724–25.

               But that’s not what’s happening here. The plans do not condition coverage based

        on whether a treatment aligns with or departs from a patient’s sex. Nor do they bar certain

        persons from treatment if they don’t identify with their sex. Instead, the plans grant or

        withhold coverage based on a patient’s diagnosis, i.e., a certain physical condition with

        unique causes, risks, and susceptibility to treatment. See Geduldig, 417 U.S. at 496 n.20

        (“Normal pregnancy is an objectively identifiable physical condition with unique

        characteristics.”). The different coverage accorded to treatments for different diagnoses is

        therefore based on medical judgment of biological reality, which is “not a stereotype.”

        Nguyen, 533 U.S. at 68; see also Virginia, 518 U.S. at 533 (“Physical differences between

        men and women . . . are enduring . . . .”). So plaintiffs fail on this basis, too. 16




               16
                  Of course, it is possible that the selection of certain risks for coverage was
        pretextual and was really based on gender stereotypes or some other discriminatory
        purpose. But we need some evidence for this claim beyond the mere selection of risks
        itself. No such evidence is before us in these appeals.
                                                       87
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024     Pg: 88 of 147




               Finally, plaintiffs argue that the plans use gender dysphoria as a proxy for

        transgender persons. Rather than point to evidence of discriminatory intent, they argue

        that we can presume such intent because gender dysphoria “happen[s] to [occur] in

        exclusively” transgender persons. See Bray, 506 U.S. at 270. In other words, they assert

        that gender dysphoria is so closely tied to transgender identity that the choice to exclude

        the former can only be explained as intending to exclude the latter.

               Yet plaintiffs conveniently fail to mention the other half of the inquiry. That a law

        targets something closely or exclusively associated with a protected class cannot alone

        support a presumption of discriminatory intent. See Feeney, 442 U.S. at 274–75; Geduldig,

        417 U.S. at 496 n.20; Bray, 506 U.S. at 270; Dobbs, 597 U.S. at 236. The classification a

        law uses must also be inexplicable on grounds other than an intent to discriminate against

        a suspect class. See Yick Wo, 118 U.S. at 374; Guinn, 238 U.S. at 364–65; Gomillion, 364

        U.S. at 342. So to establish a presumption that the exclusions discriminate by proxy,

        plaintiffs must show that the choice to exclude gender dysphoria from coverage is so

        irrational that nothing could explain it other than an intent to discriminate against

        transgender persons. Bray, 506 U.S. at 270; Arlington Heights, 429 U.S. at 266.

               No matter one’s view of the challenged exclusions, one cannot deny that the states

        have put forth legitimate, nondiscriminatory reasons for denying coverage for certain

        gender-dysphoria treatments.     The main reason is cost.      The states have finite and

        diminishing resources to spend on healthcare. If they must spend money to cover medical

        services for gender dysphoria, then they either must cut spending (e.g., take away coverage



                                                    88
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 89 of 147




        for other diagnoses) or raise taxes. 17 Here, states can reasonably decide that certain gender-

        dysphoria services are not cost-justified, in part because they question the services’ medical

        efficacy and necessity. And the evidence on record shows that there is an ongoing debate

        over this issue. See Anderson, J.A. 1860–1935 (Expert Disclosure Report of Dr. Stephen

        B. Levine, M.D.); Kadel J.A. 3327–3441 (Expert Witness Declaration of Paul W. Hruz,

        M.D., Ph.D.). 18 Accordingly, given these legitimate, nondiscriminatory explanations for

        the exclusions, it cannot be said that the plans obviously use gender dysphoria to

        discriminate by proxy against transgender persons.

               I therefore conclude that the challenged exclusions do not discriminate because of

        sex or transgender status. Plaintiffs advance a host of arguments for reaching the opposite

        result. Yet none of their arguments are persuasive. At bottom, the exclusions turn on the

        basis of medical diagnosis, not on sex or transgender status. The Constitution doesn’t

        subject such coverage decisions to heightened scrutiny. Hence, Kadel should be remanded

        to the district court. The § 1557 challenge in Anderson fails. 19 And as to the Equal


               17
                    The majority brushes aside West Virginia’s cost-based arguments because the
        state failed to provide specific evidence of the cost of surgical treatment for gender
        dysphoria. Majority Op. at 51. But it didn’t need to provide such evidence. And even if
        it did, it is undisputed that West Virginia Medicaid anticipates budget deficits within two
        years, that it cannot add services without sacrificing coverage for existing services, and
        that it will likely have to cut even existing services soon. It therefore stands to reason that
        adding surgical treatment for gender dysphoria will be unworkable without compromising
        current coverage for other conditions.
                18
                    As Judge Quattlebaum’s separate dissent explains, the district court erroneously
        excluded one of North Carolina’s key witnesses on this point.
               19
                 Section 1557 of the Affordable Care Act provides that “an individual shall not,
        on the ground prohibited under . . . title IX of the Education Amendments of 1972 . . . be
        (Continued)
                                                      89
USCA4 Appeal: 22-1927        Doc: 119         Filed: 04/29/2024     Pg: 90 of 147




        Protection challenge in Anderson, the exclusion need only survive rational-basis review.

        It clearly does so. 20

                       3.        Bostock v. Clayton County

               Before responding to the majority, I pause to consider a question that is lurking in

        the background: Does the Supreme Court’s decision in Bostock v. Clayton County have

        any implications for Equal Protection doctrine? 140 S. Ct. 1731 (2020). I conclude that it

        does, though not in the way that plaintiffs expect.

               Bostock involved a suit brought under Title VII of the Civil Rights Act of 1964,

        which provides that no employer shall “discriminate . . . because of . . . sex.” 42 U.S.C.

        § 2000e-2(a)(1). The plaintiffs alleged that their former employers violated Title VII by

        firing them because of their respective homosexual and transgender statuses. Bostock, 140

        S. Ct. at 1737–38. The Supreme Court agreed, holding that an employer who intentionally



        subjected to discrimination under[] any health program or activity, any part of which is
        receiving Federal financial assistance.” 42 U.S.C. § 18116. Medicaid is obviously a
        federally funded health program. And the “ground” on which Title IX prohibits
        discrimination is “sex.” 20 U.S.C. § 1681 (“No person in the United States shall, on the
        basis of sex, be excluded from participation in, be denied the benefits of, or be subjected
        to discrimination under any education program or activity receiving Federal financial
        assistance . . . .”). But plaintiffs have not suffered discrimination because of their sex. So
        West Virginia does not violate § 1557.
               20
                  Under rational-basis review, we presume that a challenged law is valid unless the
        challenger shows that the law is not “rationally related to a legitimate state interest.” City
        of Cleburne, 473 U.S. at 440. That means that the challenger must “negative every
        conceivable basis which might support” the law. Lehnhausen v. Lake Shore Auto Parts
        Co., 410 U.S. 356, 364 (1973) (emphasis added) (quoting Madden v. Kentucky, 309 U.S.
        83, 88 (1940)). Plaintiffs have failed to make this showing. As already explained, the
        states put forth at least two legitimate reasons for their policy: cost and concerns over
        medical efficacy and necessity. These reasons are certainly sufficient to establish a rational
        basis for this policy.
                                                      90
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024        Pg: 91 of 147




        discriminates because of homosexual or transgender status necessarily discriminates

        because of sex, since that employer chooses to tolerate a characteristic in members of one

        sex that it penalizes in members of the other. Id. at 1741.

               Bostock’s holding was based on the plain meaning of Title VII’s text. Id. at 1739.

        And the Court declined to explain how its reasoning would affect other antidiscrimination

        laws. Id. at 1753–54. Hence, several of our colleagues on other Circuits argue that Bostock

        does not apply outside of Title VII. See Williams ex rel. L.W. v. Skrmetti, 83 F.4th 460,

        484–86 (6th Cir. 2023); Eknes-Tucker v. Governor of Ala., 80 F.4th 1205, 1228–29 (11th

        Cir. 2023); Brandt ex rel. Brandt v. Rutledge, No. 21-2875, 2022 WL 16957734, at *1 n.1

        (8th Cir. Nov. 16, 2022) (Stras, J., dissenting from denial of rehearing en banc).

               With respect for their thoughtful opinions, I believe they are wrong. I recognize

        that Bostock left many questions unanswered. Yet Bostock’s principles reverberate in other

        areas of the law. One such area is Equal Protection.

               Though a Title VII case, Bostock addressed generally applicable principles of but-

        for causation. The Court concluded that the ordinary, legal meaning of the words “because

        of” incorporates principles of but-for causation. Bostock, 140 S. Ct. at 1739. This result

        was unsurprising—in several prior cases, the Court had found this to be true of similar

        phrases in other statutes, like “by reason of” and “based on.” See Univ. of Tex. Sw. Med.

        Ctr. v. Nassar, 570 U.S. 338, 352 (2013) (“because of”); Gross v. FBL Fin. Servs., Inc.,

        557 U.S. 167, 176 (2009) (“because of”); Bridge v. Phx. Bond & Indem. Co., 553 U.S. 639,

        652–55 (2008) (“by reason of”); Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 63 (2007)

        (“based on”). The Court in Bostock then clarified that the causation standard incorporated

                                                     91
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 92 of 147




        by these statutes is not an idiosyncratic one but rather the “simple” and “traditional”

        approach to causation in fact used throughout the law. 140 S. Ct. at 1739 (quoting Nassar,

        570 U.S. at 346, 360). Finally, the Court explained how to conduct a general but-for

        causation test: “[C]hange one thing at a time and see if the outcome changes. If it does,

        we have found a but-for cause.” Id. Bostock, then, did more than simply define the

        meaning of words in Title VII. It recognized that Title VII incorporates a widely used

        standard of but-for causation and articulated one way to establish it.

               These principles formed the backbone of Bostock’s holding that discrimination

        based on homosexual or transgender status is necessarily sex discrimination. When two

        employees of opposite sexes are both attracted to men, for instance, they are “materially

        identical in all respects,” except for their sex. Id. at 1741. If their employer subsequently

        fires one of them, but not the other, for their attraction, then the employer has chosen to

        tolerate traits in members of one sex that it penalizes in members of the other. Id. In other

        words, “the employer intentionally singles out an employee to fire based in part on the

        employee’s sex, and the affected employee’s sex is a but-for cause of his discharge.” Id.

        Bostock held that this type of discrimination is necessarily sex discrimination since it is

        “impossible” to discriminate on the basis of homosexual or transgender status without

        discriminating on the basis of sex. Id.

               The employers in Bostock tried to evade this result by arguing that they were

        discriminating based on distinct criteria—sexual orientation and gender identity—rather

        than sex itself. Id. at 1746–48. But the Court was not moved. It explained that when an

        employer adopts a “sex-based rule[]” that “makes hiring turn on [sex], the employer

                                                     92
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024       Pg: 93 of 147




        violates the law, whatever it might know or not know about individual applicants.” Id. at

        1745–46. In other words, if the employer’s very policy holds a man and a woman in

        identical factual circumstances to different standards, then that employer discriminates

        based on sex. See id. at 1746. And how do we know when this has occurred? We know

        when the policy cannot be explained without reference to sex. See id. (“To see why,

        imagine an applicant doesn’t know what the words homosexual or transgender mean. Then

        try writing out instructions for who should check the box without using the words man,

        woman, or sex (or some synonym). It can’t be done.”). A rule against hiring homosexual

        or transgender people is a rule that tolerates behavior in members of one sex that it

        penalizes in members of another. Id. When an employer uses such a rule, it necessarily

        makes sex a but-for cause of its hiring decisions and thereby discriminates based on sex.

        Id.

               Whether and how this translates into the Equal Protection context is not immediately

        obvious. Unlike Title VII, the Fourteenth Amendment does not use the language of but-

        for causation. See U.S. Const. amend. XIV, § 1 (“No state shall make or enforce any law

        which shall . . . deny to any person within its jurisdiction the equal protection of the laws.”).

        And both laws look different in operation. Once but-for discrimination has been shown, a

        Title VII claim is open and shut, absent the applicability of a statutory defense. Bostock,

        140 S. Ct. at 1741 (“Title VII’s message is ‘simple but momentous’: An individual

        employee’s sex is ‘not relevant to the selection, evaluation, or compensation of

        employees.’” (quoting Price Waterhouse, 490 U.S. at 239)); see 42 U.S.C. §§ 2000e-1, -2.

        The Equal Protection Clause handles things differently, subjecting discriminatory laws to

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USCA4 Appeal: 22-1927       Doc: 119         Filed: 04/29/2024     Pg: 94 of 147




        tiers of scrutiny. See Shaw, 509 U.S. at 642 (“This Court never has held that race-conscious

        state decisionmaking is impermissible in all circumstances.”); Morrison v. Garraghty, 239

        F.3d 648, 654 (4th Cir. 2001) (explaining that, once intentional discrimination is proven,

        “the court proceeds to determine whether the disparity in treatment can be justified under

        the requisite level of scrutiny”).

               Despite these salient differences, there is nonetheless a crucial similarity between

        the two laws. At their cores, Title VII and the Equal Protection Clause both target the same

        conduct: treating people who are otherwise similarly situated differently because of their

        membership in a protected class. Compare Bostock, 140 S. Ct. at 1740 (“To ‘discriminate

        against’ a person, then, would seem to mean treating that individual worse than others who

        are similarly situated.” (quoting Burlington N. & S.F. Ry. Co. v. White, 548 U.S. 53, 59

        (2006))), and id. (“[A]n employer who intentionally treats a person worse because of sex—

        such as by firing the person for actions or attributes it would tolerate in an individual of

        another sex—discriminates against that person in violation of Title VII.”), with City of

        Cleburne, 473 U.S. at 439 (explaining that the Equal Protection Clause is “essentially a

        direction that person similarly situated should be treated alike”), Yick Wo, 118 U.S. at 373–

        74 (holding that laws effect “the denial of equal justice . . . within the prohibition of the

        constitution” when they “make unjust and illegal discriminations between persons in

        similar circumstances”), and Students for Fair Admissions, Inc. v. President & Fellows of

        Harvard Coll., 600 U.S. 181, 205 (2023) (“[T]he Constitution . . . forbids . . .

        discrimination by the General Government, or by the States, against any citizen because of



                                                     94
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 95 of 147




        his [protected trait].” (quoting Bolling v. Sharpe, 347 U.S. 497, 499 (1954))). 21 And both

        are triggered if a person’s membership in the protected class was one reason—not

        necessarily the only or the primary reason—for their dissimilar treatment. Compare

        Bostock, 140 S. Ct. at 1741 (“If the employer intentionally relies in part on an individual

        employee’s sex when deciding to discharge the employee . . . a statutory violation has

        occurred.”), with Feeney, 442 U.S. at 276 (“The dispositive question, then, is whether the

        appellee has shown that a gender-based discriminatory purpose has, at least in some

        measure, shaped the [challenged] legislation.” (emphasis added)).

               Asking whether a protected trait was a reason for discriminatory treatment is

        precisely what Bostock described as a but-for causation inquiry. 140 S. Ct. at 1739. If two

        people are otherwise similarly situated except for their sex, and they are treated differently


               21
                  While the Equal Protection Clause and Title VII contain different words—most
        notably, that the latter includes the words “because of”—that distinction doesn’t give me
        pause, for two reasons. First, as explained, the Clause’s text has been interpreted to subject
        disparate treatment “on the basis of” a protected characteristic to heightened scrutiny. See,
        e.g., Washington, 426 U.S. at 239. Second, the Supreme Court has instructed that a
        provision doesn’t need the Equal Protection Clause’s precise wording to inform how and
        when the Clause prohibits discrimination. See, e.g., Arlington Heights, 429 U.S. at 266
        (applying precedents interpreting the Fifteenth Amendment’s prohibition on denying the
        right to vote “on account of race” to understand the meaning of the Fourteenth
        Amendment’s Equal Protection Clause’s prohibition on “deny[ing] . . . the equal protection
        of the laws”).
                Nor is it helpful to point to the author of Bostock’s concurring opinion in Students
        for Fair Admissions, 600 U.S. at 308 (Gorsuch, J., concurring), as some of my colleagues
        on other Circuits have done. See Williams, 83 F.4th at 484–85; Eknes-Tucker, 80 F.4th at
        1229. While Bostock’s author did note several differences between Title VII and the Equal
        Protection Clause—including which actors they govern, which classes of people they
        protect, and whether discrimination can be justified under judicial scrutiny—he did not say
        that they demand different inquiries into whether intentional discrimination has occurred
        in the first place. See Students for Fair Admissions, 600 U.S. at 308–10 (Gorsuch, J.,
        concurring).
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USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 96 of 147




        because of their sex, then sex is a but-for cause of the result. Title VII and the Equal

        Protection Clause both prohibit this from occurring. They thus share a common inquiry

        into but-for causation.

               Now to the punchline. The Equal Protection Clause requires a showing of but-for

        causation. Bostock gave us a test for identifying “traditional” and “simple” but-for

        causation. Id. It therefore follows that Bostock’s test can identify but-for causation under

        the Equal Protection Clause. A plaintiff can establish the first step of an Equal Protection

        claim by showing that they suffered intentional discrimination because of their protected

        trait. Washington, 426 U.S. at 239. And they can prove any such discrimination was

        because of that trait (i.e., but-for causation) by “chang[ing] one thing at a time and see[ing]

        if the outcome changes.” Bostock, 140 S. Ct. at 1739. If the outcome changes based on

        their protected trait, then that trait was a but-for cause of their mistreatment, and the burden

        ought to shift to the government to justify the law under heightened scrutiny. 22



               22
                   Some might hesitate to make this connection absent a clearer mandate from the
        Supreme Court. But the Court instructs us to identify shared principles between laws with
        common elements, especially in antidiscrimination cases. In Bray, for instance, the Court
        used Equal Protection precedents to clarify the elements of discriminatory purpose in a
        federal cause of action. 506 U.S. at 271–73. It did so not because the statute automatically
        incorporated the constitutional standard but because common principles underlay both
        legal rules. See id. at 272 n.4. The Court did the same in General Electric Co. v. Gilbert,
        noting the “similarities” between Title VII and the Equal Protection Clause and using the
        latter as a “useful starting point in interpreting the former.” 429 U.S. at 133. Sometimes
        this works in the opposite direction, too. In Dobbs v. Jackson Women’s Health
        Organization, the Court used Bray—a statutory holding—to inform its analysis under the
        Equal Protection Clause. 597 U.S. at 236–37. So finding that Bostock’s but-for causation
        principles apply in Equal Protection cases is consistent with the method the Supreme Court
        has prescribed in similar cases.

                                                      96
USCA4 Appeal: 22-1927       Doc: 119         Filed: 04/29/2024      Pg: 97 of 147




               This leads me to conclude that discrimination on the basis of homosexual or

        transgender status triggers heightened scrutiny under the Equal Protection Clause. Not

        because these groups constitute “quasi-suspect classes,” as the majority believes

        transgender persons do, 23 but rather because Bostock tells us that to discriminate on the

        basis of these traits is necessarily to discriminate “because of” sex. When sex is a but-for

        cause of official mistreatment, the Equal Protection Clause proscribes that action unless it

        can be justified under intermediate scrutiny. 24

               Plaintiffs think that Bostock provides them another avenue for relief in these cases.

        Yet by now, it should be clear why plaintiffs cannot show that their sex or transgender

        status was a but-for cause of any injury they suffered. Under Bostock, “if changing the

        [patient’s] sex would have yielded a different choice by the [states],” then the patient’s sex

        would be a but-for cause of their discrimination. Id. at 1741. But here, changing plaintiffs’

        sex (or even their transgender status) would not change either state’s choice to decline

        coverage for the requested services. Even if we changed the biological sex of Maxwell

        Kadel—one of the plaintiffs below—from female to male, North Carolina would still deny


               23
                  I am highly skeptical of our Circuit’s holding in Grimm that transgender
        individuals make up a quasi-suspect class. 972 F.3d at 610–13. For some of my reasons,
        see Williams, 83 F.4th at 486–88. Even so, this disagreement is immaterial, because I
        ultimately agree that laws targeting transgender individuals trigger intermediate scrutiny
        (since they are necessarily sex-based under Bostock).
               24
                   Bostock also shows why discrimination by stereotype violates the Equal
        Protection Clause. A stereotype, as I have explained, is a generalization about the
        capabilities of and socially acceptable behavior for members of each sex. To discriminate
        based on such a generalization is therefore to tolerate behavior or attributes in members of
        one sex that one penalizes in members of the other sex, which Bostock said is sex
        discrimination. Bostock, 140 S. Ct. at 1741; cf. Price Waterhouse, 490 U.S. at 250–51.
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USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 98 of 147




        Kadel coverage for a testosterone prescription. And even if we changed Christopher Fain’s

        biological sex from female to male, West Virginia would still deny Fain coverage for a

        mastectomy. So too if we changed their transgender identities. Both would still lack a

        qualifying diagnosis for the treatments. The only way that Kadel or Fain could get these

        treatments is if they had some other diagnosis (e.g., hypogonadotropic hypogonadism or

        cancer) that was covered. But if they had that other diagnosis, then they could obtain

        coverage for these treatments regardless of their sex or transgender status. Thus, a patient’s

        diagnosis, and not their sex or transgender status, is the but-for cause of their ability or

        inability to obtain coverage under both plans.

               Nor do the plans discriminate via “sex-based rules” that necessarily make coverage

        “turn on” sex or transgender status. See id. at 1745–46. To see why, let’s return to the

        example Bostock used where an employer asks applicants to check a box if they are

        homosexual or transgender and then refuses to hire anyone who checks the box. Id. at

        1746. Bostock held that this is sex discrimination, even if the employer never learns an

        individual’s sex, because the rule the employer uses holds men and women in the same

        factual circumstances to different standards (thus making sex a but-for cause of the

        discriminatory treatment). Id.

               But now let’s modify the hypothetical. Imagine an employer announces that it will

        only hire a candidate with certain qualifications—a college degree, one year of experience,

        and two references—and that it will not consider other things in an application—such as

        race, religion, sex, sexual orientation, or gender identity—when making its hiring decision.

        To be clear, the employer will not deny employment based on these latter traits, either;

                                                     98
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 99 of 147




        these traits just will not themselves qualify someone for the job. So, in this example, a

        transgender person who applies for the job and doesn’t have a college degree will not be

        hired. But neither will anyone else who lacks that or any other of the employer’s required

        qualifications. And a transgender person who has all the qualifications will be hired—just

        not because of their transgender identity.

               The policy I’ve described does not discriminate on the basis of sex. It does not use

        a sex-based rule that holds men and women to different standards. Rather, it holds

        everyone to the same standard: Anyone who has the relevant qualifications will be hired,

        but no one will be hired simply because of their race, religion, sex, sexual orientation, or

        gender identity. Someone who has these latter traits can still be hired. But they will not

        be hired because they have these traits—they will be hired because they have the relevant

        qualifications, just like everyone else. The qualifications, and not the protected traits, are

        therefore the but-for cause of the hiring decision.

               The challenged plans work a lot like this hiring policy. The states have decided that

        they will only pay for procedures that alter a patient’s breasts or genitalia if the patient

        suffers from physical injury, disease, or congenital absence of genitalia. Based on these

        criteria, the states identify a set of diagnoses that qualify someone for every treatment.

        They then grant coverage for those treatments only to people with qualifying diagnoses.

        As it turns out, gender dysphoria does not meet these criteria, so the states do not treat it as

        a qualifying diagnosis. Anyone who seeks to qualify for coverage on the basis of gender

        dysphoria alone thus will not receive treatment. Yet neither will anyone else who lacks a

        qualifying diagnosis, whether or not they have gender dysphoria. The only way anyone

                                                      99
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 100 of 147




        receives coverage for a treatment is if they have a qualifying diagnosis. And if they have

        one, then they will receive coverage, regardless of their sex or transgender status, and even

        if they also happen to have gender dysphoria.

               The plans, therefore, have not adopted a sex-based rule that makes coverage turn on

        a person’s sex or their transgender status. Indeed, they both can be described without

        reference to sex: No patient who seeks to alter their breasts or genitalia will receive

        coverage unless they experience physical injury, disease, or congenital absence of

        genitalia. Rather, the plans merely condition coverage for certain treatment on medical

        diagnosis. Anyone of either sex or who is transgender can obtain those treatments if they

        have a qualifying diagnosis. The exclusions therefore do not discriminate because of sex

        or transgender status.

                      4.     The majority’s arguments are unpersuasive.

               As I’ve explained, the challenged exclusions do not discriminate on the basis of sex

        or transgender status. So why does the majority conclude differently? Frankly, it’s hard

        to tell.   Rather than beginning with an affirmative case for why these plans are

        discriminatory, the majority instead begins by refuting the states’ counterarguments. It

        then strings together a line of unrelated Supreme Court precedents to distinguish away

        Geduldig. Along the way, it announces various holdings with very little substantive

        analysis. I find none of these arguments remotely persuasive.

               The main thrust of the majority opinion is that the plans use gender dysphoria as a

        proxy for transgender persons.      The majority gives us several formulations of this

        conclusion, but each is essentially the same:            Gender dysphoria is “virtually

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USCA4 Appeal: 22-1927      Doc: 119           Filed: 04/29/2024     Pg: 101 of 147




        indistinguishable” from “transgender status.” Majority Op. at 32. It is “inextricable” from

        transgender identity. Majority Op. at 37. And it is “unique” to transgender persons.

        Majority Op. at 39. To the majority, then, it is enough to know that gender dysphoria is

        closely related to transgender identity for us to conclude that “discriminating on the basis

        of diagnosis is discriminating on the basis of gender identity and sex.” Majority Op. at 23.

               Conspicuously absent from the majority’s analysis, however, is any discussion of

        the actual legal standard for presuming intentional discrimination by proxy. As cases like

        Bray make clear, we cannot presume that a law intentionally discriminates just because the

        targeted activity is “engaged in exclusively or predominantly by a particular class of

        people”; it also must be “such an irrational object of disfavor that,” if targeted, “an intent

        to disfavor that class can be readily presumed.” Bray, 506 U.S. at 270; see also Arlington

        Heights, 429 U.S. at 266 (explaining that discrimination may be presumed if a

        classification is “unexplainable on grounds other than” a protected trait). This means we

        can presume intentional discrimination by proxy only if the distinction drawn is so

        obviously discriminatory that we can find an illicit purpose without requiring further

        evidence. See, e.g., Yick Wo, 118 U.S. at 374 (“[T]he conclusion cannot be resisted that no

        reason for [the unequal treatment] exists except hostility to the race and nationality to

        which the petitioners belong . . . .”); Guinn, 238 U.S. at 365 (finding no “basis of reason

        for the standard thus fixed other than” an intent to discriminate); Gomillion, 364 U.S. at

        341 (explaining that “the conclusion would be irresistible, tantamount for all practical

        purposes to a mathematical demonstration,” that the electoral district was drawn to

        discriminate against black voters).

                                                     101
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024      Pg: 102 of 147




               The majority does not engage with, let alone mention, this part of the standard. To

        be sure, it cites the outcomes that the Supreme Court reached in various proxy-

        discrimination cases. 25 See Majority Op. at 37–39. Yet it never mentions why the Court

        reached these outcomes—namely, that the challenged classifications were so obviously

        irrational that no other reason but a discriminatory purpose could explain them. Instead,

        without asking whether there might be rational, nondiscriminatory reasons to exclude

        coverage for gender-dysphoria treatments, the majority simply asserts that “it is enough to

        know that gender dysphoria, and therefore treatment for gender dysphoria, is unique to

        transgender individuals” in order to presume proxy discrimination. Majority Op. at 39.

               But it is not, and has never been, “enough to know” that something targeted is

        “unique” to a protected class to presume that it is being used as a proxy for that class. It

        was not enough to know that only women can get pregnant for the Court to find that the

        refusal to cover pregnancy-related disabilities targeted women. Geduldig, 417 U.S. at 496



               25
                  Here and elsewhere, the majority relies on Lawrence v. Texas, 539 U.S. 558
        (2003), and Christian Legal Society v. Martinez, 561 U.S. 661 (2010). But Lawrence was
        not an Equal Protection case; indeed, the Court explicitly declined to rest its decision on
        this basis. See 539 U.S. at 574–75. And the majority’s heavily edited quotation of
        Christian Legal Society elides the limited scope of that holding. The Court did not say that
        it has “declined to distinguish between status and conduct in th[e] context [of
        discrimination]” generally. Majority Op. at 35. Rather, the Court said it has “declined to
        distinguish between status and conduct in this context,” Christian Legal Soc’y, 561 U.S. at
        689 (emphasis added), i.e., in the context of policies that discriminate based on homosexual
        conduct. In other words, the Court determined that discrimination against persons who
        engage in homosexual conduct is discrimination against homosexual persons themselves.
        But that’s not what is happening here. The challenged exclusions do not prohibit anyone
        who cross dresses, for instance, from obtaining coverage. Instead, they simply decline to
        recognize a particular diagnosis as one that qualifies for certain treatments. So Christian
        Legal Society simply has no relevance here.
                                                    102
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 103 of 147




        n.20 (“While it is true that only women can become pregnant[,] it does not follow that

        every legislative classification concerning pregnancy is a sex-based classification . . . .

        Absent a showing that distinctions involving pregnancy are mere pretexts designed to

        effect an invidious discrimination against the members of one sex or the other, lawmakers

        are constitutionally free to include or exclude pregnancy from the coverage of legislation

        such as this on any reasonable basis . . . .”). It was not enough to know that veterans were

        overwhelmingly men in the 1970s to find that a veteran hiring preference discriminated

        against women. Feeney, 442 U.S. at 274–75 (noting that “[a]lthough few women benefit

        from the preference,” the “legitimate and worthy purposes” for preferring veterans over

        non-veterans precluded a finding that the law intended to disadvantage women). And it

        was not enough to know that only women can get abortions to find that opposition to

        abortion targeted women. 26 Bray, 506 U.S. at 270 (holding that, though abortion is

        “engaged in exclusively” by women, discriminatory intent could not be presumed since

        there are “common and respectable reasons for opposing” abortion besides discriminatory

        intent towards women); see also Dobbs, 597 U.S. at 236. So why, exactly, is it enough to

        know that gender dysphoria is unique to transgender individuals for us to conclude that the




               26
                 The majority frequently cites Bray’s statement that “[a] tax on wearing yarmulkes
        is a tax on Jews.” Bray, 506 U.S. at 270. But the reason such a tax is obviously
        discriminatory is because, unlike opposition to abortion, there is no rational basis to single
        out yarmulkes other than to discriminate against Jews. See id. The same is not true here.

                                                     103
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024       Pg: 104 of 147




        plans use the former as a proxy for the latter? The majority does not say—it just asserts

        this to be so. Well, forgive me for remaining unpersuaded by mere assertion. 27

               Equally shocking is the majority’s treatment of Geduldig.             The majority

        acknowledges Geduldig’s holding that the choice to underinsure a particular medical

        condition is not sex discrimination, absent further evidence of pretext. But rather than

        wrestling with that holding, the majority states that Geduldig is inconsistent with another

        line of Supreme Court precedents, which hold that “a state cannot immunize itself from

        violating the Equal Protection Clause by discriminating against only a subset of a protected

        group.” Majority Op. at 31. So the majority simply limits Geduldig to its facts (i.e.,

        pregnancy discrimination) and finds it inapplicable here.

               Yet what these other cases have to do with Geduldig is an utter mystery. Each of

        them concerned whether policies already found to discriminate against members of a

        protected class were immune from heightened scrutiny because they targeted only a subset



               27
                  The majority responds by citing several cases where the use of a proxy was
        “glaringly—facially—obvious.” Majority Op. at 41. Yet these were not proxy cases.
        Rather, each involved a law that facially classified based on sex in addition to other
        characteristics. See Califano, 442 U.S. at 83–89 (classifying based on employment status,
        parenthood, and sex); Morales-Santana, 582 U.S. at 58 (classifying based on citizenship,
        parenthood, and sex); Reed, 404 U.S. at 74–76 (classifying based on parenthood and sex);
        Orr, 440 U.S. at 278 (classifying based on marital status and sex). The challenged
        exclusions, by contrast, do not facially classify based on sex or transgender status. Nor do
        they even “use[] different words that mean the same thing,” like a person’s chromosomal
        makeup. Majority Op. at 42–43. Instead, they classify based on a single, facially neutral
        criteria—a class of medical treatments—and deny coverage to everyone who seeks those
        treatments—regardless of their sex or transgender status. That those treatments are
        predominantly or exclusively sought by transgender persons may serve as evidence of
        discriminatory impact, but it cannot by itself prove the existence of discriminatory intent.

                                                    104
USCA4 Appeal: 22-1927       Doc: 119         Filed: 04/29/2024     Pg: 105 of 147




        of that protected class. See Graham v. Richardson, 403 U.S. 365, 366–67, 371–72 (1971)

        (facially distinguishing between the requirements for citizens and the suspect class of

        noncitizens); Weber v. Aetna Cas. & Sur. Co., 406 U.S. 164, 167–68 (1972) (facially

        imposing more requirements on illegitimate children than on legitimate children);

        Frontiero, 411 U.S. at 688 (“The sole basis of the classification established in the

        challenged statutes is the sex of the individuals involved.”); Mathews v. Lucas, 427 U.S.

        495, 504 n.11 (1976) (facially discriminating against illegitimate children); Nyquist v.

        Mauclet, 432 US. 1, 3–4, 12 (1977) (facially discriminating between citizens and

        noncitizens); Rice, 528 U.S. at 498–99 (intentionally using ancestry as a proxy for race).

        Geduldig, by contrast, concerned whether discrimination on the basis of a suspect class

        occurs at all when a policy excludes coverage for something closely associated with

        members of a protected class. This is the question we must answer today. The states do

        not admit that they discriminate against transgender persons and then ask for lenience

        because they only target a subset of that community. They rather deny that any such

        discrimination has occurred in the first place. So the cases cited by the majority provide

        no reason to limit Geduldig to its facts and have no relevance to the question presented in

        these appeals. 28


               28
                  The majority comes up with three additional reasons that distinguish Geduldig:
        (1) the Supreme Court has only applied Geduldig in cases involving pregnancy
        discrimination; (2) unlike pregnancy, gender dysphoria is a proxy for transgender status;
        and (3) the plans engage in direct sex discrimination. See Majority Op. at 31–33. The first
        point is true, and yet proves nothing—that Geduldig has only been applied in cases
        involving pregnancy discrimination does not mean its reasoning is limited to such cases.
        The second point likewise fails. It is true that Geduldig “did not hold that a characteristic
        (Continued)
                                                    105
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 106 of 147




               Why, then, does the majority imagine up this conflict of precedents? Probably

        because Geduldig, read fairly, obviously applies to the cases before us. See Majority Op.

        at 31 (“Appellants’ arguments . . . might be correct if we read Geduldig as broadly as

        possible.”). 29 As the Supreme Court recently explained in Dobbs, Geduldig established

        that “[t]he regulation of a medical procedure that only one sex can undergo does not trigger

        heightened constitutional scrutiny unless the regulation is a ‘mere pretext designed to effect

        an invidious discrimination against members of one sex or the other.’” 597 U.S. at 236

        (alteration omitted) (quoting Geduldig, 417 U.S. at 496 n.20). As in Geduldig, the

        challenged plans here do not exclude a class of persons from coverage, but rather exclude

        coverage of treatments for a particular diagnosis. That only transgender persons happen to

        experience this diagnosis cannot alone support a finding of discriminatory intent, any more

        than the fact that only women can become pregnant could do so in Geduldig. 417 U.S. at




        of a subset of a protected group cannot be a proxy for that group.” Majority Op. at 32. But
        this only proves that Geduldig might not control all cases—it does not prove why this case
        is distinguishable. As I have already explained, the mere fact that gender dysphoria relates
        to transgender status does not itself prove that the plans use it as a proxy for transgender
        status. In order to presume discriminatory intent, we must find that nothing else could
        explain the exclusions other than discriminatory intent—a finding the majority has not
        made and cannot make. And the third point will be addressed later. Suffice it to say this
        argument is equally unconvincing and an inadequate basis upon which to distinguish
        Geduldig.
               29
                  After all, the majority’s argument is precisely the argument that the dissenting
        Justices made in Geduldig—and therefore precisely the argument that the majority in
        Geduldig rejected. Geduldig, 417 U.S. at 501 (Brennan, J., dissenting) (arguing that the
        exclusion discriminated based on sex by “singling out for less favorable treatment a gender-
        linked disability peculiar to women”).
                                                     106
USCA4 Appeal: 22-1927        Doc: 119          Filed: 04/29/2024       Pg: 107 of 147




        496 n.20. Some evidence of pretext is needed—evidence that the majority lacks and does

        not even discuss.

               The majority next contends that the fact that the exclusions apply equally to

        everyone doesn’t matter because they only affect transgender persons. Majority Op. at 33–

        35. This is largely a repetition of the failed attempt at distinguishing Geduldig: Those that

        are impacted by the law all fall within the greater group of transgender people. But the fact

        that a law affects only a certain group of people does not itself mean that it discriminates

        based on membership in that group. At risk of sounding like a broken record, the Supreme

        Court has made this crystal clear: Disparate impact alone cannot alone sustain an Equal

        Protection claim. A plaintiff must offer some evidence of discriminatory intent or purpose

        to prevail. See Arlington Heights, 429 U.S. at 264–65 (“[O]fficial action will not be held

        unconstitutional solely because it results in a . . . disproportionate impact. . . . Proof of . . .

        discriminatory intent or purpose is required to show a violation of the Equal Protection

        Clause.”); Feeney, 442 U.S. at 272. Rather than identifying such evidence, however, the

        majority itself becomes a broken record, repeating over and over that gender dysphoria and

        transgender status are closely linked. 30          Yet no amount of repetition can turn

        nondiscrimination into discrimination.

               Finally, the majority claims that the exclusions directly discriminate based on sex.

        According to the majority, the plans cover certain “gender-affirming” surgeries “when the


               30
                 The majority also cites McLaughlin v. Florida, 379 U.S. 184. But McLaughlin
        involved a facial classification that explicitly varied punishment based on whether couples
        were of the same or different race. Id. at 184–86. It therefore has no relevance to a case
        involving the disparate impact of a facially neutral policy, like ours.
                                                       107
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 108 of 147




        purpose of the surgery is to align a patient’s gender presentation with their sex assigned at

        birth,” but not when “the purpose is to align a patient’s gender presentation with a gender

        identity that does not match their sex.” Majority Op. at 44. This, the majority claims, is

        “textbook sex discrimination, for two reasons.” Id. First, the exclusions cannot be applied

        without referencing sex. Id. Second, the exclusions are based on “gender stereotypes about

        how men or women should present.” Id. at 44–45.

               Before responding to these arguments, I must again clarify how these plans actually

        work. Neither state covers surgery to alter breasts or genitalia for “gender-affirming

        purposes,” i.e., solely because a person wishes to align their outward appearance with their

        biological sex. Majority Op. at 44. The majority’s statement to the contrary simply is not

        supported by the record. To obtain coverage, a person must be afflicted with physical

        injury, disease, or congenital absence of genitalia. In other words, they must have a

        particular kind of qualifying diagnosis. Anyone can seek coverage for a vaginoplasty to

        correct the congenital absence of a vagina. Anyone can seek coverage for a breast

        reconstruction to restore what was destroyed by cancer treatment. And anyone can seek

        coverage for breast reduction to alleviate symptomatic gynecomastia. 31 But no one—man




               31
                  The majority feigns ignorance as to why it is relevant that West Virginia only
        covers symptomatic gynecomastia. See Majority Op. at 44 n.26. But the relevance of this
        fact should be obvious. Like a person with gender dysphoria, a person with gynecomastia
        cannot obtain coverage for surgery because they wish to bring their body into line with
        how they believe it should appear. Rather, they can only receive it if they have physical
        symptoms, like breast pain—the very symptoms that gender dysphoria does not cause.

                                                    108
USCA4 Appeal: 22-1927       Doc: 119         Filed: 04/29/2024     Pg: 109 of 147




        or woman, transgender or not—can seek coverage for these surgeries simply out of a desire

        to “affirm” their gender. 32

               With that out of the way, it is easy to see why the majority’s first argument holds no

        water. The policies can be applied without reference to sex. Indeed, they are applied

        without reference to sex. The states do not use a person’s sex or transgender status to make

        coverage decisions. Instead, for each kind of surgery, the states keep a list of diagnoses

        that qualify someone for that surgery. When someone submits a coverage request, the

        states grant or deny coverage based on whether that person has a qualifying diagnosis. So

        for instance, if a person requests coverage from West Virginia for a vaginoplasty, whether

        they receive coverage or not depends on whether their diagnosis does or does not qualify.

        Nothing about this turns on a patient’s sex; the plans need only know whether the patient

        has a qualifying diagnosis. 33


               32
                  The majority’s argument only works because it draws a line between “gender-
        affirming” surgery and other kinds of surgery. So, for instance, it labels a mastectomy
        sought to treat diagnoses like gynecomastia or gender dysphoria as gender-affirming, but
        a mastectomy sought to treat cancer as something else. Majority Op. at 31 n.20. But this
        distinction is arbitrary and divorced from reality. A mastectomy for symptomatic
        gynecomastia is not performed to affirm a patient’s biological sex; it is aimed to treat the
        pain caused by a particular medical condition, just like a mastectomy to treat cancer.
               To make this point even clearer, consider a female who naturally has little-to-no
        breast tissue. The lack of breast tissue is not a result of a diagnosed illness—it’s just
        genetics. She may want to obtain breast augmentation surgery in order for her body to
        align with what she views as a “female” body. But she wouldn’t get coverage for this
        “gender-affirming” care in either North Carolina or West Virginia. That lack of coverage
        is not because she is a female or because her gender-identity aligns with her sex; it’s
        because the reason she is seeking the surgery is not one covered by either plan.
               33
                 The majority seems to think that because a third-party administrator must know a
        person’s diagnosis in order to make a coverage decision, and because they can infer a
        (Continued)
                                                    109
USCA4 Appeal: 22-1927      Doc: 119           Filed: 04/29/2024     Pg: 110 of 147




               The majority can only label these policies as sex-based by reading medical diagnosis

        completely out of the picture. On the majority’s telling, the only difference between two

        people who request a vaginoplasty is sex—they are otherwise identical because both “were

        born without a vagina.” Majority Op. at 45. But phrasing it in these terms omits the

        medical reason they have this condition. One of them was “born without a vagina” in the

        sense that they have a congenital defect. The other was “born without a vagina” not

        because they have any such congenital defect, but because they have a diagnosed

        psychological disorder. These are not the same! Only by treating them as such can the

        majority sidestep the determinative role diagnosis plays and characterize these coverage

        decisions as necessarily sex-based.

               The majority then contends that the exclusions discriminate based on gender

        stereotypes because they “condition[] access to gender-affirming surgery on whether the

        surgery will better align the patient’s gender presentation with their sex assigned at birth.”

        Majority Op. at 45. Yet this is the same error as before, just repackaged under a different

        label. Neither plan makes coverage available to anyone simply to “better align [their]

        gender presentation with their sex assigned at birth.” Id. Instead, they condition coverage

        based on whether a patient has a certain identifiable medical condition. And there is simply

        no evidence in these appeals that the states chose which conditions to cover with a view

        towards punishing gender-nonconformity.


        patient’s sex from their diagnosis, the coverage decision itself is necessarily sex-based. See
        Majority Op. at 45. But a diagnosis and a person’s sex are not the same thing. That an
        administrator can infer a person’s sex from sex-neutral facts does not thereby mean they
        must know a person’s sex in order to make a coverage decision.
                                                     110
USCA4 Appeal: 22-1927        Doc: 119        Filed: 04/29/2024      Pg: 111 of 147




               The majority rebukes the states for mistaking “what is for what must be.” Id. at 46.

        It is the majority, however, and not the states, that has committed this error. States have

        finite resources to spend on healthcare, so they must prioritize those treatments that they

        deem cost-effective and medically necessary. As a result, they have chosen to cover

        treatment for some, but not all, diagnoses, while making treatment for those covered

        diagnoses available to all on an equal basis. The majority may disagree with this choice.

        But by castigating it as illicit discrimination, the majority imposes its own vision of what

        “must be” upon the states. This is not law—it is policy, plain and simple.

               B.     Medicaid Act Claims

               On top of their antidiscrimination challenges, the Anderson plaintiffs assert two

        claims under the Medicaid Act. 34 First, they allege that West Virginia’s program violates

        the Act’s “availability requirement,” which—in broad terms—requires states to cover

        certain categories of care under their Medicaid programs.                    See 42 U.S.C.

        § 1396a(a)(10)(A).     Second, they contend that it violates the Act’s “comparability

        requirement,” which prevents states from discriminating between certain groups of

        Medicaid beneficiaries when covering care. See 42 U.S.C. § 1396a(a)(10)(B). Both

        arguments fail.

               The Medicaid Act’s “availability requirement” is found in § 1396a(a)(10)(A). It

        says that participating states must “provide . . . for making medical assistance available” to




               When I say the “Medicaid Act” I am referring to Title XIX of the Social Security
               34

        Amendments of 1965, Pub. L. No. 89-97, §§ 1901–05, 79 Stat. 286, 343–53, codified as
        amended at 42 U.S.C. §§ 1396 et seq.
                                                     111
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 112 of 147




        eligible individuals, “including at least” an enumerated list of “care and services.” Id. That

        list is described in a different part of the statute and includes broad categories of care, like

        “inpatient hospital services,” “outpatient hospital services,” “rural health clinic services,”

        “laboratory and X-ray services,” and others. See § 1396d(a)(1)–(5), (13)(B), (17), (21),

        (28), (29)–(30). The Act’s “comparability requirement,” meanwhile, is found in the next

        subparagraph, § 1396a(a)(10)(B). That provision says that states must provide “that the

        medical assistance made available to any individual” covered by the availability

        requirement “shall not be less in amount, duration, or scope than the medical assistance

        made available to any other such individual.” Id.

               Read alone, these provisions look sweeping. For instance, what does it mean that a

        state’s Medicaid program must “provide for making ‘inpatient’ and ‘outpatient hospital

        services’ available”? Does it mean that any time a categorically needy participant goes to

        the hospital asking for a procedure, the state must provide coverage, no matter what the

        procedure was or why the person wanted it?

               No. The Supreme Court has made clear that these provisions of the Medicaid Act

        must be read alongside another provision—§ 1396a(a)(17)—which allows states to

        “include reasonable standards . . . for determining eligibility for and the extent of medical

        assistance under the plan which . . . are consistent with the objectives of this subchapter.”

        See Beal v. Doe, 432 U.S. 438, 444 (1977). This provision, the Court held, means that

        states have “broad discretion . . . to adopt standards for determining the extent of medical

        assistance” under their Medicaid programs, so long as those standards are “‘reasonable’

        and ‘consistent with the objectives’ of the Act.” Id. And the Act’s “broadly stated primary

                                                      112
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 113 of 147




        objective,” said the Court, is “to enable each State, as far as practicable, to furnish medical

        assistance to individuals whose income and resources are insufficient to meet the costs of

        necessary medical services.” Id. (emphasis added). 35

               Notice what the Court did and did not say. Dicta notwithstanding, the Court did not

        hold that the purpose of the Act is to provide all medically necessary services to everyone

        who requests them. But see id. at 445 (suggesting that “serious statutory questions might

        be presented if a state Medicaid plan excluded necessary medical treatment from its

        coverage”). Rather, the Court held that the Act’s objective is for states, “as far as

        practicable,” to provide “medical assistance” to a certain category of people, i.e., those who

        cannot afford medically necessary services. See Preterm, Inc. v. Dukakis, 591 F.2d 121,

        124 (1st Cir. 1979). The objective is thus to serve a certain population, not to provide a

        certain level of services for each and every person. See § 1396a(a)(19) (providing that

        coverage decisions must be in the “best interests of the recipients,” plural); accord

        Alexander v. Choate, 469 U.S. 287, 303 (1985) (“Medicaid programs do not guarantee that

        each recipient will receive that level of healthcare precisely tailored to his or her particular

        needs.”). And Medicaid—like every government-funded program—has limited resources.

        So the decision to spend money covering one procedure comes with a tradeoff: The

        program must forgo funding a different procedure, either now or later.



               35
                  This purpose is reflected in the opening section of the Act. See § 1396-1 (“For
        the purpose of enabling each State, as far as practicable under the conditions in such State,
        to furnish (1) medical assistance on behalf of families with dependent children and of aged,
        blind, or disabled individuals, whose income and resources are insufficient to meet the
        costs of necessary medical services . . . .” (emphasis added)).
                                                      113
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 114 of 147




               The resulting system is one where states have broad discretion to structure fiscally

        workable Medicaid programs to serve the interests of the Medicaid population as a whole.

        When making these decisions, a state will have to evaluate a procedure’s cost given the

        actual benefit that it provides to the recipient; and it will then have to compare that cost-

        to-benefit ratio to the same ratio for each of the alternative procedures that it could have

        provided other Medicaid recipients with the same money. Along the way, it will have to

        make tough judgment calls. Suppose that a patient has terminal cancer and that a procedure

        exists with a 10% chance of extending their life by a year at the cost of $5,000,000. Does

        the state cover the procedure? What if it could use that money to cover 500 cataract

        surgeries instead? How, after all, does one quantify the “benefit” of a procedure? The Act

        does not supply a one-size-fits-all answer. Instead, it simply requires that—wherever each

        state ultimately decides to draw the line—the decision be “reasonable.”

               Thus, read in light of § 1396a(a)(17), the Act’s “availability” and “comparability”

        requirements each impose a “reasonableness” test much like a rational-basis test.

        Whenever a state’s Medicaid program limits coverage for a procedure that would otherwise

        fall within § 1396a(a)(10)(A)’s enumerated list, its decision to do so must be “reasonable.”

        Similarly, when a state decides that some Medicaid participants get coverage for a given

        procedure, but that other participants do not, that decision must likewise be “reasonable.”

        And like under rational-basis review, when I say “reasonable,” I mean objectively

        reasonable. In other words, the state must merely provide a justification for its decision—

        which may be after-the-fact—that could lead a reasonable person to believe that the

        decision was made in the “best interests” of the state’s Medicaid recipients as a whole.

                                                    114
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 115 of 147




               The Act’s implementing regulations support this reading.              Title 42 C.F.R.

        § 440.230(b) states that a service provided by a state plan must be “sufficient in amount,

        duration, and scope to reasonably achieve its purpose.” Neither the regulations nor the

        statute, however, define what the purpose of any individual service is, so its purpose can

        be understood only in relation to the broader purpose of the Act—“furnish[ing] medical

        assistance to individuals whose income and resources are insufficient to meet the costs of

        necessary medical services.”       Beal, 432 U.S. at 444.     And by including the word

        “reasonably,” the regulation does no more than restate what the statute and Beal already

        told us: Decisions about the extent of coverage must be reasonable and in line with the

        statute’s purpose. § 440.230(b).

               Similarly, § 440.230(d) establishes that the state Medicaid agency may “place

        appropriate limits on a service based on such criteria as medical necessity or on utilization

        control procedures.” This simply offers a non-exhaustive list of factors that states may

        consider when determining how to limit the amount, duration, or scope of a provided

        service. Paragraph 440.240(b)(1) then provides that once a state chooses to make certain

        services available, it must “provide that the services available to any individual in the

        [categorically needy group] are equal in amount, duration, and scope for all beneficiaries

        within the [categorically needy group].”      Again, this just restates the comparability

        requirement, which we already know gives states broad discretion to make reasonable

        coverage decisions.

               Subsection 440.230(c), which provides that a state “may not arbitrarily deny or

        reduce the amount, duration, or scope of a required service . . . to an otherwise eligible

                                                    115
USCA4 Appeal: 22-1927       Doc: 119           Filed: 04/29/2024      Pg: 116 of 147




        beneficiary solely because of the diagnosis, type of illness, or condition,” does not compel

        a contrary reading. This regulation constrains a state’s ability to make initial coverage

        decisions reducing available services based on arbitrary limits turning solely on a

        beneficiary’s diagnosis. For instance, if a state has a general rule that it covers outpatient

        hospital services for all dental surgeries but decides not to cover outpatient hospital services

        for surgeries to treat gingivitis, a patient seeking gingivitis care would be “otherwise

        eligible” for coverage under the plan but for their gingivitis diagnosis. And the state would

        have “den[ied] or reduce[d] the amount, duration, or scope” of available services to that

        patient “solely because of the diagnosis.” But § 440.230(c) permits a state Medicaid

        agency to make such limitations, even those based “solely” on a particular “diagnosis, type

        of illness, or condition” as long as the decision is “not arbitrarily” (i.e., reasonably) made. 36

        In other words, nothing in this regulation prohibits states from considering diagnosis when

        making their initial eligibility determinations, so long as those determinations are—you

        guessed it—reasonable.

               West Virginia easily fulfills its obligations under the Medicaid Act. Although

        specific, empirical data is not required, the state presented undisputed evidence that its

        Medicaid program had limited funds and that covering plaintiffs’ surgeries would require


               36
                  Admittedly, it is not altogether clear whether this regulation actually does limit
        what a state can consider when initially determining what makes someone eligible for a
        particular service. It could rather be read as requiring that once a state has deemed someone
        eligible for that service—i.e., once they are “otherwise eligible”—it cannot arbitrarily limit
        their access to that service solely because of another diagnosis. That is, if a state decides
        that a person must have five diagnostic markers to be eligible for heart surgery, it cannot
        deny surgery to someone with those markers just because they also happen to have, say,
        depression.
                                                      116
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 117 of 147




        it to either “cut existing services or receive additional appropriations from the legislature.”

        Anderson, J.A. 1203–04. Given that fact, the state may make its own judgment about the

        relative value of the surgeries plaintiffs request and the other procedures that it could use

        the same money to cover, provided that its judgment is not arbitrary. And a state might

        reasonably conclude that the value these procedures provide in treating some diagnoses is

        higher than any value that surgery has in treating gender dysphoria. See Anderson, J.A.

        1860–1935 (Expert Disclosure Report of Dr. Stephen B. Levine, M.D) (questioning the

        benefit of such surgery). For instance, a mastectomy might be used to treat both breast

        cancer and gender dysphoria. But the state might reasonably conclude that covering the

        former will benefit the Medicaid population as a whole more than covering the latter.

               The majority, in concluding otherwise, does not even try to parse the text of the

        statute or its implementing regulations. Instead, the majority just declares, relying on

        Supreme Court dicta and out-of-circuit precedent, that a state may only exclude services

        based on comparability of medical need and not based on the underlying diagnosis. See

        Majority Op. at 60. But this is an absurd reading of the statute. The purpose of the

        Medicaid Act is not to provide all attainable medically necessary services but to provide

        medical services for the Medicaid population as a whole, so far as feasible. And neither

        the statute nor its regulations prohibit states from limiting coverage, so long as those limits

        are reasonable and consistent with the objectives of the Act. There is therefore no

        requirement that states provide equal services to everyone with the same level of medical

        need. Coverage distinctions need only be reasonable. And they certainly are here.



                                                     117
USCA4 Appeal: 22-1927        Doc: 119          Filed: 04/29/2024     Pg: 118 of 147




                                         *               *           *

               Today’s result is a victory for plaintiffs but a defeat for the rule of law. To reach its

        holding, the majority misconstrues the challenged policies and steamrolls over the careful

        distinctions embedded in Equal Protection doctrine. It finds unlawful discrimination where

        there is none, stripping the states of their prerogative to create health-insurance and

        Medicaid systems that serve the best interests of their overall populations.

               More troubling, however, are the implications of today’s result for future cases

        involving state classifications in the healthcare context. Running a healthcare system is no

        easy task. Because the states have limited resources, they must make hard judgment calls

        about which services they will and will not cover. Ordinarily, such line-drawing is of no

        concern to the Equal Protection Clause. It is only in a narrow set of cases—when lines are

        drawn based on membership in a protected class—that heightened scrutiny is triggered. It

        is therefore incumbent on those in robes to exercise caution before jumping to conclusions

        about the reasons for particular judgements and distinctions drawn in the medical field. In

        failing to heed this warning, the majority sets a dangerous precedent and threatens the

        feasibility of state regulation in this area.

               I thus respectfully dissent.




                                                        118
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 119 of 147




        WILKINSON, Circuit Judge, dissenting:

               Why the rush to constitutionalize? Why the dash to create a substantive Fourteenth

        Amendment right to transgender surgery and treatment underwritten by the State?

               Of course the controversies surrounding transgender status will reach the courts. But

        how they reach us is the all-important thing. There is a big difference between, say, reading

        a statute and discovering a novel unenumerated constitutional right.

               I see no need to revisit the debates swirling over Roe v. Wade, 410 U.S. 113 (1973).

        I should note only that the infirmity of that decision lay not in the shortcomings of a

        perspective protecting the rights of the unborn or of one safeguarding reproductive

        freedoms. No, the infirmity lay in the courts reserving the weighing and balancing of those

        heartfelt perspectives for themselves.

               There will, of course, always be those who applaud and those who decry the decision

        of the day. But that is transient, much as a fleeting goldfinch wings before our eyes. And

        in the long tomorrow, the recurrent creation of rights so unmoored from constitutional text

        or history will deplete the store of public respect on which a branch devoid of sword or

        purse must ultimately rely. See The Federalist No. 78 (Alexander Hamilton). Courts have

        been thrust into an unprecedented and transparently political thicket from which extrication

        has proven uncommonly hard.

               And yet here we go again. We now confront a lengthy majority opinion without

        limits on what other statutory dominos will fall. In the era of Roe, it was substantive due

        process. Now it is substantive equal protection. Make no mistake. The fundamental rights

        prong of equal protection is what is at play here, and while constitutionally mandating

                                                    119
USCA4 Appeal: 22-1927       Doc: 119           Filed: 04/29/2024      Pg: 120 of 147




        state-funded transgender rights will please some, it will politicize the courts in the eyes of

        all as assuredly as its substantive due process predecessor did.

               Had the majority’s result been reached through the democratic process, it would

        have been perceived as the product of a process in which many good people of many varied

        views had had their voices heard. But even those who most passionately approve of the

        outcome here must recognize that those who do not approve have been ever so wrongly

        denied their rightful say. Even more so than in Roe, because that decision was never

        thought to require public funding of reproductive freedoms, Maher v. Roe, 432 U.S. 464,

        480 (1977), whereas this decision presumes to dictate how public officials should prioritize

        the competing requests of deserving claimants for insurance coverage and financial

        support.

               This is all transparently a creative, not an interpretive, judicial exercise, one which

        is most aptly termed constitutional common law. But even the great common law judges

        could always be overturned by a legislature, whereas we, their descendants, hold ourselves

        above amendment by the States, the Congress, or indeed any agency which dares murmur

        a dissent.

               This is imperial judging at its least defensible. It is the law, we say. Why? Because

        we proclaim it so. I suppose that one day we shall exchange our robes of black for a purple

        more befitting our new regal state. But until that time, a basic respect for the legitimate and

        diverse views of our fellow Americans should prevail. Because I believe that ours should

        not be the first, last, and only word on this volatile set of issues, I respectfully dissent.

                                                       I.

                                                      120
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024    Pg: 121 of 147




               Plaintiffs put forth claims on the medical necessity of hormonal and surgical

        treatments for gender dysphoria, a condition they say is ineluctably intertwined with

        transgender identity. The North Carolina State Health Plan, for example, excludes these

        very treatments from coverage by prohibiting reimbursement of “treatment . . . leading to

        or in connection with sex changes or modifications.” J.A. 181. Plaintiffs insist this

        exclusion is a facial classification based on sex. They further contend that the exclusion

        constitutes sex-based discrimination because it punishes transgender individuals for failing

        to conform to sex stereotypes. And they assert that the exclusion evinces an invidious intent

        to discriminate against transgender people by targeting individuals with gender dysphoria.

        Under the Equal Protection Clause, then, plaintiffs claim that the exclusion must survive

        heightened scrutiny. This, they tell us, it cannot do.

               These arguments, whether alone or in combination, fail to show that the coverage

        exclusion constitutes an equal protection violation. What plaintiffs propose is nothing less

        than to use the Constitution to establish a nationwide mandate that States pay for emerging

        gender dysphoria treatments. Plaintiffs envision an Equal Protection Clause that is

        dogmatic and inflexible, one that leaves little room for a national dialogue about relatively

        novel treatments with substantial medical and moral implications. Plaintiffs’ clause would

        encroach on a State’s prerogative under its basic police power to safeguard the health and

        welfare of its citizens. I would resist allowing the Equal Protection Clause to expand to

        such proportions, bloating the judicial power commensurately. The gender dysphoria

        treatments at issue—including puberty blocking drugs, cross-sex hormones, and gender

        reassignment surgery—are matters of significant scientific debate and uncertainty. As

                                                     121
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024     Pg: 122 of 147




        such, the arguments made before this court are advanced in the wrong forum. The right

        forum is a legislative hearing.

               It is true, of course, that the Equal Protection Clause applies to the States and

        supplants offending state enactments. The Supreme Court’s ruling striking down the

        patently dehumanizing practice of state-enforced segregation is only one of many such

        examples. The moral tone struck by Brown v. Board of Education, 347 U.S. 483 (1954),

        rang clear as a bell. Many subsequent cases expanded Brown beyond education to other

        facets of life, and beyond race to other suspect and quasi-suspect classifications. See

        Frontiero v. Richardson, 411 U.S. 677 (1973) (heightened scrutiny for sex classifications);

        Graham v. Richardson, 403 U.S. 365 (1971) (alienage); Oyama v. California, 332 U.S.

        633 (1948) (nationality).

               Few, if any, of those steps involved this litigation’s mix of medicine and morality

        at such an incipient and experimental stage. To say the Equal Protection Clause supplies

        only one answer to issues where parties advance legitimate but deeply conflicting views is

        to ascribe to the Fourteenth Amendment a power over subjects on which its Framers had

        very little to say. We cannot ask our Constitution for answers which it does not have and

        which it cannot give. The Framers expected the people of a great nation to figure out many

        great issues for themselves.

                                                    II.

               The Supreme Court has repeatedly acknowledged the broad discretion given to the

        States in the allocation of public benefits. As the Court has emphasized, “the Fourteenth

        Amendment gives the federal courts no power to impose upon the States their views of

                                                   122
USCA4 Appeal: 22-1927       Doc: 119         Filed: 04/29/2024     Pg: 123 of 147




        what constitutes wise economic or social policy.” Dandridge v. Williams, 397 U.S. 471,

        486 (1970). Indeed, “the intractable economic, social, and even philosophical problems

        presented by public welfare assistance programs are not the business of th[e] Court,” as

        “the Constitution does not empower th[e] Court to second-guess State officials charged

        with the difficult responsibility of allocating limited public welfare funds among the

        myriad of potential recipients.” Id. at 487.

               Thus “[i]n the area of economics and social welfare, a State does not violate the

        Equal Protection Clause merely because the classifications made by its laws are imperfect.”

        Id. at 485; see also Lindsley v. Nat. Carbonic Gas Co., 220 U.S. 61, 78 (1911) (“A

        classification having some reasonable basis does not offend against [the Equal Protection

        Clause] merely because it is not made with mathematical nicety, or because in practice it

        results in some inequality.”). The State’s allocation of benefits must simply be rational, a

        judgment to which we owe great deference.

               As my colleague Judge Richardson cogently demonstrates, Geduldig v. Aiello

        provides the proper framework for this case. 417 U.S. 484 (1974). The Court held that the

        Equal Protection Clause does not require state insurance programs to protect against

        specific health risks, even risks that are only experienced by one sex. Id. at 494–96.

        Because the Plan includes “no risk from which men are protected and women are not,” and

        vice versa, it does not constitute sex-based discrimination under the Equal Protection

        Clause. Id. at 496–97. And plaintiffs have failed to put forth evidence that the Plan’s

        exclusion for gender dysphoria care was motivated by invidious intent.



                                                       123
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 124 of 147




               By sidestepping Geduldig, the majority negates the ability of the State to select

        which procedures, operations, and health risks it insures. The majority insists Geduldig is

        inapplicable because the exclusion is facially discriminatory. But the neutrality of the

        provision is readily apparent. The exclusion treats males and females, cisgender individuals

        and transgender individuals, precisely the same. It merely removes one medical condition,

        gender dysphoria, from coverage. As Geduldig made clear, “[t]here is nothing in the

        Constitution . . . that requires the State to subordinate or compromise its legitimate interests

        solely to create a more comprehensive social insurance program than it already has.” Id. at

        496.

               The majority, however, sees things differently. It arrogates to itself the authority to

        tell States how to draft insurance policies covering state employees on state healthcare

        plans. This is a breach of our federal system. It is an intrusion upon the residual powers

        that the Constitution guarantees to the States. It is a usurpation of the prerogatives of fifty

        sovereigns, supplanting difficult judgments on issues in their very infancy with an ill-

        advised, self-assured ukase of our own.

                                                      III.

               While the amicus briefs before us are thoughtful and edifying, they also underscore

        the impropriety of constitutionalizing this complex issue. The brief by the American

        Medical Association is particularly revealing. See Br. for Am. Med. Ass’n et al. as Amici

        Curiae Supporting Plaintiffs-Appellees, Kadel v. Folwell (No. 22-1721). It elucidates the

        healthcare profession’s understanding of advances in treating gender dysphoria. Id. at 10.

        And it stresses the detrimental consequences that a lack of treatment could have on the

                                                      124
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 125 of 147




        wellbeing of individuals struggling with this condition. Id. at 14–15. The brief of States

        supporting Plaintiffs is equally enlightening. See Br. for New York et al. as Amici Curiae

        Supporting Plaintiffs-Appellees, Kadel v. Folwell (No. 22-1721). It traces the steps amici

        are taking to increase access to gender dysphoria care and the benefits their citizens have

        reaped from these state policies. Id. at 6–16.

               I do not disparage the importance of this information. Amici make clear that gender

        dysphoria is a serious condition which, left untreated, can result in real harm to affected

        individuals. But the briefs fail to answer the question of why this court ought to find the

        Plan’s exclusion contrary to the Constitution. Rather, the information methodically

        presented by our good amici is a classic legislative argument. It presents but one view of a

        highly disputed matter, and that view must compete for funding with other poignant and

        deserving claims for state insurance coverage.

               Other States present other views. See Br. for Missouri et al. as Amici Curiae

        Supporting Defendants-Appellants, Kadel v. Folwell (No. 22-1721). There we are

        reminded that states have significant discretion in areas affecting the health and welfare of

        their citizens, especially those areas where the science is unsettled. Id. at 3. Healthcare

        costs stress state budgets mightily. See Appellants’ Opening Br. 2. Whether States should

        pay for emerging hormonal and surgical interventions to treat gender dysphoria is unclear

        when so many diseases visit such tragic consequences upon their victims.

               As the Missouri brief also makes clear, the science behind gender dysphoria care is

        far from settled. See Br. for Missouri et al. at 6–11. A recent systematic review of cross-

        sex hormone treatments for minors revealed that “long-term studies are lacking” and “long-

                                                    125
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 126 of 147




        term effects of hormone therapy on psychosocial and somatic health are unknown.” Jonas

        F. Ludvigsson et al., A Systematic Review of Hormone Treatment for Children with Gender

        Dysphoria and Recommendations for Research, Acta Paediatrica, Apr. 2023, at 12. Many

        European nations have questioned the wisdom of hormonal and surgical interventions,

        particularly when used to treat children. For instance, Finnish medical authorities stress

        that, when it comes to youth struggling with gender dysphoria, “there is no medical

        treatment that can be considered evidence-based,” and that “gender reassignment of minors

        is an experimental practice.” Council for Choices in Health Care, Medical Treatment

        Methods for Dysphoria Related to Gender Variance in Minors 6, 8 (2020). Likewise, the

        French Academy of Medicine urges doctors to prioritize psychological support for

        adolescents identifying as transgender, as the alternative therapies can come with “many

        undesirable effects, and even serious complications.” Press Release, French Nat’l Acad.

        Med., Medicine and Gender Transidentity in Children and Adolescents (Feb. 25, 2022);

        see also Jennifer Block, Gender Dysphoria in Young People is Rising—And So Is

        Professional Disagreement, BMJ, Feb. 2023, at 1–4.

               These different sets of briefs offering their different perspectives illustrate perfectly

        why the whole issue should be left to percolate in what Justice Brandeis famously called

        the laboratories of democracy. New State Ice Co. v. Liebmann, 285 U.S. 262, 311 (1932)

        (Brandeis, J., dissenting). Providing the best possible care to adults and youth struggling

        with gender dysphoria is a challenging task for our States. But it is one that they are entitled

        to perform without premature judicial interference. It will require them to engage in

        rigorous cost-benefit analyses, community outreach, and expert consultation. It is almost

                                                     126
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024      Pg: 127 of 147




        certain no two approaches will look the same—a testament to the rich variety in policy our

        federalist system encourages. Indeed, even the amici States supporting Plaintiffs have not

        taken a uniform approach to gender dysphoria care. For instance, Nevada’s state employee

        insurance plan contains certain limitations on gender dysphoria care, while California’s

        plan provides full coverage. Compare Nevada Public Employees’ Benefits Program,

        Consumer Driven Healthcare Master Plan Document: Plan Year 2023, 57 (2022), with

        Blue Shield of California, Trio HMO Basic Plan: Plan Year 2023, 24 (2023).

               States have “wide discretion to pass legislation in areas where there is medical and

        scientific uncertainty.” Gonzales v. Carhart, 550 U.S. 124, 163 (2007) (citing Kansas v.

        Hendricks, 521 U.S. 346, 360 n.3 (1997)). Yet the majority wrests this discretion out of the

        hands of North Carolina, West Virginia, and untold other states besides. Self-governance

        is notably absent when the many voices seeking to provide answers are silenced by federal

        judges shrouded in an authority of their own design.

                                                    IV.

               The parties and amici lay bare a dilemma with implications that could not be more

        profound. On the one hand, we have the powerful arguments of transgender men and

        women for dignity and open access to desired medical care. This side of the argument is

        not merely about diagnostic codes and treatment plans. At base, we encounter individuals

        on a quest for wholeness, for a sense of self which is not fractured, for a quelling of deep

        tumult and conflict within. Courts must respect those who wish only to become more fully

        themselves.



                                                    127
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 128 of 147




               There is, however, another side. Some States are reluctant to fund emerging

        treatments until the science can tell us more. Not only is the medical data conflicting, but

        there is a moral caution in this case as well. Self-righteous folly has long run through us

        all. The Tower of Babel toppled of its own hubristic weight. Yet still we moderns strive to

        bend nature to desire. The quest is too important to be left to science and technology alone.

        “If humanity wants to survive technology, [J. Robert Oppenheimer] believed, it needs to

        pay attention not only to technology but also to ethics, religion, values, forms of political

        and social organization, and even feelings and emotions.” See David Nirenberg, J. Robert

        Oppenheimer’s Defense of Humanity, WSJ, July 15–16, 2023 at C5. That is democracy in

        action. The untutored and the lettered alike must have their say. Those who wear no robe

        must not be shunted to the sidelines.

               Where to draw the line? How to refashion our beings tomorrow? When is the

        Rubicon between healing and remaking ourselves irrevocably crossed? What

        improvements to the handiwork of nature shall we next seek? What ever-receding horizons

        of happiness shall greet the elusive search for the more perfect self?

               The majority and the dissents have no answer to these questions, at least none if we

        are honest with ourselves. Science is a discipline of many wonders, but also of many limits.

        We have seen medical breakthroughs and medical overreach, and human history is rife

        with the triumphs and failures of judgment and morality. The Framers gave us no sure

        answers to transgender treatments or indeed to many questions confronting succeeding

        generations. Their gift to us is one of process, and a priceless gift it is. Our Constitution

        directs that controversies such as these must be hashed out over time by the people and

                                                    128
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 129 of 147




        their chosen representatives. The glories of our federalist system are laid before us in these

        dueling briefs, and we must heed their implicit, collective call. What substance the

        Constitution does not resolve, the democratic process, along its halting and imperfect paths,

        yet may.




                                                     129
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 130 of 147




        QUATTLEBAUM, Circuit Judge, dissenting:

               We do not—or, at least, we should not—bend the Federal Rules of Evidence just

        because a case involves important constitutional issues. But that is what the majority seems

        to be doing here. In order to conclude that no legitimate, non-discriminatory reasons

        support denying coverage for certain treatments of gender dysphoria, the majority

        abandons settled evidentiary principles. Properly accounting for the record, questions about

        the medical necessity and efficacy of such treatments linger. And those lingering questions

        support the states’ coverage decisions.

               In its first improper evidentiary move, the majority misapplies Federal Rule of

        Evidence 702 by affirming the exclusion of Dr. Paul W. Hruz’s gender dysphoria

        testimony. That exclusion kept evidence of the debate concerning the medical necessity

        and efficacy about the treatment the plaintiffs seek out of the record.

               In its second evidentiary misstep, the majority improperly declares as fact the

        plaintiffs’ position on this debate. It first states as a fact that “[i]f untreated, gender

        dysphoria can cause debilitating distress, depression, impairment of function, self-

        mutilation to alter one’s genitals or secondary sex characteristics, other self-injurious

        behaviors, and suicide.” Maj. Op. at 12–13. In making this declaration, the majority cites

        to the fifth edition of the American Psychiatric Association’s Diagnostic and Statistical

        Manual of Mental Disorders (DSM-5). The majority then states as a fact that “the medical

        community uses generally accepted protocols from the World Professional Association for

        Transgender Health’s Standards of Care for the Health of Transgender and Gender

        Diverse People (WPATH Standards), which it explains recommend “assessment,

                                                    130
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 131 of 147




        counseling, and, as appropriate, social transition, hormone therapy, and surgical

        interventions to bring the body into alignment with one’s gender identity.” Maj. Op 13–14

        (quoting Br. of Medical Amici, which cites the WPATH Standards). Despite these

        declarations of fact, the record reveals that there is a dispute within the medical community

        on these two points.

               Why the evidentiary shortcuts? When the dust settles from our court’s equal

        protection debate, lawyers and district courts will see that we have applied the Federal

        Rules of Evidence in ways at odds with their textual requirements and our precedent

        interpreting them. So, questions naturally follow. Do we cut evidentiary corners when the

        constitutional stakes are high? Or have we altered evidentiary norms? The answer is not

        clear to me. But what is clear is that these evidentiary decisions improperly stack the deck

        against West Virginia and North Carolina. So, in addition to the reasons articulated in

        Judge Richardson’s dissenting opinion, I respectfully dissent. 1



                                                      I.

               Before the district court, North Carolina sought to introduce Dr. Hruz as an expert

        to testify about the treatment of gender dysphoria. As a pediatric endocrinologist, Dr. Hruz

        has “participated in the care of hundreds of infants and children, including adolescents,



               1
                  My only deviation from Judge Richardson’s dissent is that I would assume,
        without deciding, that Bostock v. Clayton County, 590 U.S. 644 (2020) applies to the Equal
        Protection Clause. Assuming it does, I join in Judge Richardson’s analysis and conclusion
        that the plaintiffs have not established but-for causation.

                                                    131
USCA4 Appeal: 22-1927      Doc: 119         Filed: 04/29/2024      Pg: 132 of 147




        with disorders of sexual development.” Kadel, J.A. 737. In this role, he has treated

        hormone-related conditions in patients with gender dysphoria, including obesity, diabetes

        and dyslipidemia associated with gender dysphoria treatment. He has “participated in local

        and national meetings where the endocrine care of children with gender dysphoria has been

        discussed in detail and debated in depth.” Kadel, J.A. 737. He has also “consulted with,

        met with, and had detailed discussions with dozens of parents of children with gender

        dysphoria to understand the unique difficulties experienced by [that] patient population.”

        Kadel, J.A. 737. Additionally, Dr. Hruz has given grand round presentations 2 regarding

        gender dysphoria at major universities’ medical centers. And he has previously testified as

        an expert witness in litigation concerning issues of sex and gender.

               Despite this the district court determined that Dr. Hruz was not qualified to testify

        about “the diagnosis of gender dysphoria, the DSM, gender dysphoria’s potential

        causes, the likelihood that a patient will ‘desist,’ or the efficacy of mental health

        treatments.” Kadel, J.A. 3587. The district court reasoned that Dr. “Hruz is not a

        psychiatrist, psychologist, or mental healthcare professional.” Kadel, J.A. 3587. The

        district court also reasoned that Dr. Hruz “has never diagnosed a patient with gender

        dysphoria, treated gender dysphoria, treated a transgender patient, conducted any original




               2
                 As explained by Dr. Hruz, “Grand rounds are usually a recurring series of talks
        given by experts in various fields to the relevant scientific community about topics of
        interests to those physicians. And it generally involves the presentation of high quality
        scientific evidence for the conditions that those physicians in the audience would
        encounter.” Kadel, J.A. 1257.

                                                    132
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024       Pg: 133 of 147




        research about gender dysphoria diagnosis or its causes, or published any scientific, peer-

        reviewed literature on gender dysphoria.” Kadel, J.A. 3587.

               On appeal, the majority concludes that the district court did not abuse its discretion

        in limiting Dr. Hruz’s expert testimony. I disagree. Appropriately, we give district courts

        discretion in exercising their gatekeeping function under Federal Rule of Evidence 702,

        which governs the admissibility of expert testimony. Belk, Inc. v. Meyer Corp., 679 F.3d

        146, 162 (4th Cir. 2012) (quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137, 156

        (1999)). But that discretion does not permit ignoring the plain language of Rule 702.

               Rule 702 provides:

               A witness who is qualified as an expert by knowledge, skill, experience,
               training, or education may testify in the form of an opinion or otherwise if:

                      (a) the expert’s scientific, technical, or other specialized knowledge
                          will help the trier of fact to understand the evidence or to determine
                          a fact in issue;
                      (b) the testimony is based on sufficient facts or data;
                      (c) the testimony is the product of reliable principles and methods; and
                      (d) the expert has reliably applied the principles and methods to the
                           facts of the case.

        Fed. R. Evid. 702 (2011). 3 Relevant to qualifications, our Court has held that because Rule

        702 “uses the disjunctive, a person may qualify to render expert testimony in any one of


               3
                  In December 2023, the Advisory Committee amended Rule 702 to read, in relevant
        part, “A witness who is qualified as an expert by knowledge, skill, experience, training, or
        education may testify in the form of an opinion or otherwise if the proponent demonstrates
        to the court that it is more likely than not that” the Rule 702’s other conditions are satisfied.
        Fed. R. Evid. 702 (2023) (emphasis added). Given the district court necessarily applied the
        prior version of Rule 702, so must our Court. However, my analysis does not change even
        if this newly amended version of Rule 702 applies. My focus, much like the district court’s
        and the majority’s, is whether Dr. Hruz was qualified to offer expert testimony in the first
        (Continued)
                                                      133
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 134 of 147




        the five ways listed: knowledge, skill, experience, training, or education.” Kopf v. Skyrm,

        993 F.2d 374, 377 (4th Cir. 1993) (emphasis added). This means that an expert should be

        able to testify on the basis of knowledge alone, independent of experience or education.

               Although he does not treat patients for “the purpose of alleviating gender

        dysphoria,” Dr. Hruz is an endocrinologist who has treated hundreds of juveniles diagnosed

        with sexual development disorders and many transgender “patients that have experienced

        side effects related to . . . hormone treatment.” Kadel, J.A.737, 1256. He has also

        “extensively studied” scientific literature on gender dysphoria treatments while his hospital

        developed a transgender clinic, consulted with professionals specializing in this area,

        presented on gender dysphoria at medical universities and met with “dozens of parents of

        children with gender dysphoria to understand the unique difficulties experienced by this

        patient population.” Kadel, J.A. at 737. Dr. Hruz, therefore, has the necessary knowledge

        to qualify him to testify on the subject of gender dysphoria.

               Knowledge is supposed to be an independent basis that qualifies an expert to testify.

        See Kopf, 993 F.2d at 377. And given Dr. Hruz’s knowledge qualified him to testify about

        gender dysphoria, concerns of his lack of experience in diagnosing, treating or researching

        gender dysphoria went to the weight of his proffered testimony, not its admissibility. See

        Fed. R. Evid. 702 (2011); United States v. Fuertes, 805 F.3d 485, 496 (4th Cir. 2015). The




        place—a threshold question preceding the inquiry into whether Rule 702’s other conditions
        are also met.

                                                    134
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 135 of 147




        district court abused its discretion in excluding Dr. Hruz’s testimony about gender

        dysphoria.

                In addition, the district court’s exclusion of Dr. Hruz’s testimony on the basis of his

        qualifications conflicts with the way our circuit has traditionally reviewed decisions about

        the admissibility of expert witness testimony. For decades, we have recognized that

        “qualifications to render an expert opinion are . . . liberally judged by Rule 702.” Kopf, 993

        F.2d at 377; see also Fuertes, 805 F.3d at 496. And where an expert’s qualifications are

        challenged, we have stated that “the test for exclusion is a strict one, and the purported

        expert must have neither satisfactory knowledge, skill, experience, training nor education

        on the issue for which the opinion is proffered.” Kopf, 993 F.2d at 377 (quoting Thomas J.

        Kline, Inc. v. Lorillard, Inc., 878 F.2d 791, 799 (4th Cir. 1989)). Importantly, “[o]ne

        knowledgeable about a particular subject need not be precisely informed about all details

        of the issues raised in order to offer an opinion.” Id. (quoting Thomas J. Kline, 878 F.2d at

        799).

                Our precedent demonstrates a more relaxed construction of Rule 702. In Garrett v.

        Desa Industries, Inc., 705 F.2d 721, 724 (4th Cir. 1983), we determined that the district

        court abused its discretion in prohibiting a Navy gunnery officer from testifying about the

        “design and manufacture” of stud drivers “simply because he lacked one of the five

        qualifications, namely, prior experience” with the tool. In recognizing that the officer had

        two engineering degrees, worked as a professional engineer, and worked with handguns

        that operated similarly to stud drivers, we held that he was “qualified by his education,

        knowledge, training, and skill.” Id. at 724–25.

                                                     135
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 136 of 147




               And in Gober v. Revlon, Inc., 317 F.2d 47, 52 (4th Cir. 1963), we found that the

        district court did not err in admitting the testimony of the plaintiff’s expert witness, a

        dermatologist whom she called to testify about whether Revlon’s nail polish caused her

        painful skin condition. The dermatologist “testified as to certain matters concerning

        chemicals.” Id. Though Revlon argued that the dermatologist’s testimony about chemical

        matters should have been stricken because he “was not qualified as a chemical expert,” we

        disagreed. Id. We reasoned that the dermatologist “was testifying as a dermatological

        expert to the reaction of humans to certain chemicals. Certainly this is within the scope of

        his medical qualifications. His lack of qualifications as a chemist went to the weight of his

        testimony, not its admissibility.” Id. (emphasis added).

               More recently, in Fuertes, we determined that the district court did not abuse its

        discretion in permitting a physician who served as the director of a child abuse center to

        testify as an expert in a trial concerning the alleged sex trafficking of adults. 805 F.3d at

        496–97. Though the criminal defendants argued on appeal that the physician was not

        qualified to testify as an expert because her experience was limited to working with

        juveniles and her “training and experience were not in the formation and treatment of adult

        scars,” we rejected this argument. Id. at 496. In addition to noting that the physician

        testified that few distinctions exist between the scarring of juvenile and adult skin, we

        stated that the defendants’ “objection to [the physician’s] training and experience [went]

        to the weight, not the admissibility, of her testimony, and counsel had the opportunity to

        cross-examine her on these issues.” Id. (emphasis added). Admitting the physician’s expert



                                                    136
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 137 of 147




        testimony was not an abuse of discretion, given she “had ample knowledge, skill,

        experience, training, and education with regard to cutaneous findings of abuse.” Id.

               Other circuits have also applied this traditional, relaxed approach specifically in the

        context of medical expert testimony. In Holbrook v. Lykes Brothers Steamship Co., 80 F.3d

        777, 782–83 (3d Cir. 1996), the Third Circuit found that the trial court erred in prohibiting

        the decedent’s treating physician from testifying about the decedent’s diagnosis of

        mesothelioma. The trial court had reasoned that the physician was not a “pathologist,

        oncologist or expert in ‘definitive cancer diagnosis.’” Id. at 782. But the Third Circuit

        explained, “Because of our liberal approach to admitting expert testimony, most arguments

        about an expert’s qualifications relate more to the weight to be given the expert’s testimony

        than to its admissibility.” Id. The Third Circuit concluded that “the court’s mistaken

        approach restricted [the physician]’s testimony based on a requirement that the witness

        practice a particular specialty concerning certain matters.” Id.

               Similarly, the First Circuit has recognized that “[t]he proffered expert physician

        need not be a specialist in a particular medical discipline to render expert testimony relating

        to that discipline.” Gaydar v. Sociedad Instituto Gineco-Quirurgico y Planificacion

        Familiar, 345 F.3d 15, 24 (1st Cir. 2003); see also Pages-Ramirez v. Ramirez-Gonzalez,

        605 F.3d 109, 114 (1st Cir. 2010). As the First Circuit explained, “it would be an abuse of

        discretion to exclude testimony that would otherwise ‘assist the trier better to understand a

        fact in issue,’ simply because the expert does not have the specialization that the court

        considers most appropriate.” Pages-Ramirez, 605 F.3d at 114 (quoting Gaydar, 345 F.3d

        at 24–25).

                                                     137
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 138 of 147




               Finally, the implications of affirming the exclusion of Dr. Hruz’s testimony about

        gender dysphoria should not be overlooked. Reviewing these cases, there is really no

        question that the majority applies a much more restrictive approach to expert qualifications

        than we and other courts of appeal have applied in the past. So, unless we tighten the reins

        on expert qualifications only in constitutional cases that we deem too important to be

        bothered by the Federal Rules of Evidence—which, of course, we cannot do—the

        majority’s evidentiary decisions will reverberate in cases beyond those involving equal

        protection claims. For example, I suspect lawyers representing defendants in medical

        malpractice, products liability and other personal injury cases will use the majority’s

        decision to seek to exclude experts who have been permitted to testify for years despite not

        having backgrounds perfectly aligned with the subject matter of their opinions. And if

        district courts grant such motions following the majority’s reasoning, consistency will

        require us to affirm those exclusions.

               To sum up the Rule 702 issue, the district court strayed from the text of the rule. It

        also departed from the manner we and other courts have interpreted Rule 702 for years.

        Thus, the district court abused its discretion in determining that Dr. Hruz is not qualified

        to offer expert testimony on gender dysphoria.



                                                      II.

               On top of the exclusion of Dr. Hruz’s testimony, the majority improperly declares

        statements from the WPATH Standards and the DSM-5 about the treatment of gender

        dysphoria to be facts. The majority describes gender dysphoria as “a condition

                                                    138
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 139 of 147




        characterized by clinically significant distress and anxiety resulting from the incongruence

        between an individual’s gender identity and birth-assigned sex.” See Maj. Op. at 12 (citing

        the DSM-5). It then states as a fact that “[i]f untreated, gender dysphoria can cause

        debilitating distress, depression, impairment of function, self-mutilation to alter one’s

        genitals or secondary sex characteristics, other self-injurious behaviors, and suicide.” Maj.

        Op. at 12–13 (quoting Br. of Medical Amici, which cites the DSM-5). The majority also

        states, again as a fact, that “the medical community uses generally accepted protocols from

        the [WPATH Standards],” which it explains recommend “assessment, counseling, and, as

        appropriate, social transition, hormone therapy, and surgical interventions to bring the body

        into alignment with one’s gender identity.” Maj. Op 13–14 (again quoting Br. of Medical

        Amici, which cites the WPATH Standards).

               I disagree with these statements of fact by the majority for two reasons. First, the

        majority improperly determines the statements qualify as indisputable adjudicative facts

        under Federal Rule of Evidence Rule 201. Second, even if the statements are legislative

        facts and thus not subject to Rule 201, the majority declares that there is a consensus of the

        medical community on the treatment of gender dysphoria when the record indicates

        otherwise.


                                                     A.

               I begin with Rule 201. With respect to its statements that quote Medical Amici’s

        citations to the DSM-5, the majority uses Rule 201 to “take judicial notice of the DSM-5.”

        Maj. Op. 13 n.5. There are a number of problems with this analysis.


                                                     139
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024       Pg: 140 of 147




               First, Rule 201 permits courts, if its requirements are satisfied, to take judicial notice

        of facts. And if a fact is judicially noticed under Rule 201, it is deemed conclusive in a non-

        criminal case. Fed. R. Evid. 201(f). But the DSM-5 is not a fact. It is a publication. The

        Federal Rules of Evidence address evidentiary issues related to publications elsewhere. For

        example, Rule 803(13) provides an exception to the prohibition on hearsay when a

        statement in a learned treatise, periodical or pamphlet is (1) “called to the attention of an

        expert witness on cross-examination or relied on by the expert on direct examination”; (2)

        the reliability of that statement is established “by the expert’s admission or testimony, by

        another expert’s testimony, or by judicial notice”; and (3) the statement is read into

        evidence rather than being received as an exhibit. Fed. R. Evid. 803(13). But the majority

        does not address this Rule or any other basis for admitting an entire publication into

        evidence.

               Second, even if, rather than the entire publication, the majority is referring to the

        excerpts from the DSM-5 it cites, Rule 201 does not work. Rule 201 applies to adjudicative

        facts. “Adjudicative facts are simply the facts of the particular case.” Goldfarb v. Mayor &

        City Council of Baltimore, 791 F.3d 500, 508 n.6 (4th Cir. 2015) (quoting Fed. R. Evid.

        201 advisory committee’s note to 1972 proposed rule); see also 2 McCormick on Evidence

        § 328 (8th ed. 2022) (explaining that adjudicative facts are “facts about the particular event

        which gave rise to the lawsuit and, like all adjudicative facts, they help[] explain who did




                                                      140
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 141 of 147




        what, when, where, how, and with what motive and intent”). Whatever one’s view of the

        DSM-5 excerpts, they are not adjudicative facts. 4

               Third, judicial notice under Rule 201 is reserved for adjudicative facts that are not

        “subject to reasonable dispute” because the facts are “generally known” within the court’s

        jurisdiction or “can be accurately and readily determined from sources whose accuracy

        cannot reasonably be questioned.” Fed. R. Evid. 201(b). The definition of gender dysphoria

        might satisfy this requirement. After all, as the majority notes, “both parties have cited to

        the DSM-5 for the definition of gender dysphoria.” Ma. Op. 13 n.5. But as to the excerpt

        about the consequences of not treating gender dysphoria, the majority glosses over these

        requirements, reasoning that “[t]he DSM-5 offers standardized criteria for the classification

        of mental disorders” and “was published by the American Psychiatric Association after a

        twelve-year revision process in coordination with the National Institute of Mental Health

        (NIMH) and World Health Organization and a two-month public- and professional-review

        period.” Maj. Op at 12–13 n.5.

               But North Carolina challenged the DSM-5’s reliability as a scientific authority,

        arguing, among other things, that “the NIMH stopped funding projects that use the DSM-5

        and that the DSM-5 is generally controversial.” Maj. Op. at 12–13 n.5 (citing J.A. 742,


               4
                I realize that in Jacobs v. North Carolina Administrative Office of the Courts, 780
        F.3d 562, 565–66 & n.2 (4th Cir. 2015), we applied Rule 201 to judicially noticed excerpts
        of the DSM-4 describing “social anxiety disorder” because “experts witnesses in [the] case
        applied the diagnostic criteria of the DSM-IV.” Id. at 566 n.2. While I think the excerpt
        from that case is a legislative fact more than an adjudicative fact, Jacobs at most supports
        the finding that the DSM-5’s definition of gender dysphoria may be judicially noticed
        under Rule 201.

                                                    141
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 142 of 147




        764). To the majority, however, this does did not matter. It brushes this objection aside,

        quoting a news article reporting that “the director of NIMH issued a press release clarifying

        that ‘NIMH has not changed its position on DSM-5,’ and that the DSM-5 still ‘represents

        the best information currently available for clinical diagnosis of mental disorders.’” Maj.

        Op. at 12–13 n.5 (quoting USA Today article). Still citing the news article, the majority

        added that the director of NIMH has also stated that NIMH was committed to working on

        a new system called Research Domain Criteria that will aim to focus on causes of disorders,

        not symptoms.

               I disagree with the majority’s analysis on this point. Under Rule 201(b), the question

        is not who has the better argument about the authoritativeness of a document. It is whether

        there is any reasonable basis for disputing it. And whether we ultimately agree with North

        Carolina or not, its argument, at minimum, frames a reasonable dispute about the reliability

        of the DSM-5 as a scientific authority. 5


               5
                 There are other reasonable disputes as to the DSM-5’s reliability as a scientific
        authority. For instance, consider DSM-5’s replacement of the diagnosis of “gender identity
        disorder” with the diagnosis of “gender dysphoria.” DSM-5 at 451. The DSM-5 states that
        “[g]ender dysphoria is a new diagnostic class in DSM-5 and reflects a change in
        conceptualization of the disorder’s defining features by emphasizing the phenomenon of
        ‘gender incongruence’ rather than cross-gender identification per se, as was the case in []
        gender identity disorder.” Id. at 814. What’s more, when previewing this change to the
        DSM, the American Psychiatric Association (APA) stated, “In the upcoming fifth edition
        of the Diagnostic and Statistical Manual of Mental Disorders (DSM-5), people whose
        gender at birth is contrary to one they identify with will be diagnosed with gender
        dysphoria. This diagnosis is a revision of DSM-IV’s criteria for gender identity disorder
        and is intended to better characterize the experiences of affected children, adolescents, and
        adults.” Gender Dysphoria, Am. Psych. Ass’n (2013), https://perma.cc/TQ4V-R4A6 (last
        visited Feb. 21, 2024). But the APA not only previewed this change; it gave the reasons
        for it. The APA stated that the DSM-5 “replaces the diagnostic name ‘gender identity
        (Continued)
                                                    142
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024     Pg: 143 of 147




               As for the WPATH Standards, the majority does not expressly state that it is using

        Rule 201 to take judicial notice of either the entire publication or the specific excerpt from

        the Medical Amici brief it cites. But its analysis of that excerpt is essentially the same as

        its analysis of the DSM-5 excerpts. So, the majority appears to consider the excerpt from

        the WPATH Standards as a fact of which it can take judicial notice under Rule 201.

               The majority again noted North Carolina’s objections. North Carolina argues that

        the district court relied on facts from the WPATH Standards, which contain facts outside

        the record. North Carolina also contests the reliability of the WPATH Standards. In support

        of its objections, it cited its experts’ opinions. Id. Dismissing those arguments as

        concerning “methodology” and whether the WPATH Standards represent a consensus

        view, the majority rejects North Carolina’s arguments. In so doing, it cites the plaintiffs’

        experts’ opinions that the WPATH Standards do, in fact, represent a consensus of the

        medical community on the treatment for gender dysphoria.

               Once again, even if the majority is right about the ultimate resolution of the North

        Carolina’s position, which I do not concede, that is not the point. The point is whether it

        has a reasonable argument on reliability. And it does. The majority ignores that requirement




        disorder’ with ‘gender dysphoria’” with the “aim[] to avoid stigma” from characterizing
        the condition as a disorder. Id. It reasoned that “individuals need a diagnosis” to get
        insurance coverage, but “diagnostic terms . . . can also have a stigmatizing effect.” Id.
        Reducing stigma and preserving insurance coverage may be good reasons to change the
        name of the diagnosis from gender identity disorder to gender dysphoria. But they support
        North Carolina’s challenge to the DSM-5’s scientific authoritativeness on the issues we
        face today. To be clear, none of this is to say that North Carolina is ultimately right. But it
        is to say that there is a reasoned debate about the authoritativeness of the DSM-5 statements
        the majority declares to be facts.
                                                     143
USCA4 Appeal: 22-1927       Doc: 119          Filed: 04/29/2024      Pg: 144 of 147




        of Rule 201, seemingly taking on the role of a factfinder and declaring that because it finds

        the plaintiffs’ argument more persuasive, North Carolina’s argument is unreasonable. 6

               For these reasons, the majority’s declarations of fact are improper under Rule 201.

                                                        B.

               While I do not believe the excerpts from the DSM-5 and the WPATH standards

        described above are adjudicative facts, that does not necessarily mean the majority cannot

        rely on them in its analysis. True, the typical way this type of information would come in

        as evidence is through witnesses, most likely expert witnesses. That tried-and-true method

        would allow the adversary process to identify their relevance and reliability and expose

        any weaknesses in those areas. I see no reason the plaintiffs could not have followed that

        traditional course here. But apparently, they did not.

               Even so, the majority could cite to the excerpts from the DSM-5 and WPATH

        Standards as legislative facts. “Legislative facts . . . are those which have relevance to legal

        reasoning and the lawmaking process, whether in the formulation of a legal principle or

        ruling by a judge or court or in the enactment of a legislative body.” Fed. R. Evid. 201


               6
                 Most instances in which we have taken judicial notice of facts under Rule 201
        involve referencing indisputable facts or statistics from government websites. See, e.g.,
        Mays v. Smith, 70 F.4th 198, 206 (4th Cir. 2023) (“The Court takes judicial notice of these
        uncontested facts from Defendants’ Response Brief, which are publicly available on the
        [Bureau of Prison’s] website.”); Murphy v. Capella Educ. Co., 589 F. App’x 646, 654 (4th
        Cir. 2014) (“We can take judicial notice of the statistics available on this [National Center
        for Education] website.”); Hall v. Virginia, 385 F.3d 421, 424 & n.3 (4th Cir. 2004) (taking
        judicial notice of information publicly available on official government website); Sierra
        Club v. U.S. Dep’t of the Interior, 899 F.3d 260, 276 (4th Cir. 2018) (same); United States
        v. Garcia, 855 F.3d 615, 621 (4th Cir. 2017) (“This court and numerous others routinely
        take judicial notice of information contained on state and federal government websites.”).

                                                     144
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024      Pg: 145 of 147




        advisory committee’s note to 1972 proposed rule. That is, “[l]egislative facts are

        established truths, facts or pronouncements that do not change from case to case but apply

        universally.” United States v. Gould, 536 F.2d 216, 220 (8th Cir. 1976); Robinson v. Liberty

        Mut. Ins. Co., 958 F.3d 1137, 1142 (11th Cir. 2020). For example, “[d]ictionary definitions

        establish legislative facts when used to answer a question of law, such as how to interpret

        contractual terms.” Robinson, 958 F.3d at 1142.

               Courts can, and increasingly do, take judicial notice, ungoverned by Rule 201, of

        legislative facts—even disputed ones. See Kenneth Culp Davis, An Approach to Problems

        of Evidence in the Administrative Process, 55 Harv. L. Rev. 364, 403–07 (1942); Wilson

        R. Huhn, Teaching Legal Analysis Using A Pluralistic Model of Law, 36 Gonz. L. Rev.

        433, 452 & n.86 (2001); Allison Orr Larsen, Factual Precedents, 162 U. Pa. L. Rev. 59,

        71–72 (2013) (“Legislative facts come to judges’ attention by way of a procedural

        hodgepodge: sometimes on the record and sometimes not, sometimes briefed by the parties

        and sometimes not. In fact, legislative facts are specifically exempted from the Federal

        Rule of Evidence on Judicial Notice--the rule most on point--and the advisory notes

        actually encourage their ‘unfettered use.’”). And although the majority does not address

        this issue, without deciding the issue, I concede it is possible the excerpts from the DSM-

        5 and WPATH Standards might be used as legislative facts. See Williams v. Kincaid, 45

        F.4th 759, 767–68 & n.3 (4th Cir. 2022).

               But even if the majority could rely on legislative facts, in my view, it oversteps here.

        Take the majority’s declaration that “the medical community uses generally accepted

        protocols from the [WPATH Standards],” which it explains recommend “assessment,

                                                     145
USCA4 Appeal: 22-1927      Doc: 119          Filed: 04/29/2024     Pg: 146 of 147




        counseling, and, as appropriate, social transition, hormone therapy, and surgical

        interventions to bring the body into alignment with one’s gender identity.” Maj. Op 13–14

        (quoting Br. of Medical Amici, which cites the WPATH Standards). That declaration

        ignores the ongoing dispute over the medical necessity and efficacy of the gender dysphoria

        treatment the states exclude from coverage. See, e.g., Anderson, J.A. 1860–935 (Expert

        Disclosure Report of Dr. Stephen B. Levine, M.D.); Kadel, J.A. 3327–441 (Expert Witness

        Declaration of Paul W. Hruz, M.D., Ph.D.). The majority may feel that the plaintiffs have

        the better argument on that dispute. But it’s one thing to cite competing facts and decide

        which is more compelling. It’s quite another to declare there is a consensus when there is

        an ongoing debate. 7 See Gibson v. Collier, 920 F.3d 212, 221 (5th Cir. 2019) (explaining

        that “the WPATH Standards of Care reflect not consensus, but merely one side in a sharply

        contested medical debate”); see also Kosilek v. Spencer, 774 F.3d 63, 90 (1st Cir. 2014)

        (“The law is clear that where two alternative course of medical treatment exist, and both



               7
                 Or take the DSM-5’s statements about the potential for suicide if gender dysphoria
        goes untreated. Some recent literature suggests that gender dysphoria is not predictive of
        youth suicide when psychiatric treatment history is accounted for. See Sami-Matti Ruuska
        et al., All-Cause and Suicide Mortalities Among Adolescents and Young Adults Who
        Contacted Specialised Gender Identity Services in Finland in 1996–2019: A Register
        Study, 27 BMJ Mental Health 1 (2024). Other literature identifies the need for more
        comprehensive research into the long-term effects of gender dysphoria treatment among
        the pediatric population due to the shortcomings of existing studies, including “insufficient
        details on drug administration and dosages, treatment durations, and the type of surgery
        performed” and the failure to conduct randomized controlled trials to account for biases.
        Jonas F. Ludvigsson et al., A Systematic Review of Hormone Treatment for Children With
        Gender Dysphoria and Recommendations for Research, 112 Acta Paediatrica (No. 11)
        2279 (2023). Again, my point in citing this literature is not to resolve the debate. It is to
        point out that a reasoned debate exists.

                                                    146
USCA4 Appeal: 22-1927       Doc: 119         Filed: 04/29/2024        Pg: 147 of 147




        alleviate negative effects within the boundaries of modern medicine, it is not the place of

        our court to ‘second guess medical judgments’ or require that the [Department of

        Corrections] adopt the more compassionate of the two adequate options.”). And if, as one

        well-known treatise on evidence puts it, “the intellectual legitimacy of [using legislative

        facts] turns upon the actual truth-content of the legislative facts taken into account by the

        judges who propound the decision,” 2 McCormick on Evidence § 331 (8th ed. 2022), the

        majority’s factual declaration that there is a consensus when the record reveals there is not

        jeopardizes “intellectual legitimacy.”

                                                       III.

               To conclude, the majority makes two evidentiary missteps. It improperly affirms the

        exclusion of Dr. Hruz’s expert testimony about gender dysphoria. And it improperly

        declares statements from the DSM-5 and the WPATH Standards to be facts. Individually

        and combined, these missteps improperly stack the deck, effectively ignoring the fair-

        minded debate about the medical necessity and efficacy of the treatments the plaintiffs

        seek. For these additional reasons, I respectfully dissent.




                                                     147
